Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 1 of 116




            EXHIBIT A
Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 2 of 116




        LONDON COURT OF INTERNATIONAL ARBITRATION

                  LCIAARBITRATIONNO. 163397




            HPK MANAGEMENT D.O.O. (Republic of Serbia)

                               and

                HPK ENGINEERING B.V. (Netherlands)

                                                             Claimants


                             versus




                      REPUBLIC OF SERBIA

                               and

          ZELEZARA SMEDEREVO D.O.O. (Republic of Serbia)

                                                           Respondents




                         FINAL AWARD


                            11 May 2018
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 3 of 116




                                                TABLE OF CONTENTS

I.      INTRODUCTION ......................................................................................................... 6
        A.        PARTIES ............................................................................................................ 6
        B.         TRIBUNAL ........................................................................................................ 6
        C.         DISPUTE ........................................................................................................... 7
II.     PROCEDURAL HISTORY ........................................................................................... 8
III.    PARTIES' SUBMISSIONS ......................................................................................... 24
        A.         CLAIMANTS' SUBMISSIONS ...................................................................... 24
        B.         RESPONDENTS' SUBMISSIONS ................................................................. 25
IV.     PARTIES' REQUESTS FOR RELIEF ....................................................................... 26
        A.         CLAIMANTS' REQUEST FOR RELIEF ....................................................... 26
        B.         RESPONDENTS' REQUEST FOR RELIEF .................................................. 28
V.      FACTS ......................................................................................................................... 28
        A.         BACKGROUND .............................................................................................. 28
        B.         NEGOTIATION AND CONCLUSION OF THE MSA .................................. 29
        C.         PIKARO CONTRACTS .................................................................................. 30
        D.         PRIVATISATION AND TERMINATION NOTICES ................................... 30
VI.     TRIBUNAL'S DECISION .......................................................................................... 31
        A.         TRIBUNAL'S JURISDICTION ...................................................................... 32
        B.         TERMINATION OF MSA AND TERMINATION FEE ................................ 34
        C.         PRIVATISATION BONUS ............................................................................. 35
                   1.         Validity and Effect of the Second Termination Notice ........................ 36
                   2.         Breach of Clause 8.1.2 MSA ................................................................ 37
                              a)         Interpretation of Clause 8.1.2 MSA .......................................... 39
                              b)         Alleged Breaches of the RMA ................................................. .41
                              c)         Deferred Payment Issue ............................................................ 42
                                         (1)        Start Date of Deferred Payment.. .................................. 42
                                         (2)        End Date of Deferred Payment.. .................................. .43
                                         (3)        Length of Deferred Payment. ........................................ 44
                                         (4)        Breach of Deferred Payment. ....................................... .46
                                         ( 5)       Material Breach ............................................................. 48
                              d)         Credit Issue ............................................................................... 50
                                         (1)        Form of Credit .............................................................. 50
                                         (2)        Method of Calculation .................................................. 52
                                         (3)        Breach of Credit.. .......................................................... 56
                   3.         Other Breaches of the MSA ................................................................. 61



                                                                 - 1-
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 4 of 116




                             a)         120 Days Correction Period (Clause 8.1.1 MSA) .................... 62
                            b)         Immediate Termination (Article 127 LO) ................................ 62
                             c)        Net Working Capital (Clause 3.1.5.1 MSA) ............................ 65
                             d)        Related Party Arrangements (Clause 4.2 MSA) ....................... 67
                             e)        Professional Insurance (Clause 2.3.7 MSA) ............................. 70
                             f)        Non-Competition (Clause 11 MSA) ......................................... 71
                             g)        Managers ................................................................................... 73
                             h)         Obstruction of Privatisation ...................................................... 73
                                       (1)         Clause 3.8.1.1 MSA in combination with Articles 63 and
                                                   64 Serbian Companies Law .......................................... 74
                                       (2)         Waiver Letters ............................................................... 75
                                       (3)         Utility Contracts ............................................................ 77
                                       (4)         Bills of Exchange .......................................................... 79
                                       (5)         Supply of Raw Materials .............................................. 80
                                       (6)         Other Issues ................................................................... 82
                  4.         Amount of Privatisation Bonus ............................................................ 83
                             a)         Literal Meaning of Clause 3.2.9 MSA ...................................... 84
                             b)        Negotiations of Clause 3.2.9 MSA ........................................... 86
                             c)        Purpose of Clause 3.2.9 MSA .................................................. 88
                             d)         Parties' Subsequent Conduct .................................................... 90
                  5.         Debtor of the Privatisation Bonus ........................................................ 91
                             a)         Joint and Several Liability of the First and Second Respondent
                                         .................................................................................................. 91
                             b)         Independent Liability of the First Respondent ......................... 95
                  6.         Creditor of the Privatisation Bonus ...................................................... 97
        D.        MANAGEMENT FEES ................................................................................... 98
        E.        INTEREST ..................................................................................................... 100
        F.        OTHER RELIEF REQUESTED BY THE CLAIMANTS ............................ 104
        G.        ARBITRATION COSTS ............................................................................... 104
VII.    AWARD .................................................................................................................... 110




                                                                - 11 -
     Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 5 of 116




                   TABLE OF ABBREVIATIONS AND DEFINITIONS

AQl Report             First expert report of Abdul Sirshar Qureshi, dated 11 August 2017
AQ2 Report             Second expert report of Abdul Sirshar Qureshi, dated 22 September
                       2017
Arbitration Costs      Costs of the arbitration other than the legal or other expenses
                       incurred by the Parties
ASPA                   Asset Sales and Purchase Agreement (Privatisation Agreement)
Bidder                 HPK Engineering B. V. (Netherlands)
BMl                    First witness statement of Boris Milosevic, dated 10 August 2017
BM2                    Second witness statement of Boris Milosevic, dated 25 September
                       2017
Case Management        Case management conference, held 30 March 2017
Conference
ccs                    Claimants' Cost Submission
CF                     Claimants' fact exhibits
CL                     Claimants' legal exhibits
Claimants              HPK Engineering B.V. (Netherlands) & HPK Management d.o.o.
                       (Republic of Serbia)
Claimants' Cost        Claimants' cost submission, dated 5 February 2018
Submission
Claimants'             Claimants' responses and objections to the Respondents' Request to
Objections             Produce, dated 24 May 2017
Claimants' Post-       Claimants' post-hearing brief, dated 20 December 2017
Hearing Brief
Claimants' Rebuttal    Claimants' second witness statements of (i) Peter Kamaras, (ii)
Witness Submission     Stanislav Barica, and (iii) Pavol Vrchovinsky, and the first expert
                       report of Frank Hett, dated 27 September 2017
Claimants' Replies     Claimants' replies to the Respondents' Objections, dated 7 June
                       2017
Claimants' Requests    Claimants' requests to produce documents, dated 10 May 2017
to Produce
Claimants' Witness     Claimants' first witness statements of (i) Peter Kamaras, (ii)
Submission             Stanislav Barica, and (iii) Pavol Vrchovinsky, dated 16 August
                       2017
Closing and            Parties' closing and takeover protocol, executed 22 April 2015
Takeover Protocol
Company                Zelezara Smederevo d.o.o. (Republic of Serbia)




                                            - 1-
     Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 6 of 116




Correction Period   "Appropriate subsequent period" under Article 12 7 LO that a party
                    must provide for the debtor to perform, i.e. to correct the non-
                    perfo1mance, before the party may terminate an agreement
CPHB                Claimants' Post-Hearing Brief
Credit              Credit ofUSD 20 million pursuant to Clauses 2.4 and 2.6 of the
                    RMA
CSubl               Claimants' Witness Submission
CSub2               Claimants' Rebuttal Witness Submission
Deferred Payment    60 days deferred payment conditions pursuant to Clauses 2.4 and
                    2.6 of the RMA
EB                  Witness statement of Ernst Bode, dated 16 June 2017
EUR                 Euro
FED                 US Federal Reserve Bank
FI Report           Expert report of Mr Frank Hett, dated 27 September 2017
First Claimant      HPK Management d.o.o. (Republic of Serbia)
First Respondent    Republic of Serbia
First Termination   Respondents' termination notice to the First Claimant, dated 1 April
Notice              2016
GBP                 British Pounds
GLS                 GLS Steel Distributors Ltd
Gross Financing     Method of calculation to take into account only Pikaro' s receivables
Approach            under the RMA
Hearing             Hearing, 30 October - 3 November 2017
HeSteel             HeSteel Group (China)
HPK                 HPK Engineering B.V. (Netherlands) and HPK Management d.o.o.
                    (Republic of Serbia)
In-Transit Time     Time that goods are on their way from producer to Pikaro
Law on Default      Serbian Law on Default Interest No. 119/2012
Interest
LCIA Rules          Arbitration Rules of the London Court of International Arbitration,
                    effective 1 October 2014
Legal Costs         Parties' legal or other expenses pursuant to Article 28 of the LCIA
                    Rules
LO                  Serbian Law of Obligations
Messer              Messer Tehnogas Serbia (Company's supplier of technical gas)
Minimum Bonus       Guaranteed minimum Privatisation Bonus of USD 10 million under
                    Clause 3.2.9 of the MSA




                                         -2-
    Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 7 of 116




MSA                Management Services Agreement, concluded 21 March 2015
Negotiation        Transcript of the negotiation meeting, held 16 March 2016
Transcript
Net Financing      Method of calculation of the overall financial position between
Approach           Pikaro and the Company, looking at other contracts entered into
                   between them
New Working        Required level of net working capital of USD 80 million for the
Capital            Company pursuant to Clause 3.1.5 of the MSA
Non-Competition    Non-competition obligations pursuant to Clause 11 of the MSA
NWC                New Working Capital
Obstruction of     Obstruction of the privatisation and closure of the Privatisation
Privatisation      Agreement
OFGR               Officers For Government Relations
Party/Parties      Claimants and Respondents together
Pikaro             Pikaro s.r.o.
Pikaro Sales       Company and Pikaro' s frame contract, pursuant to which Pikaro
Contract           sold the Company's steel products to end-producers, dated 21 May
                   2015
PKl                First witness statement of Peter Kamaras, dated 16 August 2017
PK2                Second witness statement of Peter Kamaras, dated 27 September
                   2017
Pre-Hearing        Pre-hearing conference, held 4 October 2017
Conference
Privatisation      Closure of the Privatisation Agreement and completion of the
                   privatisation, 30 June 2016
Privatisation      Asset Sales and Purchase Agreement, pursuant to which HeSteel
Agreement          would purchase certain assets of the Second Respondent via a
                   newly founded company, dated 18 April 2016,
Procedural Order   Tribunal's first procedural order on the procedural timetable, dated
No. 1              3 April 2017
Procedural Order   Tribunal's second procedural order on document production, dated
No.2               21 June 2017
Procedural Order   Tribunal's third procedural order on hearing arrangements, dated 5
No. 3              October 2017
Procedural Order   Tribunal's procedural order on post-hearing briefs, dated 8
No.4               November 2017
Procedural         Procedural timetable in Appendix A of Procedural Order No. 1,
Timetable          dated 3 April 201 7
Professional       Requirement of a professional insurance indemnity pursuant to
Insurance          Clause 2.3.7 of the MSA


                                        -3-
      Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 8 of 116




PVl                   First witness statement of Pavol Vrchovinsky, dated 16 August
                      2017
PV2                   Second witness statement of Pavol Vrchovinsky, dated 27
                      September 2017
RCS                   Respondents' Cost Submission
Registrar             Registrar of the LCIA Court
Related Party         Related party arrangements pursuant to Clause 4.2 of the MSA
Arrangement
Request               Claimants' request for arbitration, dated 5 August 2016
Respondents           Republic of Serbia and Zelezara Smederevo d.o.o.
Respondents' Cost     Respondents' cost submission, dated 5 February 2018
Submission
Respondents'          Respondents' responses and objections to the Claimants' Request to
Objections            Produce, dated 24 May 2017
Respondents' Post-    Respondents' post-hearing brief, dated 20 December 2017
Hearing Brief
Respondents'          Respondents' second witness statement of Boris Milosevic, the first
Rebuttal Witness      witness statement of Vladan Mihailovic, and the second expert
Submission            report of Abdul Sirshar Qureshi, filed 27 September 2017
Respondents'          Respondents' replies to the Claimants' Objections, dated 7 June
Replies               2017
Respondents'          Respondents' requests to produce documents, dated 10 May 201 7
Requests to Produce
Respondents'          Respondents' first witness statements of (i) Boris Milosevic and (ii)
Witness Submission    Ernst Bode, and the first expert report of Abdul Sirshar Qureshi,
                      filed 16 August 201 7
Response              Respondents' response to the request for arbitration, dated 15
                      October 2016
RF                    Respondents' fact exhibits
RL                    Respondents' legal exhibits
RMA                   Company and Pikaro' s Frame Contract of Sale concerning the
                      purchase and supply of raw materials for the Company's steel
                      production, dated 22 April 2015
RoS                   Republic of Serbia
RPHB                  Respondents' Post-Hearing Brief
RSD                   Serbian Dinar
RSubl                 Respondents' Witness Submission
RSub2                 Respondents' Rebuttal Witness Submission
SBl                   First witness statement of Stanislav Barica, dated 16 August 2017


                                           -4-
     Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 9 of 116




SB2                  Second witness statement of Stanislav Barica, dated 27 September
                     2017
Second Claimant      HPK Engineering B.V. (Netherlands)
Second Respondent    Zelezara Smederevo d.o.o. (Republic of Serbia)
Second Termination   Second Respondent's termination notice sent to Claimants, dated 25
Notice               June 2016
Service Provider     HPK Management d.o.o. (Republic of Serbia)
SoC                  Claimants's Statement of Case, dated 14 February 2017
SoD                  Respondents' Statement of Defence, dated 20 March 2017
SoR                  Claimants' Statement of Reply, dated 25 April 2017
Statement of Case    Claimants' statement of case, dated 14 February 2017
Statement of         Respondents' statement of defence, dated 20 March 201 7
Defence
Statement of Reply   Claimants' statement ofreply, dated 25 April 2017
Tribunal             Arbitral tribunal composed of Mr Richard Jacobs QC, Prof Dr
                     Miodrag V Orlic, and Prof Dr Maxi Scherer
USD                  United States Dollar
Variable Bonus       Possible higher bonus calculated as "30% of the acquisition price of
                     the Company' stake achieved through such privatisation procedure"
VAT                  Value Added Tax
VM                   Witness statement of Vladan Mihailovic, dated 19 September 2017




                                            -5-
     Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 10 of 116




I.     INTRODUCTION

       A.     PARTIES

1.     The first claimant in this arbitration is HPK MANAGEMENT D.O.O. (Republic of
Serbia) (the "First Claimant" or "Service Provider"), DR JANKA GOMBARA 192, 21 211
Kisac, Republic of Serbia.

2.     The second claimant in this arbitration is HPK ENGINEERING B.V. (Netherlands)
(the "Second Claimant" or "Bidder"), Luna Aren A, Herikerbergweg 238, 1101 CM
Amsterdam, the Netherlands.

3.     The First and Second Claimants together are referred to herein as the "Claimants" or
"HPK". The Claimants are represented by Humphries Kerstetter LLP, 30 Furnival Street,
London EC4A lJQ, United Kingdom, and by Thomas Raphael QC of20 Essex Street, 20
Essex Street London WC2R 3AL, United Kingdom.

4.     The first respondent in this arbitration is REPUBLIC OF SERBIA (the "First
Respondent" or "RoS"), State Attorney of the Republic, 22-26 Nemanjina Street, 11000
Belgrade, Republic of Serbia.

5.     The second respondent in this arbitration is ZELEZARA SMEDEREVO D.O.O.
(Republic of Serbia) (the "Second Respondent" or the "Company"), 6 Izletnicka Street,
11300 Smederevo, Republic of Serbia.

6.     The First and Second Respondents together are referred to herein as the
"Respondents". The Respondents are represented by Ms Olivera Stanimirovic, State
Attorney of the Republic of Serbia; Ms Senka Mihaj, Law Office Mihaj Ilic Milanovic,
Belgrade; Mr Nebojsa Andjelkovic, Law Office Andjelkovic, Belgrade; Dr Radomir
Milosevic, Law Office Milosevic, Belgrade; Dr Miroslav Paunovic, Law Office Paunovic,
Belgrade; Prof Dr Vladimir Pavic, Faculty of Law, University of Belgrade; and Prof Dr
Dusan Popovic, Faculty of Law, University of Belgrade.

7.     The Claimants and Respondents together are referred to herein as the "Parties", and
individually as a "Party".

       B.      TRIBUNAL

8.     The arbitral tribunal (the "Tribunal") in this arbitration is composed of:


                                             -6-
      Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 11 of 116




        a.     The co-arbitrator nominated by the Claimants and appointed by the LCIA
        Court:

        Mr Richard Jacobs QC
        Essex Court Chambers
        24 Lincoln's Inn Fields
        London WC2A 3EG, United Kingdom
        Email: rjacobs@essexcourt.com

        b.     The co-arbitrator nominated by the Respondents and appointed by the LCIA
        Court:

        Prof Dr Miodrag V Orlic
        University of Belgrade
        42, Knjeginje Zorke Street
        11000 Belgrade, Serbia
        Email: miodragvorlic@gmail.com

        c.      The presiding arbitrator selected and appointed by the LCIA Court:

        Prof Dr Maxi Scherer
        Wilmer Cutler Pickering Hale and Dorr LLP
        49 Park Lane, London WlK lPS, United Kingdom
        Email: maxi.scherer@wilmerhale.com

9.      None of the Parties has raised any objections regarding the constitution or jurisdiction
of the Tribunal.

        C.      DISPUTE

10.     This arbitration is conducted under the Arbitration Rules of the London Court of
International Arbitration, effective as of 1 October 2014 (the "LCIA Rules").

11.     The dispute in this arbitration relates to a management and consultancy services
agreement concluded by the Parties on 21 March 2015 (the "MSA"). 1

12.     Pursuant to Clause 17.3 of the MSA, and as confirmed by the Parties:

        a.      the seat of this arbitration is London; 2

        b.      the language of the proceedings is English; 3 and




1
  Management and Consultancy Services Agreement, dated 21 March 2015, Exhibit CF-3.
2 Request, at para. 41; Response, at para. 17.
3
  Request, at para. 41; Response, at para. 14.


                                                 -7-
      Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 12 of 116




         c.       the laws governing the dispute are the substantive laws of the Republic of
         Serbia. 4

II.      PROCEDURAL HISTORY

13.      On 5 August 2016, the registrar of the LCIA Court (the "Registrar") received the
Claimants' request for arbitration (the "Request") of the same date. In their Request, the
Claimants nominated Mr Richard Jacobs QC as co-arbitrator. 5

14.      On 15 October 2016, the Registrar received the Respondents' response to the Request
(the "Response") of the same date. In their Response, the Respondents nominated Prof Dr
Miodrag V Orlic as co-arbitrator. 6

15.      On 16 January 2017, the LCIA contacted Prof Dr Scherer to inform her that she had
been selected by the LCIA Court as the third and presiding arbitrator in this case.

16.      On 19 January 2017, the LCIA transmitted Prof Dr Scherer's disclosure to the Parties.

17.      On 26 January 2017, the LCIA notified the Parties of the appointment of the Tribunal
pursuant to Article 5 of the LCIA Rules and transmitted the file to it.

18.      On 27 January 2017, the Tribunal received the file from the LCIA, including the
Request and the Response.

19.      On 1 February 2017, the Tribunal wrote to the Parties. The Tribunal:

         a.       asked the Parties to confirm that (i) all correspondence from the Tribunal to
         the Parties shall be sent to the Parties' representatives and per email only; and (ii) the
         Parties' contact details, as listed in the Tribunal's letter, are correct and, if not, to
         provide the Tribunal with any required corrections and amendments;

         b.       directed the Claimants to file their statement of case on or before 23 February
         2017 or to elect to treat the Request as their statement of case, pursuant to Article 15 .2
         of the LCIA Rules; and




4 Request, at para. 41; Response, at para. 15.
5
  Request, at para. 43.
6
  Response, at para. 13.


                                                  -8-
      Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 13 of 116




        c.     drew the Parties' attention to the fact that Article 15 of the LCIA Rules
        requires any statements to set out in sufficient detail the facts and any contentions of
        law to be relied upon, and to attach all essential documents.

20.     On 2 February 2017, the Claimants confirmed that they were happy for
correspondence to be sent to their legal representatives and per email only. The Claimants
further confirmed their contact details subject to two corrections (i.e. Ms Erika Saluzzo's
email address and the First Claimant's registered address).

21.     On 9 February 2018, the Respondents confirmed that they were happy for
correspondence to be sent to their legal representatives and per email only. The Respondents
further confirmed their contact details subject to one correction (i.e. the Second Respondent's
registered address).

22.     On 14 February 2017, the Tribunal noted the Parties' correction to their contact
details and suggested dates for a case management conference, requesting the Parties to
confirm their availability for those dates.

23.     Also on 14 February 2017, the Claimants provided their statement of case (the
"Statement of Case" or "SoC") of the same date, without exhibits.

24.     On 15 February 2017, the Tribunal acknowledged receipt of the Claimants' Statement
of Case. The Tribunal noted that the full version of the Statement of Case (including
exhibits) had been dispatched in hardcopy and thus invited the Parties to inform the Tribunal
when the Respondents received the hardcopy Statement of Case, in order to determine the
date when the statement of defence was due according to Article 15 .3 of the LCIA Rules.

25.     On 20 February 2017, the Claimants informed the Tribunal that the Statement of Case
with exhibits had been delivered to the Respondents, and the Respondents confirmed the
same.

26.     On 21 February 2017, the Tribunal directed the Respondents to file their statement of
defence, or elect to treat their Response as their statement of defence, on or before 20 March
2017 pursuant to Article 15.3 of the LCIA Rules.

27.     On 24 February 2017, the Tribunal:




                                               -9-
      Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 14 of 116




        a.      confirmed that the case management conference would take place, by
        telephone, on 30 March 2017, at 5 p.m. London time, at time convenient to the
        Parties; and

        b.     invited the Parties to provide the Tribunal, either jointly or separately, with (i)
        a proposed timetable for this arbitration; and (ii) any items the Parties wished to put
        on the agenda for the case management conference.

28.     On 14 March 2017, the Claimants provided the Tribunal with the Parties' respective
proposals as to the timetable for the arbitration.

29.     On 20 March 2017, the Respondents provided their statement of defence (the
"Statement of Defence" or "SoD") of the same date.

30.     On 23 March 2017, the Tribunal acknowledged receipt of the Parties' proposals
regarding the timetable in this arbitration and the Respondents' Statement of Defence. The
Tribunal directed the Claimants to file their statement of reply on or before 18 April 2017
pursuant to Article 15 .4 of the LCIA Rules.

31.     On 24 March 2017, the Claimants and the Respondents provided further comments on
the procedural timetable for this arbitration.

32.     Also on 24 March 2017, the Claimants requested an extension to file their statement
ofreply from 18 April to 28 April 2017.

33.     On 27 March 2017, the Respondents provided their comments on the Claimants'
extension request.

34.     Also on 27 March 2017, the Tribunal:

        a.      circulated an agenda and dial-ins for the case management conference;

        b.      provided the Parties with a draft procedural order No. 1 and invited the
        Parties, if they wished, to provide written comments on the draft in advance of the
        case management conference; and

        c.      advised the Parties that it would discuss the Claimants' extension request with
        the Parties at the upcoming case management conference.



                                                 - 10 -
      Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 15 of 116




35.     On 28 March 2017, the Claimants and Respondents submitted comments on the draft
procedural order no. 1.

36.     On 30 March 2017, the Tribunal held a case management conference (the "Case
Management Conference"), during which the Parties discussed, among other things, the text
of draft procedural order no. 1 and the procedural timetable.

37.     On 3 April 2017, the Tribunal:

        a.     provided a summary of the Case Management Conference;

        b.     issued its first procedural order (the "Procedural Order No. 1"), setting out
        the procedural timetable in Appendix A (the "Procedural Timetable"); and

        c.     decided to grant the Claimants' extension request.

38.     On 25 April 2017, the Claimants provided their statement of reply (the "Statement of
Reply" or "SoR") of the same date.

39.     On 26 April 2017, the Tribunal acknowledged receipt of the Claimants' Statement of
Reply, dated 25 April 2017, including exhibits, and reminded the Parties that the Parties'
requests to produce documents would be due on 10 May 2017 according to the Procedural
Timetable.

40.     On 10 May 2017, the Claimants filed their requests to produce documents (the
"Claimants' Requests to Produce").

41.     On the same day, the Respondents filed their requests to produce documents (the
"Respondents' Requests to Produce").

42.     On 11 May 2017, the Tribunal acknowledged receipt of the Claimants' and
Respondents' Requests to Produce, dated 10 May 201 7, and reminded the Parties that the
Parties' voluntary document production or objections to production would be due on 24 May
2017 according to the Procedural Timetable.

43.     On 12 May 2017, the Claimants informed the Tribunal and the Respondents that the
registered address of the First Claimant, was changed to: DR JANKA GOMBARA 192, 21
211 Kisac, the Republic of Serbia.



                                              - 11 -
      Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 16 of 116




44.     On 24 May 2017, the Claimants voluntarily produced certain documents responsive to
the Respondents' Requests to Produce, and filed their responses and objections to the
Respondents' Request to Produce (the "Claimants' Objections").

45.     On the same day, the Respondents voluntarily produced certain documents responsive
to the Claimants' Requests to Produce, and filed their responses and objections to the
Claimants' Request to Produce (the "Respondents' Objections").

46.     On 25 May 2017, the Tribunal acknowledged receipt of the Parties' voluntary
document production and Objections of 24 May 2017 and reminded the Parties that their
replies to the Objections would be due on 7 June 2017 according to the Procedural Timetable.

47.     On 7 June 2017, the Claimants filed their replies to the Respondents' Objections (the
"Claimants' Replies").

48.     On the same day, the Respondents filed their replies to the Claimants' Objections (the
"Respondents' Replies").

49.     On 8 June 2017, the Tribunal acknowledged receipt of the Patties' Replies and
informed them that it would render its decision on the Parties' Requests to Produce by 21
June 2017 according to the Procedural Timetable.

50.     On 21 June 2017, the Tribunal issued its second procedural order on document
production (the "Procedural Order No. 2"), in which it decided on the Parties' Requests to
Produce and ordered document production by 5 July 2017.

51.     On 29 June 2017, the Claimants wrote to the Tribunal to confirm whether the
Respondents were ordered to produce certain documents listed in the Claimants' Request to
Produce.

52.     On 2 July 2017, the Tribunal confirmed that according to Procedural Order No. 2, the
Respondents were ordered to produce the documents listed in the Claimants' Request to
Produce No. 11.

53.     On 5 July 2017, the Parties disclosed documents pursuant to Procedural Order No. 2.

54.     On 12 July 2017, the Respondents submitted an application regarding the Claimants'
document production, noting the Claimants' failure "to produce a number of documents [the


                                             - 12 -
      Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 17 of 116




Claimants] were required to produce" and "to explain why certain documents [ ... ] were not
disclosed."

55.     On the same day, the Tribunal invited the Claimants to comment on the Respondents'
application.

56.     On 14 July 2017, the Claimants submitted certain documents as well as their
comments on the Respondents' application of 12 July 2017.

57.     On 18 and 19 July 2017, the Parties submitted further comments on the Respondents'
application.

58.     Also on 19 July 2017, the Claimants submitted an application regarding the
Respondents' document production.

59.     On the same day, the Tribunal wrote to the Parties: concerning the Respondents'
application it noted that it would now deliberate and decide on this application and invited the
Parties to refrain from any further submissions; and concerning the Claimants' application, it
invited the Respondents to provide their comments on or before 21 July 2017.

60.     On 21 July 2017, the Respondents submitted their comments on the Claimants'
application.

61.     On 24 July 2017, the Claimants submitted further comments on their application,
referring to the Respondents' letter of 21 July 2017.

62.     On 30 July 2017, the Tribunal:

        a.     noted that the Parties had made a number of unsolicited submissions and asked
        the Parties to seek leave to make any submissions on the other Parties'
        applications/requests and to refrain from making such submissions, unless authorized
        by the Tribunal to do so;

        b.     concerning the Respondents' application: ordered the Claimants to produce
        certain documents regarding Respondents' Request to Produce No. 13 on or before 7
        August 2017; and




                                             - 13 -
      Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 18 of 116




        c.     concerning the Claimants' application: noted that in light of the Parties'
        comments, there was no need for further action at this stage.

63.     On 7 August 2017, the Claimants' disclosed new documents in line with the
Tribunal's order of 30 July 2017.

64.     On 16 August 2017, pursuant to the Procedural Timetable, the Parties filed their
witness statements and expert reports with accompanying submissions and exhibits. In
particular:

        a.     the Claimants filed the first witness statements of (i) Peter Kamaras, (ii)
        Stanislav Barica, and (iii) Pavol Vrchovinsky (all dated 16 August 2017), as well as
        the accompanying submission (the "Claimants' Witness Submission" or "CSubl");
        and

        b.     the Respondents filed the first witness statements of (i) Boris Milosevic (dated
        10 August 2017) and (ii) Ernst Bode (dated 16 June 2017), and the first expert report
        of Abdul Sirshar Qureshi (dated 11 August 2017), as well as the accompanying
        submission (the "Respondents' Witness Submission" or "RSubl").

65.     On 17 June 2017, the Tribunal acknowledged receipt of the Parties' respective
witness statements and expert reports, with accompanying submissions and exhibits, and
reminded the Parties that pursuant to the Procedural Timetable their rebuttal witness
statements and expert reports with accompanying submissions and exhibits, if any, were due
on 27 September 2017.

66.     On 21 September 2017, the Tribunal wrote to the Parties regarding the arrangements
for the hearing taking place during the week of 30 October 2017. In particular, in light of the
upcoming pre-hearing conference scheduled according to the Procedural Timetable, the
Tribunal invited the Parties to confer regarding the an-angements for the hearing, including its
length, and to inform the Tribunal, either jointly or separately, about the arrangements found.

67.     On 22 September, the Parties informed the Tribunal about certain points of their
agreement and disagreement on the hearing an-angements.

68.     On 25 September 2017, the Tribunal acknowledged receipt of the Parties'
con-espondence and noted the points of the Parties' agreement and disagreement. The


                                              - 14 -
      Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 19 of 116




Tribunal invited the Parties to confer and inform the Tribunal of the additional hearing
arrangements on or before 2 October 2017.

69.     On 27 September 2017, pursuant to the Procedural Timetable, the Parties filed their
rebuttal witness statements and expert reports with accompanying submissions and exhibits.
In particular:

        a.       the Claimants filed the second witness statements of (i) Peter Kamaras, (ii)
        Stanislav Barica, and (iii) Pavol Vrchovinsky, and the first expert report of Frank Hett
        (all dated 27 September 2017), as well as the accompanying submission (the
        "Claimants' Rebuttal Witness Submission" or "CSub2"); and

        b.       the Respondents filed the second witness statement of Boris Milosevic (dated
        25 September 2017), the first witness statement of Vladan Mihailovic (dated 19
        September 2017), and the second expert report of Abdul Sirshar Qureshi (dated 22
        September 2017), as well as the accompanying submission (the "Respondents'
        Rebuttal Witness Submission" or "RSub2").

70.     On 2 October 2017, the Parties wrote to the Tribunal concerning the hearing
arrangements. They provided the Tribunal with a list of issues about which they had agreed
and a list of issues about which they continued to disagree.

71.     On the same day, the Tribunal acknowledged receipt of the Parties' correspondence
and noted that it looked forward to further discussing the details with the Parties during the
pre-hearing conference.

72.     On 4 October 2017, the pre-hearing conference in this arbitration took place (the
"Pre-Hearing Conference"), during which the Parties and the Tribunal discussed various
topics, including but not limited to hearing arrangements and post-hearing briefs.

73.     On 5 October 2017, the Tribunal issued its third procedural order on hearing
arrangements (the "Procedural Order No. 3") including the hearing timetable.

74.     Also on 5 October 2017, the Tribunal noted that Mr Thomas Raphael QC participated
in the Pre-Hearing Conference on behalf of the Claimants. The Tribunal invited the
Claimants to make a notification of an intended addition to its legal representatives pursuant




                                               - 15 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 20 of 116




to Article 18.3 of the LCIA Rules, if needed, and request the required approval pursuant to
Article 18.4 of the LCIA Rules.

7 5.     On the same day, the Claimants notified an intended addition to their legal
representatives (Mr Thomas Raphael QC), and requested that the Tribunal approve this
intended addition pursuant to Articles 18.3 and 18.4 of the LCIA Rules.

76.      Still on 5 October 2017, the Tribunal acknowledged receipt of the Claimants' letter
and invited the Respondents to provide their comments, if any, by 10 October 201 7.

77.      On 12 October 2017, the Tribunal noted that the Respondents had not provided any
comments on the Claimants' intended additional legal representative, and in light of this,
approved the addition of Mr Thomas Raphael QC to the Claimants' legal representatives
pursuant to Articles 18.3 and 18.4 of the LCIA Rules.

78.      On 13 October 2017, the Claimants sought clarification concerning item 12(c) of
Annex A to Procedural Order No. 3.

79.      On the same day, the Tribunal invited the Respondents to comment on the Claimants'
request for clarification.

80.      Also on 13 October 2017, the Claimants wrote a second letter to the Tribunal in which
they notified the Tribunal of their intended addition to their legal representatives pursuant to
Article 18.3 of the LCIA Rules: Mr Branislav Marie of Marie & Mujezinovic (in cooperation
with Kinstellar Belgrade).

81.      Still on the same day, the Tribunal acknowledged receipt of the Claimants' second
letter and invited the Respondents to provide their comments.

82.      On 16 October 2017, the Respondents provided their comments on the Claimants'
request for clarification of 13 October 2017.

83.      On 18 October 2017, the Respondents provided comment on the Claimants' requested
addition to the Claimants' legal representatives and asked that the Tribunal to seek further
information about a possible link between Mr Branislav Marie's law firm and the Claimants.




                                                - 16 -
      Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 21 of 116




84.     On the same day, the Tribunal acknowledged receipt of the Respondents' letter
regarding the Claimants' additional legal representative and invited the Claimants to provide
their comments.

85.     Also on 18 October 2017, the Tribunal wrote to the Parties regarding various
questions on hearing arrangements, including the Claimants' request for clarification of
13 October 2017.

86.     Still on 18 October 2017, the Respondents wrote regarding certain documents
produced by the Claimants (exhibits CF-225 and CF-226).

87.     On 19 October 2017, the Tribunal acknowledged receipt of the Respondents' letter
and invited the Claimants to provide their comments by 20 October 2017.

88.     On 20 October 2017, the Claimants wrote four letters:

        a.      the Claimants' first letter related to objections to the Respondents' rebuttal
        submission of 27 September 2017: according to the Claimants, the Respondents
        unduly included new allegations in those rebuttal submissions;

        b.      the Claimants' second letter related to the Claimants' request to add a new
        legal representative (Mr Marie): the Claimants provided a statement by Mr Marie, in
        reply to the Respondents' comments of 18 October 2017;

        c.      the Claimants' third letter related to the Respondents' queries regarding
        certain documents produced by the Claimants (exhibits CF-225 and CF-226): the
        Claimants provided information regarding these documents in reply to the
        Respondents' queries of 18 October 2017; and

        d.      the Claimants' fourth letter related to queries regarding certain documents in
        relation to exhibit RF-37 submitted with the Respondents' submission of 16 August
        2017.

89.     On 21 October 2017, the Tribunal acknowledged receipt of the Claimants' four letters
of 20 October 2017. The Tribunal:




                                               - 17 -
      Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 22 of 116




        a.     concerning the Claimants' first letter (objections to the Respondents' rebuttal
        submission of 27 September 2017): invited the Respondents to comment on the
        Claimants' objections;

        b.     concerning the Claimants' second letter (Claimants' additional legal
        representative): invited the Respondents to comment on Mr Marie's statement;

        c.     concerning the Claimants' third letter (Respondents' queries regarding
        exhibits CF-225 and CF-226): invited the Respondents to confirm whether the
        information provided by the Respondents answered their queries regarding these
        documents; and

        d.     concerning the Claimants' fourth letter (Claimants' queries regarding
        Respondents' exhibit RF-37): invited the Respondents to comment.

90.     On 23 October 2017, the Respondents wrote three letters:

        a.     the Respondents' first letter related to the Claimants' additional legal
        representative;

        b.     the Respondents' second letter related to their query on certain documents
        produced by the Claimants' (exhibits CF-225 and CF-226); and

        c.     the Respondents' third letter related to the Claimants' queries regarding
        Respondents' exhibit RF-37.

91.     Also on 23 October 2017, pursuant to Procedural Order No. 3, Appendix A para. 3,
the Parties provided the Tribunal with a list of their attendees at the upcoming hearing.

92.     On 24 October 2017, the Claimants informed the Tribunal that they withdrew their
request to add Mr Marie as legal representative of the Claimants' legal team.

93.     On the same day, the Tribunal wrote to the Parties. The Tribunal:

        a.     noted that the Claimants withdrew their request to add Mr Marie as legal
        representative of the Claimants' legal team and, in light of this, it would not issue a
        decision on this point;




                                              - 18 -
      Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 23 of 116




        b.     made a decision regarding the Respondents' queries about certain documents
        produced by the Claimants (exhibits CF-225 and CF-226); and

        c.     invited the Claimants to confirm whether the information provided by the
        Respondents answers their queries regarding exhibit RF-37.

94.     On 24 October 2017, the Respondent provided its comments on the Claimants'
objections to the Respondents' rebuttal submission of 27 September 2017.

95.     On 25 October 2017, the Claimants wrote three letters:

        a.     the Claimants' first letter contained further comments regarding their
        objections to the Respondents' rebuttal submission of 27 September 2017;

        b.     the Claimants' second letter related to the Claimants' new request to introduce
        new evidence in form of exhibits CF-271-280; and

        c.     the Claimants' third letter related to their queries about the Respondents'
        exhibit RF-37: the Claimants, based on the information provided by the Respondents,
        withdrew their queries on this point.

96.     On the same day, the Tribunal acknowledged receipt of the Parties' correspondence of
24 and 25 October 2017. The Tribunal:

        a.      concerning the Claimants' objections regarding the Respondents' rebuttal
        submission: noted that it had received the Parties' comments and was currently
        deliberating this point;

        b.      concerning the Claimants' queries regarding Respondents' exhibit RF-37:
        noted that the Claimants' queries were either satisfied or withdrawn and that no
        decision was required on this point;

        c.      further noted that with its second letter of 25 October 2017 the Claimants
        sought to introduce new evidence in form of exhibits CF-271 to CF-280 and thus
        invited the Respondents to comment on the Claimants' request.

97.     On 26 October 2017, the Claimants requested to introduce further new evidence in
form of exhibit CF-281.



                                                - 19 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 24 of 116




98.      On the same day, the Tribunal acknowledged receipt of the Claimants' letter and
invited the Respondents to comment on the Claimants' request (together with the
Respondents' comments on the Claimants' previous request about new evidence filed on 25
October 2017).

99.      Also on 26 October 2017, the Claimants and Respondents provided further comment
on the introduction of new evidence sought by the Respondents.

100.     On 27 October 2017, the Tribunal decided on the following issues:

         a.      the Claimants' objections regarding the Respondents' rebuttal submission: the
         Tribunal found that it was not at present persuaded that the Respondents' rebuttal
         submission contained new allegations of breach, with the exception of para. 69 in
         relation to which the Tribunal reserved its decision, until the Respondents' position
         has become clear; and

         b.      the Claimants' requests to introduce new evidence: the Tribunal granted the
         requests to introduce exhibits CF-273-275, CF-277-278, and CF-281 to the file, and
         dismissed the requests otherwise.

101.     From 30 October - 3 November 2017, the hearing in the present arbitration took place
at the offices of WilmerHale, 49 Park Lane, WlK lPS London (the "Hearing"). Were
present, at different times at the Hearing:

         a.      on behalf of the Claimants:

                 1.     Mr Peter Kamaras, Mr Stanislav Barica, Mr Pavol Vrchovinsky (all
                 also as witnesses), and Mr Richard Roman;

                 11.    Mr Kristopher Kerstetter, Mr Adam Polansky, Ms Erika Saluzzo, and
                 Mr Dilan Ozdemir of Humphries Kerstetter LLP, and Mr Thomas Raphael QC
                 of 20 Essex Street Chambers as legal counsel;

                 111.   Mr Frank Hett of Haberman Hett LLP as expert;

                 1v.    Ms Martina Thomas of City Legal as interpreter; and

         b.      on behalf of the Respondents:




                                               - 20 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 25 of 116




                  1.     Ms Olivera Stanimirovic;

                  11.    Ms Sen1rn Mihaj and Mr Aleksandar Fill en of MIM Law Office, Dr
                  Radomir Milosevic and Mr Filip Milosevic of Law Office Milosevic, Mr
                Nebojsa Andjelkovic of Law Office Andjelkovic, Dr Miroslav Paunovic of
                  Law Office Paunovic, Prof Dr Vladimir Pavic, and Prof Dr Dusan Popovic of
                  the Faculty of Law of the University of Belgrade as legal counsel;

                  111.   Mr Boris Milosevic, Mr Ernst Bode, and Mr Vladan Mihailovic as
                  witnesses; and

                  1v.    Mr Abdul Sirshar Qureshi as expert.

102.     On 8 November 2017, the Tribunal issued its fourth procedural order on post-hearing
briefs (the "Procedural Order No. 4"), following the discussion with the Parties at the end
of the Hearing.

103.     On 9 and 13 November 2017, the Parties exchanged correspondence concerning the
inclusion of certain documents in the electronic Hearing bundle.

104.     On 22 November 2017, the Tribunal made a decision on this point and noted that it
was content for these documents to be used in hardcopy only without the need to update the
electronic Hearing Bundle.

105.     On 8 December 2017, the Claimants submitted additional legal exhibits CL-27 to CL-
45 pursuant to para 2(d) of Procedural Order No. 4 and sought directions concerning the
Parties' cost submissions.

106.     On 11 December 2017, the Tribunal:

         a.       acknowledged receipt of the Claimants' additional legal material; and

         b.       concerning the Parties' cost submissions, referred to para. 32 of Procedural
         Order No. 1 (according to which the Parties shall submit their first submissions on
         costs as one-page statements and shall not include supp01iing documents, and the
         Tribunal may order further submissions on costs if it deems this useful), noted that it
         believed the Parties' statements of costs could be submitted in early January 2018,




                                               - 21 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 26 of 116




         and invited the Parties to confer on the point, and to provide their comments, jointly
         or separately, by 18 December 2017.

107.     Also on 11 December 2017, the Respondents submitted additional legal exhibits RL-
12 to RL-16.

108.     On 12 December 2017, the Respondents noted that the Claimants' additional legal
exhibits CL-27 to CL-45 were only provided in the English translation and not the original
Serbian.

109.     On 13 December 2017, the Claimants provided the Serbian versions of previously
submitted exhibits CL-27 to CL-45.

110.     On 15 December 2017, the Tribunal:

         a.     thanked the Respondents for the submission of additional legal exhibits RL-12
         to RL-16, and the Claimants for their production of the Serbian versions of previously
         submitted exhibits CL-27 to CL-45; and

         b.     invited the Parties to confer on the possible date for cost submissions and to
         provide their comments, jointly or separately, on or before 18 December 2017.

111.     On 18 December 2017, the Claimant informed the Tribunal that the Parties had agreed
on a date for the Parties' cost submission.

112.     On the same day, the Tribunal, in light of the Parties' agreement, directed the Parties
to submit their cost submissions in accordance with para. 32 of Procedural Order No. 1 on or
before 12 January 2018. The Tribunal further directed the Parties to submit their cost
submissions only to the Tribunal, who would then forward them to other side.

113.     Also on 18 December 2017, the Claimants wrote a second letter, including exhibits
CL-46 and CL-4 7.

114.     On 20 December 2017, pursuant to Procedural Order No. 4, the Claimants filed their
post-hearing brief, including exhibit CL-48 (the "Claimants' Post-Hearing Brief' or
"CPHB") and the Respondents filed their post-hearing brief (the "Respondents' Post-
Hearing Brief' or "RPHB").




                                               - 22 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 27 of 116




115.     Also on 20 December 2017, the Respondents requested the Tribunal to declare
inadmissible Claimants' exhibits CL-46 to CL-48 on the basis that they were filed after the
deadline set forth in Procedural Order No. 4.

116.     On the same day, the Tribunal invited the Claimants to comment on the Respondents'
request on or before the close of business on 21 December 2017.

117.     On 21 December 201 7, the Claimants provided their comments on the Respondents'
request to declare inadmissible exhibits CL-46 to CL-48.

118.     On 29 December 2017, the Tribunal:

         a.     referred the Parties to Procedural Order No. 4 which provided that in the Post-
         Hearing Briefs "the Parties shall not raise new arguments, nor submit any new
         documents, except for limited legal authorities, if necessary" (para. 2(c)) and set a
         specific deadline for the submission of any new legal authorities "as early as possible,
         but in any event at least 10 days before the Post-Hearing Briefs are due" (para. 2(d));

         b.     decided to admit to the record CL-46 and CL-4 7 since they are not new legal
         exhibits but merely additional English translations of exhibits RL-13 and RL-14
         already provided by the Respondents;

         c.     decided not to admit to the record CL-48 since it is a new legal exhibit and, as
         such, was submitted after the deadline provided in Procedural Order No. 4; and

         d.     closed the proceedings, noting that no further submissions by the Pmiies were
         admissible, save for the matter of costs and unless the Tribunal decided otherwise.

119.     On 9 January 2018, the Claimants made further submissions, objecting to certain
points made in the Respondents' Post-Hearing Brief as being "new arguments for breach."

120.     On 11 January 2018, the Tribunal:

         a.      reminded the Parties that it had closed the proceedings, save for the matter of
         costs and unless the Tribunal decided otherwise;

         b.      noted that in light of the Claimants' further submissions and objections, the
         Tribunal had to postpone the Parties' costs submissions and determine instead



                                                - 23 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 28 of 116




         whether re-opening the proceedings on these points was necessary, and thus invited
         the Respondents to comment thereon; and

         c.      noted that the Claimants in their Post-Hearing Briefs at paragraph 123 had for
         the first time presented particulars regarding its relief on interest, thus decided to re-
         open the proceedings on this point and invited the Respondents to comment thereon.

121.     On 18 January 2018, the Respondents provided comments on the Claimants'
objections and relief on interest.

122.     On 25 January 2018, the Tribunal:

         a.      decided that the Respondents' Post-Hearing Brief did not contain new
         breaches which would warrant the re-opening of the proceedings, but noted, for the
         avoidance of doubt, that if would ignore new arguments to the extent the Parties had
         raised them in their Post-Hearing Briefs; and

         b.      reiterated is previous procedural direction to close the proceedings, save for
         the matter of costs; and directed the Parties to submit their cost submissions by 5
         February 2018.

123.     On 5 February 2018, the Claimants filed their cost submission (the "Claimants' Cost
Submission" or "CCS") and the Respondents filed their cost submission (the "Respondents'
Cost Submission" or "RCS"), respectively, to the Tribunal only.

124.     On 6 February 2018, the Tribunal acknowledged receipt of the Parties' respective
Cost Submissions, dated 5 February 2018, forwarded them to the other side, and closed the
proceedings.

III.     PARTIES' SUBMISSIONS

         A.      CLAIMANTS' SUBMISSIONS

125.     In this arbitration, among other things, the Claimants filed the following submissions:

         a.      Request, dated 5 August 2016;

         b.      Statement of Case, dated 14 February 2017;

         c.      Statement of Reply, dated 25 April 2017;



                                                - 24 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 29 of 116




         d.     Claimants' Witness Submission, dated 16 August 201 7;

         e.     Claimants' Rebuttal Witness Submission, dated 27 September 2017;

         f.     Claimants' Post-Hearing Brief, dated 20 December 2017; and

         g.     Claimant's Cost Submission, dated 5 February 2018.

126.     The Claimants' submissions were accompanied by:

         a.     Fact exhibits CF-1 to CF-270;

         b.     Legal exhibits CL-1 to CL-4 7;

         c.     Witness statements:

                1.      First witness statement of Peter Kamaras, dated 16 August 2017
                ("PKl"); and second witness statement of Peter Kamaras, dated 27 September
                2017 ("PK2");

                11.     First witness statement of Stanislav Bari ea, dated 16 August 2017
                ("SBl"); and second witness statement of Stanislav Barica, dated 27
                September 2017 ("SB2");

                111.    First witness statement of Pavol Vrchovinsky, dated 16 August 2017
                ("PVl"); and second witness statement of Pavol Vrchovinsky, dated 27
                September 2017 ("PV2"); and

         d.     Expert report of Mr Frank Ilett, dated 27 September 2017 ("FI Report"),
         including appendices A to G and exhibits 1 to 16.

         B.     RESPONDENTS' SUBMISSIONS

127.     In this arbitration, among other things, the Respondents filed the following
submissions:

         a.     Response to the Request, dated 15 October 2016;

         b.     Statement of Defence, dated 20 March 2017;

         c.     Respondents' Witness Submission, dated 16 August 2017;

         d.     Respondents' Rebuttal Witness Submission, dated 27 September 2017;

         e.     Respondents' Post-Hearing brief, dated 20 December 2017; and


                                              - 25 -
        Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 30 of 116




          f.     Respondents' Cost Submission, dated 5 February 2018.

128.      The Respondents' submissions were accompanied by:

          a.     Fact exhibits RF-1 to RF-52;

          b.     Legal exhibits RL-1 to RL-16;

          c.     Witness statements:

                 1.      First witness statement of Boris Milosevic, dated 10 August 2017
                 ("BMl ") and second witness statement of Boris Milosevic, dated 25
                 September 2017 ("BM2");

                 11.     Witness statement of Ernst Bode, dated 16 June 2017 ("EB");

                 111.    Witness statement of Vladan Mihailovic, dated 19 September 201 7
                 ("VM");

          d.     Expert reports:

                 1.      First expert report of Abdul Sirshar Qureshi, dated 11 August 2017
                 ("AQl Report") including appendices A to Land exhibits 1 to 73; second
                 expert report of Abdul Sirshar Qureshi, dated 22 September 2017 ("AQ2
                 Report") including appendices A to E and exhibits 74 to 87.

IV.       PARTIES' REQUESTS FOR RELIEF

          A.     CLAIMANTS' REQUEST FOR RELIEF

129.      The Claimants' request for relief has changed over the course of this arbitration.

13 0.     In their Statement of Case, the Claimants sought the following relief:

          "Declaring that the purported termination of the MSA by the Company was invalid.

          Declaring that RoS and the Company are jointly liable to pay to the Service Provider
          the fixed part of the Management Fee pursuant to clause 3.2.5 of the MSA and the
          Privatisation Bonus pursuant to clause 3 .2.9 of the MSA.

          Ordering the Company and RoS jointly and severally to pay to the Service Provider
          an amount equal to 30% of the Acquisition Price plus VAT of20% of that sum, plus
          interest accruing from 30 June 2016 (to be assessed) plus costs.




                                                - 26 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 31 of 116




         Should the Company fail to pay the Termination Fee by 16 May 201 7, the Claimants
         will seek an additional award declaring the Company liable for and requiring the
         Company to pay EUR 2,040,000 plus interest (to be assessed) plus costs." 7

131.     However, in subsequent submissions, the Claimants withdrew the relief related to the
termination of the MSA and the termination fee:

         "The Claimants, on reflection, accept that [the] 1 April 2016 [termination] notice was
         valid when given, as the privatization was under way, which is sufficient for the
         purposes of clause 8.4. It makes sense that it is possible to give notice in advance to
         take effect at the time the privatization is scheduled to complete." 8

         "Since it is accepted that the MSA was terminated on 30 June 2016, by virtue of the
         notice of 1 April 2016, the Claimants no longer claim the termination fee of €2.04
         million. " 9

132.     In their Statement of Reply, the Claimants sought the following relief:

         "The Claimants deny that the Respondents are entitled to any relief. The Claimants'
         claims are well founded and costs should be ordered in favour of the Claimants. " 10

133.     In the Claimants' Witness Submission, the relief was as follows:

         "In conclusion, it is submitted that the Tribunal should award the Claimants
         €16,197,806.09 plus VAT at 20%, and RSD 100,536,504 by way of management fee
         for May and June 2016, in damages or debt. If the correct privatisation bonus turns
         out to be higher, the Claimants will claim the higher sum.

         The Claimants will also claim interest on the sums due, in accordance with Serbian
         law. Calculations will be provided in due course.

         Further or alternatively the Claimants claim declarations as appropriate as per
         paragraphs 160, 165, 167 and/or 168 above.

         The Claimants also claim costs, including the Tribunal's expenses and the Claimants'
         legal costs." 11

134.     The same relief was sought in the Claimants' Rebuttal Witness Submission12 and
Post-Hearing Brief, 13 with the following addition concerning the Claimants' relief of interest:

         "Under LCIA Rules 26.4: 'The Arbitral Tribunal may order that simple or compound
         interest shall be paid by any party on any sum awarded at such rates as the Arbitral

7
  SoC, at paras 72.1-73.
8
  CSubl, at para. 20.
9
  CSubl, at para. 171.
10
   SoR, at para. 105.
11
   CSubl, at paras 173-176.
12
   CSub2, at para. 131.
13
   CPHB, at para. 123.


                                              - 27 -
        Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 32 of 116




          Tribunal decides to be appropriate (without being bound by rates of interest practised
          by any state court or other legal authority) in respect of any period which the Arbitral
          Tribunal decides to be appropriate ending not later than the date upon which the
          award is complied with.' HPK therefore claims an appropriate award of interest.
          Under MSA 5.2.1, 'the Service Provider may charge interest at the rate of the official
          legal default interest rate in line with the Governing Law.' As stated on the website of
          the National Bank of Serbia, the default interest rate is the key policy rate plus 8% and
          the key policy rate was 4% from 07.07.16, then 3.75% from 07.09.17, then 3.5% from
          09 .10 .1 7 to date. HPK claim simple interest on all their claims at the above rates for
          the period 30.06.16 (30.05.16 for the May management fee), to date of payment. At
          01.01.18 this will total €3,026,562 accruing at €5,317 daily thereafter. We submit
          such rate is the agreed rate and is appropriate. We do not know if this approach will
          be disputed but, if for any reason it is not accepted by the Tribunal, we submit that at
          the least a high commercial rate (c. 9% to reflect Serbian borrowing costs) would be
          appropriate and interest should then be awarded on a compound basis with quarterly
          rests. " 14

          B.     RESPONDENTS' REQUEST FOR RELIEF

13 5.     The Respondents request the following relief:

          "The Respondents request the Tribunal to (i) dismiss Claimants' Claim in its entirety
          as unfounded; and (ii) order the Claimants' to jointly and severally reimburse the
          Respondents for the full amount of their costs related to this Arbitration, including the
          costs of representation and other related costs." 15

V.        FACTS

136.      This section sets out some of the undisputed facts that constitute the framework for
the present dispute. It is not an exhaustive summary of all facts. Further relevant and
disputed facts are discussed in detail in the Tribunal's decision in Section VI below.

          A.      BACKGROUND

13 7.     The dispute relates to a steel mill in the town of Smederevo, in the central region of
the Republic of Serbia, founded in 1913. From 2003 to 2012, United States Steel
Corporation was the ultimate owner of the company running the steel mill. 16 In 2012, the
Republic of Serbia (i.e. the First Respondent) acquired the shares in the company running the
steel mill for USD 1. 17 The company was renamed Zelezara Smederevo D.O.O., i.e. the
Second Respondent. At that time, the Company was in a difficult financing position. 18



14
   CPHB, at para. 123.
15
   SoD, at para. 140; RSub 1, at para. 144; RSub2, at para. 113; RPHB, at para. 132.
16
   SoD, at para. 8.
17
   SoD, at para. 8.
18
   SoD, at para. 8.


                                                     - 28 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 33 of 116




138.     In 2014, the First Respondent announced that it would privatise the Company. It
invited bids, and entered into negotiations, but ultimately the attempt to privatise the
Company failed. 19

139.     Instead, in 2015, the First Respondent decided to secure professional management
services for the Company to increase the chances of a privatisation. The Second Claimant, a
Dutch company providing "management services in the steel production industry" 20
participated in, and ultimately won, the bidding process, which led to the conclusion of the
MSA, as described in further detail below. The Second Claimant specifically incorporated
the First Claimant, a Serbian company, in order to provide management services to the
Company. 21

         B.       NEGOTIATION AND CONCLUSION OF THE MSA

140.     On 20 February 2015, the Second Respondent invited bids for the provision of
management services on an interim basis to privatise at a later date. 22 On 6 March 2015, the
Second Claimant submitted its bid, 23 and the Parties entered into negotiations during the
month of March 2016. Among others, a negotiation meeting took place on 16 March 2016,
which has been transcribed in writing (the "Negotiation Transcript"). 24

141.     On 21 March 2015, the Parties concluded the MSA. 25 The MSA's ultimate purpose
was to have the Company's business privatised. 26 Recital A to the MSA provides that:

         "The RoS wishes to enter this Agreement:

         (a) in recognition of, and in order to secure for the Company to benefit of the Service
         Provider's experience and management expertise according to the terms of this
         Agreement;

         (b) in order to restructure and establish the long term viability of the Company. " 27




19
   SoD, at para. 10; PKl, at paras. 10-11.
20
   SoC, at para. 4.
21
   Request, at para. 13; SoC, at paras. 3-4.
22
   Public invitation for bids, dated 20 February 2015, Exhibit CF-I.
23
   PKl, at para. 15.
24
   Negotiation Transcript, Exhibit RF-17.
25
   MSA, Exhibit CF-3.
26
   SoD, at para. 11; CSubl, at para. 7.
27
   MSA, Exhibit CF-3, at Recital A.


                                                      - 29 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 34 of 116




142.     Clause 3.1.1 of the MSA stipulates that "this Agreement is to serve as an interim
solution until the Company is privatized."28

143.     On 22 April 2015, the Parties executed the closing and takeover protocol (the
"Closing and Takeover Protocol") and the MSA entered into force. 29

144.     Under the MSA, the First Claimant was to manage the Company as Chief Executive
Officer. 30 While the First Claimant was in charge of the daily business of the Company, its
authority was subject to (i) obtaining the co-signature of the Officers For Government
Relations (the "OFGR") appointed by the First Respondent; and (ii) the supervision by the
supervisory board of the Company, with two members being appointed by the First Claimant
and three members being appointed by the First Respondent. 31

         C.      PIKARO CONTRACTS

145.     The Company concluded various contracts with Pikaro s.r.o. ("Pikaro"), an affiliate
of the Claimants.

146.     On 22 April 2015, as part of the Closing and Takeover Protocol, the Company entered
into a "Frame Contract of Sale" with Pikaro concerning the purchase and supply of raw
materials for the Company's steel production (the "RMA"). 32

147.     On 21 May 2015, the Company and Pikaro concluded a frame contract according to
which Pikaro, as an agent, would sell the Company's steel products to end-producers
("Pikaro Sales Contract"). 33

         D.      PRIVATISATION AND TERMINATION NOTICES

148.     At some point in 2015, the Chinese HeSteel Group ("HeSteel") became interested in
acquiring the Second Respondent. A data room for the acquisition was started and various
meetings and visits took place at the end of 2015 and beginning of 2016.




28
   MSA, Exhibit CF-3, at Clause 3 .1.1.
29
   Closing and Takeover Protocol, dated April 2015, Exhibit CF-4.
30
   MSA, Exhibit CF-3, at Clauses 3.2.1 and 3.2.3. See also SoC, at para. 12; SoD, at para. 15.
31
   MSA, Exhibit CF-3, at Clause 3.4. See also SoC, at para. 15; SoD, at paras 14-18.
32
   Frame Contract of Sale, dated 22 April 2015, Exhibit, CF-6.
33
   Frame Contract on the Sale of Goods, dated 21 May 2015, Exhibit CF -71.


                                                     - 30 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 35 of 116




149.     On 1 April 2016, the Respondents sent a termination notice to the First Claimant, by
which they sought to terminate the MSA under Clause 8.4 of the MSA on the basis that "the
procedure for privatisation had begun" (the "First Termination Notice"). 34

150.     On 18 April 2016, HeSteel and the Second Respondent entered into a sale and
purchase agreement by which He Steel purchased certain assets of the Second Respondent via
a newly founded company (the "Privatisation Agreement"). 35

151.     On the same day, the First Claimant issued a proforma invoice "in anticipation of the
Privatisation Bonus becoming due on completion of the Privatisation. " 36

152.     On 25 June 2016, the Second Respondent sent the Claimants another termination
notice (the "Second Termination Notice") based on "allegations that the [First Claimant]
had not complied with certain provisions of the MSA," 37 as well as a separate notice
terminating the RMA with Pikaro. 38

153.     On 30 June 2016, the Privatisation Agreement closed and the privatisation was
completed (the "Privatisation"). 39

VI.      TRIBUNAL'S DECISION

154.     Having carefully considered the Parties' submissions, the Tribunal decides as follows,
addressing in turn the questions:

         a.      whether the Tribunal has jurisdiction to hear the dispute;

         b.      whether the MSA was validly terminated by the Respondents and a
         termination fee is due to the Claimants under Clause 8.3.2 of the MSA;

         c.      whether a privatisation bonus is due under Clause 3.2.9 of the MSA, and if so,
         how much and by whom;




34
   First termination notice, dated 1 April 2016, Exhibit CF-9.
35
   Sale and purchase agreement with HeSteel, dated 18 April 2016, Exhibit CF-10.
36
   Invoice from HPK Management d.o.o. to Zelezara Smederevo d.o.o., dated 18 April 2016, Exhibit RF-2.
37
   Second Termination Notice, dated 25 June 2016, Exhibit CF-14.
38
   Termination notice, dated 25 June 2016, Exhibit CF-15.
39
   Request, at para. 30; SoC, at para. 46; Annex to RSub2.


                                                  - 31 -
        Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 36 of 116




           d.       whether management fees are due for the months of May and June 2016 under
           Clause 3 .2.5 of the MSA;

           e.       whether interest is due;

           f.       whether any other requests are well-founded; and

           g.       which Party bears the costs of this arbitration.

           A.       TRIBUNAL'S JURISDICTION

155.       The Tribunal's jurisdiction to hear the present dispute is based on Clauses 16 and 17
of the MSA. 40

156.       Clause 16 of the MSA reads as follows:

           "DISPUTE RESOLUTION

           16.1 Prior to resorting to remedies pursuant to clause 17, the Parties will attempt to
           promptly resolve a Dispute in good faith through negotiations.

           16.2 Unless otherwise agreed in writing, all discussions regarding the Dispute shall be
           conducted without prejudice to the rights of each of the Parties and shall be conducted
           between the authorised representatives of the Parties. If such Dispute is not resolved
           within 30 (thirty) days or within a time period prescribed by a later written agreement
           between the Parties, such Dispute is to be settled according to remedies in clause
           17."41

157.       'Dispute' is defined in the MSA as:

           "any dispute, controversy, claim or disagreement arising directly or indirectly under,
           out of, in connection with, or in relation to this Agreement (or the subject matter of
           this Agreement) including, without limitation, any dispute, controversy, claim or
           disagreement relating to the existence, validity, interpretation, construction,
           performance, enforcement or termination of this Agreement. " 42

158.       Clause 17 of the MSA provides as follows:

           "CHOICE OF LAW AND JURISDICTION

           17 .1 This Agreement shall be governed by and construed in accordance with the
           Governing Law.



40
     Request, at paras 7-10.
41 MSA, Exhibit CF-3.
42
     MSA, Exhibit CF-3.


                                                   - 32 -
        Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 37 of 116




           17.2 Any Dispute arising out of or in connection with this Agreement, including any
           question regarding its existence, validity or termination, which has not been resolved
           through negotiation pursuant to clause 16 within 30 (thirty) days after the occurrence
           of such Dispute, shall be referred to and finally resolved by arbitration under the
           London Court of International Arbitration Rules, which Rules are deemed to be
           incorporated by reference into this clause.

           17.3 The London Court of International Arbitration shall act as both, the
           administrative body and appointing authority and shall consist of three arbitrators.
           The Service Provider and Bidder shall have the right to jointly nominate one arbitrator
           and the Company and Ro S shall have the right to nominate by joint signature, one
           arbitrator and the two party-nominated arbitrators shall jointly nominate the third
           arbitrator who shall act as a chairman. The place of arbitration shall be London,
           England. The language to be used in the arbitral proceedings shall be English. All
           disputes shall be resolved in accordance with the effective substantive laws of
           Republic of Serbia being the Governing Law.

           17.4 Any award shall be binding, final and enforceable before a tribunal possessing
           jurisdiction.

           17.5 Each Party agrees to be bound by all and any awards or decisions of the
           arbitration tribunal appointed pursuant to this clause whether or not it took part in the
           arbitral proceedings provided that it was given notice of such proceedings in
           accordance with the provisions of this clause. This shall also apply to any decisions
           relating to procedural matters.

           17.6 The Parties waive any rights of application of appeal to any comi or tribunal of
           competent jurisdiction to the fullest extent permitted by law in connection with any
           question of law arising in the course of an arbitration or with respect to any award
           rendered in accordance with this clause.

           17. 7 The Parties agree that the arbitral award may be enforced against the Parties to
           the arbitration proceedings or their assets wherever they are located or may be found
           and that a judgment upon the arbitral award may be entered in any court having
           jurisdiction thereof." 43

159.       As noted above, none of the Parties has raised any objections regarding the
constitution or jurisdiction of the Tribunal. 44

160.       The Tribunal decides that the dispute falls within the arbitration agreement in Clauses
16 and 17 of the MSA. For the avoidance of doubt, and to the extent necessary, the Tribunal
decides that the Respondents have waived any pre-requisite to arbitration such as negotiation
under Clauses 16 and 17.2 of the MSA.




43
     MSA, Exhibit CF-3.
44
     See above at para. 7. See also Request, at paras 7-9, 42-43; Response, at paras 6, 11-13.


                                                        - 33 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 38 of 116




161.     In light of the above, the Tribunal decides that it has jurisdiction to hear the present
dispute.

         B.      TERMINATION OF MSA AND TERMINATION FEE

162.     Initially, the Claimants sought declaratory relief that "the purported termination of the
MSA by the [Second Respondent] was invalid."45 The Claimants further argued that they
were entitled to terminate the MSA and that, as a consequence, the Second Respondent had
an obligation to pay a termination fee to the Claimants under Clause 8.3.2 of the MSA. 46

163.     Subsequently, the Claimants withdrew those arguments and relief:

        "The Claimants, on reflection, accept that [the] 1 April 2016 [termination] notice was
        valid when given, as the privatization was under way, which is sufficient for the
        purposes of clause 8.4. It makes sense that it is possible to give notice in advance to
        take effect at the time the privatization is scheduled to complete."47

        "Since it is accepted that the MSA was terminated on 30 June 2016, by virtue of the
        notice of 1 April 2016, the Claimants no longer claim the termination fee of €2.04
        million."48

164.     The Respondents, at the Hearing, suggested that the Claimants' could not withdraw
these claims, unless all Parties agreed. 49 The Respondents further requested that the Tribunal
decide these points with prejudice. 50

165.     While the Tribunal is unconvinced about the Respondents' argument that a change in
the Claimants' arguments and relief requires a formal agreement by all Parties, the Tribunal
decides these points, for the avoidance of doubt, on the basis of the Parties' common ground
in their submissions.

166.     As stated above, on 1 April 2016, the Respondents sent the First Termination Notice
to the First Claimant. 51 The First Termination Notice reads as follows:

         "Having in mind that the procedure of privatization over the Privredno drustvo za
         proizvodnju i preradu celika Zelezara Smederevo <loo Smederevo, statistic number:



45
   Request, at para. 37; SoC, at paras 67-68, 72.1.
46
   SoC, at paras 67-68, 72.1; Claimants' termination notice, dated 14 February 2017, Exhibit CF-25.
47
   CSub 1, at para. 20.
48
   CSubl, at para. 171.
49
   Transcript Day 1, 90;19-91:20.
50
   Transcript Day 1, 92:2-3.
51
   See above at para. 149.


                                                    - 34 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 39 of 116




         07342691, has begun on 4 March 2016, under the number JP 1/16 (hereinafter:
         Procedure of Privatization) hereby inform you of the following:

         According to Article 8.4. of the Management and Consultancy Services Agreement,
         concluded on 21 March 2015, (hereinafter: the Agreement), in the event of
         successfully conducted the Procedure of Privatization the Agreement has to be
         considered as terminated upon the expiration of a period of 90 (ninety) days of receipt
         of this Notice or the successful completion of the Procedure of Privatization,
         whichever comes later." 52

167.     It is uncontested that the First Termination Notice was validly made and took effect
on 30 June 2016. 53 On this basis, the Tribunal therefore decides that (i) the Respondents
validly terminated the MSA; and (ii) no termination fee is due by the Respondents to the
Claimants under Clause 8.3 .2 of the MSA. The question as to when the termination of the
MSA took effect (either based on the First or Second Termination Notice) will be addressed
below. 54

         C.      PRIVATISATION BONUS

168.     The Claimants' claim that the Respondents must pay the privatisation bonus pursuant
to Clause 3.2.9 of the MSA, 55 which provides that "the Service Provider shall be entitled to a
bonus fee in case any privatization of the Company that occurs within 5 (five) years[ ... ] in
the amount equal to 30% of the acquisition price of the Company's stake achieved through
such privatization procedure but in no event lower than USA 10,000,000.00 (ten million
dollar)." 56

169.     The Respondents contest that the privatisation bonus is due under Clause 3.2.9, on the
basis that the MSA was terminated by the Second Termination Notice on 25 June 2016, i.e.
before the privatisation closed and thus before the privatisation bonus became due. 57

170.     As noted above, it is common ground between the Parties that, absent the Second
Termination Notice, the MSA would be terminated on 30 June 2016 based on the First
Termination Notice. 58 It is also undisputed that, absent the Second Termination Notice, the




52
   First Te1mination Notice, Exhibit C-9, at p. 1.
53
   CSubl, at paras 20,171; RSub2, at paras 7-11.
54
   See below at paras 172 et seq.
55
   SoR, at paras 76-83; CSubl, at paras 152-153; CSub2, at paras 113-121.
56
   MSA, Exhibit CF-3.
57
   SoR, at paras 84-112; RSubl at paras 114-124; RSub2, at paras 68-72, 103-107.
58
   See above at para. 167.


                                                   - 35 -
        Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 40 of 116




privatisation bonus would be due pursuant to Clause 3.2.9 of the MSA. The Respondents
confirmed this at the Hearing:

           "THE CHAIRMAN: Okay. Let me, then, maybe ask my subsequent question; absent
           any later termination with the second Termination Notice, is it also your case that the
           privatisation bonus would be due on the basis of the first termination.

           MR PAVIC: If -- well, if first termination is the one, and the second termination
           doesn't produce immediate effect, then, of course, absent second termination then
           the bonus is due. That was our case from the very beginning, that we were on the
           course for termination and the bonus there. " 59

           "MR JACOBS: So if we were to say that the second Notices were invalid, for
           whatever reason, whether they didn't go through the proper procedures or because
           they were in breach of good faith, or whatever the reason may be, then you accept the
           first Notice is a valid notice and the privatisation bonus would be due from the
           company?

           MR PAVIC: That is exactly what we have been submitting from the very beginning.
           That is our secondary argument. The first line of argumentation is that we have
           privatisation bonus which is not due to the second Termination Notice." 60

171.       The Parties' dispute thus turns around the question whether the MSA was validly
terminated earlier than 30 June 2016 based on the Second Termination Notice, and whether
therefore the Privatisation Bonus was not due.

                    1.       Validity and Effect of the Second Termination Notice

172.       According to the Respondents, the Second Respondent validly terminated the MSA
by the Second Termination notice on 25 June 2016, by which the termination took effect
immediately. 61 The Second Termination Notice reads as follows:

           "Having in mind that [the First Claimant] (hereinafter: HPK) did not fulfill certain
           provisions of the Management and Consultancy Services Agreement dated on 21
           March 2015 (hereinafter: the Agreement), we hereby inform you that, pursuant to
           Article 8.1. of the Agreement, the [Second Respondent] (hereinafter: the Company)
           has unilaterally terminated the Agreement by the decision of the Assembly of the
           Company dated 25 June 2016 which we hereby enclose to this Notice.

           The reasons for the termination, among others, are:




59
     Transcript, Day 1, 108:3-13.
60
     Transcript, Day 1, 112:25-113:10.
61
     SoD, at paras 84-100; RSubl, at paras 15 et seq.; RSub2, at paras 68 et seq.


                                                        - 36 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 41 of 116




         • [B]reach of the Article 3.1.5.1 due to the fact that the Net Working Capital, starting
         from 30 November 2015, until the date of sending of this Notice, constantly amounted
         less than USD 80,000,000 (eighty million dollars);

         • Breach of the Frame Contract of Sale No. 151 by the company Pikaro s.r.o, Bellova
         3, 040 0 I Kosice, Slovak Republic, statistic number: 36674079, as a supplier, due to
         which the subject agreement has been canceled as well, what represents the additional
         reason for termination of the Agreement;

         • Entering into the agreement with a related parties [sic] without prior approval and
         notification of the Supervisory Board of the Company;

         • Breaches of the non-compete obligations defined by the Agreement by HPK;

         • Expiration of the Insurance Policy issued in accordance with Article 2.3. 7 of the
         Agreement;

         • Breaches of clauses defined in chapter 3 and chapter 4 of the Agreement by HPK;

         • Breaches of the provisions of the Serbian Companies Law ("Official Gazette RS",
         No. 36/2011, 99/2011, 83/2014 - another law and 5/2015) as well as other applicable
         laws and regulations;

         • Breaches of other obligations stipulated in the Agreement." 62

173.     In this arbitration, the Respondents have relied on two series of alleged breaches of
the MSA to justify the validity and immediate effect of the Second Te1mination Notice: first,
a breach of Clause 8.1.2 MSA; 63 and second, various breaches of the MSA which according
to Article 127 of the Serbian Law of Obligations would have immediate effect. 64

174.     The Claimants argue that neither of these alleged breaches occurred or justified the
Second Termination Notice with immediate effect; 65 and that in any event the Second
Termination Notice was invalid as a matter of corporate law. 66

175.     The Tribunal will first look at the alleged breach of Clause 8.1.2 of the MSA, before
turning to the other alleged breaches.

                 2.       Breach of Clause 8.1.2 MSA

176.     Clause 8.1 of the MSA provides that:



62
   Second Termination Notice, dated 25 June 2016, Exhibit CF-14.
63
   SoD, at paras 86-88; RSub2, at paras 36-67; RPHB, at paras 105-144.
64
   SoD, at paras 89-99; RSub2, at paras 68-102; RPHB, at paras 84-104.
65
   CSubl, at para. 13, 65 et seq.; CSub2, at paras 23 et seq.
66
   CSubl, at paras 57-64; CPHB, at paras 11-16.


                                                   - 37 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 42 of 116




         "8.1 The RoS and/or the Company may (but shall not be obligated to) terminate this
              Agreement by a notice to the Service Provider and the Bidder upon the
              occurrence and during the continuance of any of the following events:

         8.1.1 the Service Provider or Consultants or members of the Supervisory Board
               nominated by the Service Provider as applicable, fail to comply with any of
               their material obligations in this Agreement (including fulfilment of the KPis as
               set out by the Business Plan or other obligations set out by the Business Plan
               and/or any other strategic documentation) and do not correct such failure within
               120 (one hundred twenty) days of the date of a notice requiring correction from
               the non-defaulting Party;

         8.1.2 if the Raw Materials Agreements cease to be valid and legally binding before
               the expiration of third anniversary of the Closing or the Raw Materials
               Agreements are terminated or breached in any material manner by a respective
               supplier;
               in which cases the Company shall not be obliged to pay neither the Termination
               Fee nor the Privatization Bonus to the Service Provider and will retain the right
               on indemnification from the Service Provider and/or the Bidder for of all
               damages suffered. " 67

177.     Clause 1.1 of the MSA defines 'Raw Material Agreements' as:

         "agreement/son supply of raw materials to the Company to be concluded between the
         Company, as the purchaser, and the Service Provider or the Bidder and one of their
         Affiliates, as the supplier of such raw materials, that will, inter alia, include provisions
         securing the right of the Company to (i) at least 60 (sixty) calendar days of delayed
         payment of such raw materials (ii) have in any moment of the validity of the Raw
         Material Agreements on a Company premises a stock of delivered raw materials and /
         or raw materials ordered and in transit to the Company of a minimum USD
         20,000,000 (twenty million dollars) value. For avoidance of doubt, such Raw
         Material Agreements shall be valid and legally binding during the entire Te1m of this
         Agreement. " 68

178.     As mentioned above:

         a.      on 22 April 2015, the Company entered into the RMA, a "Frame Contract of
         Sale" concerning the purchase of raw materials from Pikaro, an affiliate of the
         Claimants; 69 and

         b.      on 25 June 2016, the Second Respondent sent a termination notice to Pikaro,
         purp01iing to terminate the RMA. 70



67
   MSA, Exhibit CF-3.
68
   MSA, Exhibit CF-3.
69
   RMA, Exhibit, CF-6. See above at para. 146.
70
   Termination notice, dated 25 June 2016, Exhibit CF-15. See above at para. 152.


                                                    - 38 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 43 of 116




179.        According to the Respondents, (i) Pikaro breached the RMA in various ways; (ii) the
Second Respondent therefore validly terminated the RMA; and (iii) as a consequence of the
termination of the RMA, the Respondents validly terminated the MSA pursuant to its Clause
8.1.2.71

180.        According to the Claimants, (i) Pikaro did not breach the RMA, and in any event not
in a material manner; (ii) the termination of the RMA was invalid; and (iii) only a material
breach of the RMA could be a valid cause for terminating the MSA pursuant to its Clause
8.1.2. 72

181.        The Tribunal will first address the question of interpretation of Clause 8.1.2 of the
MSA, before turning to the alleged breaches and termination of the RMA.

                           a)      Interpretation of Clause 8.1.2 MSA

182.        It is common ground between the Parties that Clause 8.1.2 of the MSA allows the
Respondents to terminate the MSA in certain cases of breach or termination of the RMA. In
particular, it is undisputed that Clause 8.1.2 comes into play if the RMA was "breached in
any material manner by a respective supplier", i.e. here: Pikaro. 73 However, the Parties
disagree as to whether a termination of the RMA by the Respondents can trigger Clause 8 .1.2,
or whether only a termination by the supplier, i.e. Pikaro, can do so.

183.        According to the Claimants, Clause 8.1.2 MSA applies only if the RMA is terminated
by the supplier, i.e. Pikaro. 74 Among other things, the Claimants argue that "[o]therwise, the
Company could manipulate Article 8.1.2 by terminating the [RMA] in order to give an unreal
basis to trigger 8.1.2. " 75

184.        According to the Respondents, Clause 8.1.2 MSA applies if the RMA is terminated,
irrespective of which party sought to terminate the RMA. 76 Among other things, the
Respondents argue that this follows from the literal interpretation of Clause 8.1.2. According
to the Respondents: "[t]he qualification 'by the respective supplier' only applies to the [last]
scenario [i.e.] breach of the [RMA] in a material manner[ ... ] The text of the Article 8.1.2 of


71 SoD, at paras 64-71; RSubl, at paras 71-87; RSub2, at paras 42-67; RPHB, at paras 105-114.
72
   CSubl, at paras 65-83; CSub2, at paras 49-61; CPHB, at paras 55-92.
73
   CSubl, at para. 65; RSub2, at para. 39.
74 SoC, at para. 56.1; SoR, at paras 47-49; CSubl, at para. 65; Transcript Day 1, 18:22-25.
75 CSubl, at para. 65.
76
   RSub2, at paras 37-41.


                                                     - 39 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 44 of 116




the MSA cannot be interpreted in any other manner." 77 In this context, the Respondents
further argue that, in any event, the Tribunal does not have jurisdiction to determine the
validity of the termination of the RMA since the RMA contains a separate and different
arbitration agreement. 78

185.     The Tribunal finds with the Claimants on this point. In interpreting Clause 8.1.2, the
Tribunal took into account several factors.

186.     First, the Tribunal is of the opinion that the mere wording of Clause 8.1.2 does not
resolve the issue. Looking at the text of Clause 8.1.2, it is impossible to determine whether
"by a respective supplier" relates merely to a possible breach of the RMA, or also to its
termination.

187.     Second, and accordingly, the Tribunal takes into account the aim and context of
Clause 8.1.2 MSA. The evidence suggests that the RMA was an important precondition for
the Respondents when entering into the MSA. 79 The Respondents wanted to ensure that the
Company had sufficient raw materials, since supply problems had created issues in the past,
i.e. before the MSA took effect. As explained by Mr Kamaras, the Company has experienced
recurrent issues with the procurement of raw materials prior to the MSA. 80 It was therefore
essential for the Respondents that the supplier of the raw materials could not terminate the
RMA during the MSA's contractual term. 81 Accordingly, it was the termination of the RMA
by the supplier that was essential when looking at the effects on the MSA. Had the Parties
wanted a termination of the RMA by either party to result automatically in a termination of
the MSA, they could have included a clear provision to this effect. The Tribunal notes that
the RMA indeed contains such a provision for the reverse situation. According to Clause
10.1 of the RMA, the RMA "shall automatically cease to exist with expiry or termination of
[the] MSA. " 82

188.     In light of this, the Tribunal finds that Clause 8.1.2 of the MSA supposes a
termination of the RMA by the supplier, i.e. Pikaro, for such RMA termination to be able to



77
   RSub2, at para. 3 9.
78
   SoD, at para. 71.
79
   See e.g. MSA, Exhibit CF-3, Article 2.3.3 (RMA was a pre-condition for closing the MSA).
80
   PKl, at para. 9.
81
   See e.g. MSA, Exhibit CF-3, Clause 1.1 (RMA "shall be valid and legally binding during the entire Term of
this Agreement").
82
   RMA, Exhibit CF-6.


                                                    - 40 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 45 of 116




trigger the termination of the MSA. Accordingly, the mere fact that the Second Respondent
allegedly terminated the RMA is not, in and of itself, sufficient ground under Clause 8.1.2 of
the MSA to justify the termination of the MSA. The Tribunal therefore does not need to
decide whether the RMA termination was valid or not (and incidentally, does not need to
decide whether it has jurisdiction to decide this point). Instead, the Tribunal must determine
whether Pikaro "breached in any material manner" the RMA for such breach to trigger
Clause 8.1.2 of the MSA.

                          b)       Alleged Breaches of the RMA

189.     The Respondents allege that Pikaro breached the RMA by not providing the level of
financing required thereunder. 83 In particular, the Respondents argue that Pikaro did not
provide the Company, i.e. the Second Respondent, with the agreed 60 days deferred payment
conditions (the "Deferred Payment" issue), as well as with the overall credit of 20 million
(the "Credit" issue) pursuant to Clauses 2.4 and 2.6 of the RMA. 84 The Claimants contest
these breaches. 85

190.     The relevant provisions of the RMA are as follows. Clause 2.4 RMA stipulates that:

         "In accordance with the [MSA] [ ... ] the Seller [i.e. Pikaro] shall guarantee to the
         Buyer [i.e. the Company] a credit amounting to USD 20,000,000.- (in words: twenty
         million US dollars) upon delivery of Goods in form of 60 days deferred payment
         conditions[ ... ]."86

191.     Moreover, Clause 2.6 RMA provides that:

         "The payment shall be effected as follows: 100% of the value of the Goods shall be
         paid by the Buyer [i.e. the Company] 60 days after the date of loading the Goods by
         the Producer, advised by the Seller [i.e. Pikaro ], based on invoice issued by the Seller
         [sic]."87

192.     'Goods' are defined as "raw materials defined in single Contract(s) produced by the
Producer and delivered by the Seller [i.e. Pikaro] on the basis of the single Contract. " 88




83
   SoD, at paras 64-72; RSubl, at paras 71-87; RSub2, at paras 42-67.
84
   SoD, at paras 64-72; RSubl, at paras 71-87; RSub2, at paras 42-67. See also BMl, at para. 19; BM2, at paras
21-26.
85
   SoC, at paras 56.2-56.7; SoR, at paras 50-54; CSubl, at paras 70-80. See also PVl, at paras 37-47; PV2, at
paras 17-38.
86
   RMA, Exhibit CF-6.
87
   RMA, Exhibit CF-6.
88
   RMA, Exhibit CF-6, p. 2.


                                                    - 41 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 46 of 116




                          c)       Deferred Payment Issue

193.     The aim of the Deferred Payment was to provide the Company with a better cash-
flow. Prior to the RMA (and MSA), the Company had to pre-pay its goods in many instances
which detrimentally affected its cash-flow. 89 During the negotiation of the MSA, the
provision of Deferred Payment terms was discussed as a vital issue for the Company. 90 The
Claimants agreed that it would be able to provide the Company with the Deferred Payment
terms. 91 The idea was to provide "breathing space" for the Company. 92

194.     In a simplified manner, the chronology of the supply chain of raw materials from their
producer to the Company typically looks as follows: 93

         a.      Producer loads and sends the goods to Pikaro;

         b.      Goods are on their way from the producer to Pikaro (the "In-Transit Time");

         c.      Pikaro receives and reviews the goods;

         d.      Pikaro sends the goods to the Company and invoices the Company;

         e.      Company receives the goods;

         f.      Payment of goods is due according to invoice; and

         g.      Company pays Pikaro for the goods.

195.     While the Parties are essentially in agreement regarding the above, they disagree
about (i) when the Deferred Payment period starts to run; (ii) when the Deferred Payment
period ends; (iii) how long the Deferred Payment period is; and (iv) whether Pikaro breached
the Deferred Payment period. The Tribunal will look at these points in turn.

                                    ( 1)     Start Date of Deferred Payment

196.     According to the Claimants, the Deferred Payment starts before the goods are loaded
by the producer. Indeed, the Claimants argue that the relevant starting date is when the
Company would have "otherwise" had to pay for the raw materials, i.e. in absence of the




89
   PVl, at paras 43 et seq.; BM2, at para. 23; Transcript Day 2, 75:3-11.
90
   RSub 1, at para. 72.
91
   Transcript Day 3, 10: 17-18.
92
   RPHB, at para. 6.
93
   Claimants' Expert presentation at the Hearing, slide 8; Respondents' Expert presentation at the Hearing,
slide 8.


                                                     - 42 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 47 of 116




RMA with Pikaro. 94 The Claimants explain that "[p]rior to the [RMA], the Company was
required to pre-pay for raw materials before loading."95 The Deferred Payment granted by
Pikaro should therefore, according to the Claimants, be calculated from the time when the
Company would previously have had to pay for the goods. 96 The Claimants' expert, referring
to Mr Pavol Vrchovinsky's testimony, assumed that this should be 5 days prior to the date of
the loading of the goods. 97

197.     The Respondents argue that the pre-payment date prior to the RMA is irrelevant:
according to the Respondents the calculation of the pre-payment date remains unclear and
unspecified and, in any event, was not agreed upon by the Parties either in the RMA or
otherwise. 98 Instead, the Respondents' expert calculated the starting date of the Deferred
Payment period as from the date of the shipment of the goods from Pikaro to the Company. 99

198.     The Tribunal finds with neither Party on this point. Rather, it is clear from Clause 2.6
of the RMA that the relevant moment in time for the Deferred Payment period to start is
when the goods are loaded by the producer. Clause 2.6 RMA clearly states that "the Goods
shall be paid by the Buyer [i.e. the Company] 60 days after the date of loading the Goods by
the Producer, advised by the Seller [i.e. Pikaro ], based on invoice issued by the Seller
[sic]." 100 Accordingly, the Tribunal finds that the Deferred Payment period starts to run when
the goods are loaded and sent by the producer to Pikaro.

                                    (2)      End Date of Deferred Payment

199.     According to the Claimants, the Deferred Payment's end date is the actual payment
date of the invoice, 101 whereas the Respondents argue that the relevant end date is the
payment due date on the invoice. 102 The Respondents argue that the invoice due date is the
only relevant date since "[o]nee an invoice falls due, the debtor is in default [and thus] [i]t is




94
   SoC, at paras 56.4-56.5; SoR, at paras 50-51; CSubl, at para. 73.c; CSub2, at par. 57.e. Compare CPHB, at
paras 59, 64. See also PKl, at para. 37; PVl, at paras 43-47.
95
   SoC, at para. 56.4.
96
    SoC, at paras 56.4-56.5; SoR, at paras 50-51; CSubl, at para. 73.c; CSub2, at para. 57.e. See also PKl, at
para. 37; PVl, at paras 43-47.
97
   FI Report, at paras 3.17, 3.32, tables 3.1 and 3.2, referring to VM, at paras 44, 45 and Exhibit CF-234.
98
    SoD, at para. 68; RSubl, at para. 83; RSub2, at para. 47; RPHB, at para.I 1. See also BMl, at para. 22.
99
   AQl Report, at para. 46; AQ2 Report, at para. 31; Respondents' Expert presentation at the Hearing, slides
6, 9.
100
     RMA, Exhibit CF-6 (emphasis added).
101
     SoR, at para. 50; CSubl, at para. 73; CSub2, at para. 57.d; CPHB at paras 55-65. See also PVl, at para 46.
102
     RSub2, at paras 43-46; RPHB, at para. 12. See also BM2, at para. 23.


                                                     - 43 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 48 of 116




no longer financed and its payment is no longer deferred - the debtor is now late with
payment and may be charged default interest." 103

200.     The Tribunal finds with the Claimants on this point for a number of reasons. First,
Clause 2.6 of the RMA refers to the "payment" of the goods by the Company after 60 days,
and not to any invoicing period or due date. 104 Second, this is also in line with the ultimate
aim of the RMA which was to provide a credit or "breathing space" to the Company in order
to ease its cash-flow. 105 What matters in this context is the actual payment and not the formal
due date. Third, it is important to keep in mind the economic reality that Pikaro was
controlled by the Service Provider. 106 Accordingly, the Service Provider was the one who
issued the invoice (though Pikaro) and was also responsible for its payment by the Company
(as its manager), subject to obtaining the co-signature of the OFGR. Therefore, the
Respondents' argument that a debtor faces adverse consequences, including late payment
interest, in case an invoice is not settled in time, is umealistic and thus unconvincing in this
context.

201.     In light of the above, the Tribunal decides that the relevant end date for the Deferred
Payment period is the actual payment date of the goods by the Company.

                                    (3)      Length of Deferred Payment

202.     According to the Claimants, the 60 days Deferred Payment period provided for in
Clauses 2.4 and 2.6 of the RMA has been altered in subsequent contracts between Pikaro and
the Company. 107 More specifically, the Claimants argue that:

         a.      the RMA, as a framework agreement, foresaw and allowed the parties (i.e.
         Pikaro and the Company) to enter into subsequent implementation agreements in form
         of single contracts regarding the sale of raw materials; 108

         b.       Pikaro and the Company entered into several of those single contracts which
         (i) provided for shorter invoicing periods (e.g. 5 days, 30 days); 109 (ii) were each time



103
    RPHB, at para. 12; Transcript Day 1, 87:1-88:10.
104
    RMA, Exhibit CF-6.
105
    See above at para. 193.
106
    RSub2, at para. 44; PIG, at paras. 1-2.
107
    SoR, at paras 51.1-51.4; CSubl, at para. 73; CSub2, at para. 57. See also PIG, at paras 36-42.
108
    SoR, at paras 51.1 -51.4. See also PKl, at paras 36-42.
109
    Single contracts, Exhibits CF-51, CF-52, and CF-246.


                                                     - 44 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 49 of 116




         approved by the Company's supervisory board and by the Respondents' OFGR; 110 and
         (iii) superseded the Parties' previous agreement in the RMA; 111 and

         c.       the RMA did not prohibit shorter invoicing periods since (i) Clause 1.1
         allowed for the parties to "otherwise agree[] in writing"; 112 and (ii) Clause 1.3
         provided that the single contracts were an "integral part" of the RMA. 113

203.     According to the Respondents, the single contracts' invoicing periods could not
change the requirement of a Deferred Payment period of 60 days as per Clauses 2.4 and 2.6
of the RMA. 114

204.     The Tribunal finds with the Respondents on this point for two independent reasons.

205.     First, the single contracts deal with the invoicing period, i.e. the date when the
payment of the goods is due. 115 As determined above (and according to the Respondents'
own argument), however, the relevant moment for the Deferred Payment period is not the
invoice due date, but the date of the actual payment. 116 As such, the provisions in the single
contracts dealing with the invoicing period and payment due dates are irrelevant in the
Tribunal's view for its analysis of the Deferred Payment.

206.     Second, and in any event, the Parties could not deviate in the single contracts from the
Deferred Payment provisions contained in Clauses 2.4 and 2.6 of the RMA. Clause 1.1 of the
RMA clearly provides that "[t]he terms of the Frame Contract shall also apply to all single
Contracts [ ... ]" and goes on that "[u ]nless agreed otherwise by the Parties in writing, any
terms and circumstances related to the purchasing or buying of documents used in
connection with the Contract(s) that are not in compliance with the Frame Contract will
become null and void, and only the terms of the Frame Contract shall be valid." 117 While
the Tribunal finds the reference to "purchasing or buying of documents" somewhat unclear,
Clause 1.1 establishes a clear hierarchy between the RMA framework contract and the single
contracts, in the sense that the former's terms prevail over the latter's. The addition "[u]nless


110
    SoR, at paras 51.1-51.4; CSub2, at para. 57.b. See also PKl, at para. 52; PVl, at para. 47.
111
    SoR, at para. 51.3.
112
    CPHB, at para. 56; Transcript, Day 1, 55 :5-60: 12; Day 5 23-28.
113
    CPHB, at para. 56; Transcript, Day 5 23-28.
114
    RSubl, at paras 84-87; RSub2, at paras 44-45.
115
    See e.g. Exhibit C-51, Clause 2.3; Exhibit C-52, Clause 2.3. See also Transcript Day 5, 23:24; 24:3.
116
    See above at para. 201.
117
    RMA, Exhibit CF-6 (emphases added).


                                                     - 45 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 50 of 116




agreed otherwise by the Parties in writing" logically therefore does not refer to any
amendments via the single contracts, but only to an amendment of the framework agreement,
i.e. the RMA itself. Furthermore, the Claimants cannot rely on Clause 1.3 of the RMA. 118
Clause 1.3 provides that "[q]uantities and prices shall be determined under the single
Contract(s), mutually signed by both parties" and "[t]he same present integral part of this
Frame Contract." 119 Therefore, when looked at fully, it becomes clear that Clause 1.3 applies
to quantities and prices and not to invoicing or payment terms which are dealt with in
Clause 2 of the RMA.

207.     In light of the above, the Tribunal finds that the Deferred Payment period, which runs
from the date of the loading of the goods by the producer to their actual payment by the
Company, must be 60 days as per Clauses 2.4 and 2.6 of the RMA.

                                 (4)      Breach of Deferred Payment

208.     Having thus established the Deferred Payment period, the subsequent question is
whether Pikaro breached the Deferred Payment period in the case at hand.

209.     It is common ground between the Parties (and the Tribunal agrees) that for the
purposes of Clauses 2.4 and 2.6 of the RMA not every single payment need to comply with
the 60 days requirement, but rather that Pikaro provides the 60 days Deferred Payment
conditions to the Company as an average. This was confirmed by Mr Milosevic at the
Hearing:

         "Q Second. Yes. You first said that Mr Kamaras is
         claiming that -- sorry, just a second -- yes -- that the
         credit period is to be calculated as an average of sixty
         days from the date of company would otherwise have to
         pay raw materials, and that -- is it -- first of all,
         comment this formula, average sixty days, et cetera, as
         the method of calculating this sixty days deferred
         payments, and whether Mr Kamaras correctly interpreting
         your agreement in regard the method, so whether you
         agreed to that or not.
         A Well, it is the average that we were looking at, average
         credit period of sixty days." 120




118
    CPHB, at para. 56.
119
    RMA, Exhibit CF-6 (emphasis added).
120
    Transcript Day 3, 14:22-23.


                                                - 46 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 51 of 116




210.     The Parties, however, disagree on how to calculate such average and have submitted
significant expert evidence on this point. 121

211.     The Respondents argue, based on their expert's reports, that the 60 days period on
average was not met. 122 However, the Tribunal notes that the Respondents' expert did not
calculate the average Deferred Payment taking into account the relevant start and end date.
The Respondents' expert calculated the average days between the "shipment date" 123 (which
he explained was the date when Pikaro shipped the goods to the Company 124) and the invoice
due date.

212.     The Claimants' expert has provided calculations on the average days between the
loading of the goods by the producer and the actual payment by the Company. 125 However,
the Tribunal has hesitations as to the accuracy of the figures provided by the Claimants'
expert, in particular concerning the In-Transit Time (i.e. the time between the moment when
the producer sends the goods to Pikaro and the moment when the goods are received by
Pikaro). 126 The Tribunal is of the opinion that the Claimants' assumed length of the In-
Transit Time (21 days) is not supported by evidence. This figure has not been independently
verified by the Claimants' expert, as Mr Illet stated in his report:

         "I am therefore unable to validate the 21 day figure and am instructed that it is
         accurate." 127

213.     Rather, the 21 days figure has been put together by the First Claimant's employee
Mr Pavol Vrchovinsky, 128 partially relying on estimates from his colleagues. 129 Indeed, the
Claimants' expert admitted during the Hearing that the 21 days In-Transit Time were
incorrect and based his updated calculations on a different figure. 130

214.     Nevertheless, even leaving aside these hesitations, the calculations by the Claimants'
expert show that the Deferred Payment period was not 60 days on average. In his expe1i


121
    AQl Report, at paras 42-57; FI Report, at paras 3.1-3.33; AQ2 Report, at paras 24-34.
122
    AQl Report, at paras 42-57; AQ2 Report, at paras 24-34; Respondents' expert presentation at the Hearing,
slides 6-9.
123
    AQ 1 Report, at para. 46; AQ2 Report, at para. 31.
124
    Respondents' expert presentation at the Hearing, slide 8; Transcript Day 4, 166:4-8.
125
    FI Report, at paras 3.15-3.33.
126
    See above at para. 194.
127
    FI Report, at para. 3 .16.
128
    VM, at para. 19, referring to Exhibit CF-234.
129
    Transcript Day 2, 123:1-5.
130
    Transcript Day 4, 82:5-7; 89:14-21.


                                                    - 47 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 52 of 116




report, Mr Illet calculated that the average time from the loading of the goods to the payment
date was 59 days (taking into account invoices issued during the entire timeframe of the
RMA) 131 or 63 days (taking into account only invoices issued after September 2015). 132 He
then updated these figures at the Hearing to 54 days in the first scenario, and 58 days in the
second scenario. 133 Accordingly, in both scenarios, on the Claimants' own figures, the
average number of days is below 60.

215.     For the avoidance of doubt, the Tribunal notes that the only scenario under which the
Claimants' expert calculated an average that is higher than 60 days was one that took into
account unpaid invoices. 134 These unpaid invoices constitute only a fraction of the total
number of relevant invoices, and the number of unpaid days was on average 4 72 days
according to Mr Illet's assumptions. 135 Accordingly, the Tribunal finds that adding these
unpaid invoices would unduly affect the weighted average and should therefore remain
excluded.

216.     In light of the above, the Tribunal is satisfied that Pikaro did not provide the 60 days
Deferred Payment required under Clauses 2.4 and 2.6 of the RMA. While this constitutes a
breach of the RMA, the Tribunal now needs to determine whether the RMA was breached "in
a material manner" so as to trigger Clause 8.1.2 of the MSA.

                                    (5)      Material Breach

217.     According to Clause 8.1.2 of the MSA, it applies if the RMA is "breached in any
material manner by a respective supplier. " 136

218.     'Material' is defined in Clause 1.1. of the MSA as follows:

         "'Material' means in respect of any fact, object, claim, liability or event which could
         cause, would result or lead directly or indirectly to a significant impact on, inter alia,
         the business, assets or operations of the Company exceeding EUR 500,000 (five
         hundred thousand euros) or equivalent in other currency, except those disclosed
         within this Agreement." 137



131
    FI Report, at Table 3 .1.
132
    FI Report, at Table 3.2.
133
    Claimants' expert presentation at the Hearing, slide 9. This update was due to the fact that the In-Transit
Time days had to be reduced, according to Mr Illet, from 20.9 to 15.6. Transcript Day 4 82:5-7; 89:14-21.
134
    FI Report, at Tables 3.1 and 3.2; Claimants' expert presentation at the Hearing, slide 9.
135
    FI Report, at Tables 3.1 and 3.2.
136
    MSA, Exhibit CF-3.
137 MSA, Exhibit CF-3.




                                                      - 48 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 53 of 116




219.     The Parties have made no submissions on the meaning of the word 'material' in
Clause 8.1.2 MSA. The Tribunal notes, however, that the Parties have commented on the
meaning of the word 'material' in Clause 8.1.1 MSA:

         a.       according to the Respondents, the definition in Clause 1.1 does not apply to
         Clause 8.1.1 since the term 'material' is not capitalized, 138 noting furthermore that the
         Serbian version of Clause 8.1.1 uses a different word for 'material' than in Clause 1.1,
         and that this word means 'substantive' (as opposed to procedural); 139 and

         b.       the Claimants contest the Respondents' interpretation and state that Clause
         8.1.1 MSA requires a material breach (rather than a breach of a material obligation),
         while at the same time accepting that the definition in Clause 1.1. does not apply to
         the non-capitalized term 'material' in Clause 8.1.1 MSA. 140

220.     Similarly, Clause 8.1.2 uses the word 'material' without it being capitalized. The
Tribunal thus finds that the non-capitalized word 'material' in Clause 8.1.2 MSA does not
refer to the definition in Clause 1.1. MSA, which requires a specific threshold. In the
Tribunal's view, the obvious and literal meaning of "in a material manner" thus applies: i.e.
in a manner that matters or is significant. Mere formal breaches or breaches that are
insignificant should therefore be excluded from the application of Clause 8.1.2 MSA.

221.     In this context, it is important to note that the Deferred Payment condition was not an
end in-and-of itself. Rather, as detailed above, it was a means to provide the Company with a
financial 'breathing space.' 141 The provisions of the RMA make clear that the ultimate goal
was to provide the Company with a credit line through the use of the Deferred Payment
conditions. Indeed, Clause 2.4 RMA refers to a "credit amounting to USD 20,000,000.- [ ... ]
inform of 60 days deferred payment conditions." 142 The Deferred Payment issue is therefore
linked to the Credit issue, in the sense that the former is meant to provide the latter.

222.     Accordingly, the Tribunal finds that the breach of the 60 days Deferred Payment is
material only if, as a result thereof, the 20 million credit target is not met. In other words, in
order to decide whether the 60 days Deferred Payment conditions qualifies as a breach in a


138
    RSub 1, at para. 92.
139
    RSubl, at paras 93-94.
 °
14
141
    CSub2, at para. 92.
    See above at para. 193.
142
    RMA, Exhibit CF-6.


                                                - 49 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 54 of 116




"material manner" for the purposes of Article 8.1.2 MSA, the Tribunal needs to look at the 20
million Credit issue.

                          d)       Credit Issue

223.     The relevant provision concerning the Credit issue is Clause 2.4 of the RMA which
provides as follows:

        "In accordance with the [MSA] [ ... ] the Seller [i.e. Pikaro] shall guarantee to the
        Buyer [i.e. the Company] a credit amounting to USD 20,000,000.- (in words: twenty
        million US dollars) upon delivery of Goods in form of 60 days deferred payment
        conditions [ ... ] ." 143

224.     The Parties have filed significant submissions and evidence on this point. 144 They
disagree, among other things, about (i) the form of the Credit; (ii) the correct methodology to
calculate the Credit; and (iii) whether the Credit was provided by Pikaro. The Tribunal will
look at these issues in turn.

                                   (1)     Form of Credit

225.     There is dispute among the Parties as to how Pikaro should provide the 20 million
Credit to the Company.

226.     The Claimants argue that the Credit in Clause 2.4 RMA refers to a "financial credit"
and does "not require a level of physical stocks in the pipeline." 145 In any event, according to
the Claimants, the 20 million does not represent a "mandatory minimum." 146

227.     According to the Respondents, Clause 1.1 of the MSA requires that the Company be
provided with raw materials of at least USD 20 million in value, looking at the physical
levels of the goods in stock and in transit. 147

228.     In the Tribunal's view there are two separate, albeit related, issues.




143
    RMA, Exhibit CF-6.
144
    Claimants: SoR, at paras 52-53.3; CSubl, at paras 75-80; CSub2, at paras 51-53; CPHB, at paras 67-85; PKl,
at paras 35-46; PV, at paras 39-42; PK2, at paras 45-53; PV2, at paras 17-38; FI Report, at paras 4.1-4.35.
Respondents: RSubl, at paras 74-82; RSub2, at paras 51-65; RPHB, at paras 19-43; BM2, at paras 21-26; AQl
Report, at paras 58-85; AQ2 Report, at paras 35-51, 71-85.
145
    CSub2, at paras 54-55; CPHB at paras 86-91. See also PKl, at para. 38; PV2, at paras 25, 32.
146
    CPHB at para. 87.
147
    RSubl, at paras 75-77; RSub2 at para. 52. See also BMl, at para. 19.


                                                    - 50 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 55 of 116




229.     The first issue is whether the Credit is understood as a "financial credit" or requires a
certain level of actual physical goods to be in stock at, or in transit to, the Company. On the
one hand, Clause 1.1 of the MSA refers to the "right of the Company to [ ... ] have in any
moment of the validity of the Raw Material Agreements on a Company premises a stock of
delivered raw materials and I or raw materials ordered and in transit to the Company of a
minimum USD 20,000,000 (twenty million dollars) value." 148 On the other hand, Clause 2.4
of the RMA provides that "the Seller [i.e. Pikaro] shall guarantee to the Buyer [i.e. the
Company] a credit amounting to USD 20,000,000.- (in words: twenty million US dollars)
upon delivery of Goods in form of 60 days deferred payment conditions [ ... ] ." 149

230.     This apparent conflict between these two provisions of the MSA and RMA is
however easily resolved if one looks at the relationship between the MSA and the RMA.
Indeed, the conclusion of the RMA was a precondition for the closing of the MSA pursuant
to Clause 2.3 .3 of the MSA:

         "The Closing of this transaction shall occur when the following preconditions are met:
         [ ... ] [t]he Raw Materials Agreements are duly signed in a form reasonably
         satisfactory to all Parties [ ... ]. " 150

231.     It is for that purpose that Clause 1.1 of the MSA contains a definition of "Raw
Material Agreements." By signing the Closing and Takeover Protocol, the Parties attested to
the fact that they were satisfied with the terms of the RMA as entered into:

         "The Parties acknowledge that the Raw Material Agreement has been signed with the
         terms and conditions as well as in a form satisfactory to the Parties and as defined by
         the MSA." 151

232.     The Closing and Takeover Protocol further refers to the "value of the Raw Material
Agreement" and the "funds ofUSD 20,000,000 (twenty million dollars)" in this
context. 152

233.     In light of the above, the Tribunal is satisfied that Clause 2.4 MSA is the relevant
provision on point and it requires a certain level of financing, not a physical level of stocks.




148
    MSA, Exhibit CF-3.
149
    RMA, Exhibit CF-6.
150
    RMA, Exhibit CF-6.
151
    Closing and Takeover Protocol, Exhibit CF-4, at Article 2.4.3.
152
    Closing and Takeover Protocol, Exhibit CF-4, at Article 2.4.3.


                                                     - 51 -
        Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 56 of 116




234.      The second issue is whether the amount of 20 million is understood to be a minimum
or maximum. The Claimants suggest the latter, noting that the amount "is only a credit, not a
mandatory minimum," 153 and that "[Clause] 1.1 of the MSA [ ... ] only envisages a right to a
credit, not some mandatory minimum." 154 However, Clause 2.4 requires that "the Seller [i.e.
Pikaro] shall guarantee to the Buyer [i.e. the Company] a credit amounting to USD
20,000,000.- (in words: twenty million US dollars)[ ... ]." 155 Accordingly, in the Tribunal's
view, this means that this was the minimum amount of credit that Pikaro was required to
make available to the Company. It was, however, for the Company to determine whether or
not it wished, at any particular point in time, to utilise the full amount of the credit that was to
be made available. It is possible to envisage situations in which the Company would not
wish to utilise the credit. For example, there was a ramp-up period in the initial phase of the
RMA, and neither party expected that the full amount ofUSD 20,000,000 credit would be
utilised immediately, even though it was potentially available. However, apart from the
ramp-up period, there was no evidence which indicated that the Company did not wish to use
the full 20 million credit during the currency of the RMA.

23 5.     In sum, the Tribunal finds that Clause 2.4 of the RMA requires that Pikaro provide the
Company with a credit or financing line of at least 20 million in form of the Deferred
Payment conditions, discussed above.

                                  (2)      Method of Calculation

236.      The Parties are also in dispute as to how to calculate the Credit amount and have
provided extensive submissions and evidence on this point. 156

23 7.     In essence, the main disagreement between the Parties is whether the appropriate
method of calculation is to take into account only Pikaro's receivables under the RMA (the
"Gross Financing Approach") or the overall financial position between Pikaro and the
Company, looking at other contracts entered into between them (the "Net Financing
Approach").



153
    CPHB, at para. 87.
154
    CSub2, at par 52.a (emphasis in the original). See also PKl, at para. 38
155
    RMA, Exhibit CF-6 (emphasis added).
156
    Claimants: SoR, at paras 52-53.3; CSubl, at paras 75-80; CSub2, at paras 51-52; CPHB, at paras 81-91; PIG,
at paras 35-46; PV, at paras 39-42; PK2, at paras 45-53; PV2, at paras 17-38; FI Report, at paras 4.1-4.35.
Respondents: RSubl, at paras 74-82; RSub2, at paras 51 -65; RPHB, at paras 19-43; BM2, at paras 21-26; AQl
Report, at paras 58-97; AQ2 Repmi, at paras 35-51, 71-85.


                                                    - 52 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 57 of 116




238.     Indeed, as detailed above,

         a.      on 22 April 2015, Pikaro and the Company entered into the RMA which deals
         with the supply of raw materials to the Company; and

         b.      on 21 May 2015, Pikaro and the Company entered into the Pikaro Sales
         Contract according to which Pikaro, as an agent, sells the Company's products to end-
         producers.157

239.    According to the Claimants, the Gross Financing Approach is the appropriate method
of calculation. 158 The Claimants do not agree with the Respondents' attempts to take into
account receivables from the Pikaro Sales Contract: they argue that this "confuse[s] two
totally different things" because the RMA and the Pikaro Sales Contract are different
contractual relationships. 159

240.     According to the Respondents a form of Net Financing is the appropriate approach. 160
Among other things, the Respondents argue that

         a.      the Gross Financing Approach artificially isolates the RMA from the overall
         Pikaro/Company financial relationship and is therefore "completely unfounded and
         divorced from reality;" 161

         b.      Pikaro and the Company entered into several set-off agreements which show
         that they "did not consider the two arrangements [i.e. the RMA and the Pikaro Sales
         Contract] to be separate and unrelated;" 162 and

         c.      the two arrangements were connected since "the claims of Pikaro towards end-
         buyers for [the Company]' s products were utilized to obtain means to finance [the
         Company]." 163

241.     The Respondents also refer to an "effective gross financing" approach which is
calculated, according to the Respondents' expert as a Gross Financing Approach "decreased


157 See above at para. 147.
158 CSub2, at paras 51-52; CPHB, at paras 67-85. See also PVl, at paras 48-50; PV2 at paras 22-28.
159 CSubl, at para. 77; CSub2, at paras 51, 53; CPHB, at paras 67-85.
160 RSubl, at paras 78-82; RSub2, at paras 57-63; RPHB, at paras 19-37. See also BM2, at para. 26.
161 RSubl, at para. 78.
162 RSub2, at para. 59.
163 RSub2, at para. 60. See also PKl, at para. 40.


                                                    - 53 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 58 of 116




by the amounts of Pikaro's accounts payables due." 164 However, as the Respondents' expert
explained at the Hearing, the "effective gross financing" approach is another form of net
financing:

         "MR JACOBS: Can I just ask something? On your effective
         gross financing, that does involve a netting-off of
         amounts owed one way against amounts owed the other way.
         A: That's correct. Yes.
         MR JACOBS: I am just a bit puzzled, why is it gross
         financing? Why isn't that a species of net financing?
         Is there something about --
         A: That is a very good question. I would like to feel I
         came up with the term, but the term was defined to me
         about what needed to be done and that was the term that
         was given to me so I would like to say I came up with it
         and I made it up but I am afraid that wasn't the case,
         so the key thing is you are quite right, it is about
         understanding the netting-off between the payables and
         the receivables due date, so you are right on that
         point. I would say, and I agree with you, it is
         probably more of a net -- it is probably in the camp of
         the net calculation." 165

242.       The Tribunal finds with the Claimants on this point. The Tribunal is unconvinced that
any form ofNet Financing (including "effective gross financing") is required under Clause
2.4. of the RMA.

243.       First, this clearly results from the provisions of the RMA itself. According to Clause
2.4. of the RMA the Credit was to be provided "in form of 60 days deferred payment
conditions" 166 on the "Goods", with are defined as "raw materials [ ... ] produced by the
Producer and delivered by the Seller [i.e. Pikaro] [ ... ]." 167 Accordingly, it is clear from the
provisions of the RMA that the Credit is to be calculated on the basis of the raw materials
delivered under the RMA from Pikaro to the Company. The RMA does not refer to the fact
that the Credit should be calculated taking into account receivables from other contractual
arrangements (such as the Pikaro Sales Contract) or the overall financial position between the
Parties.




164
    AQ2 Report, at para. 76.
165
    Transcript Day 3, 168:7-24.
166
    RMA, Exhibit CF-6.
167
    RMA, Exhibit CF-6, p. 2.


                                                - 54 -
        Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 59 of 116




244.       Second, the Tribunal notes that at the time the RMA was entered into (i.e. April
2015), the Pikaro Sales Contract did not exist yet: it was only negotiated and entered into one
month later (i.e. May 2015). At that later moment in time, the Service Provider suggested
that the Company could sell its products to the end costumers via Pikaro so that it could
benefit from more favourable financing conditions. Mr Boris Milosevic testified at the
Hearing to this effect:

           "Sometimes in May, end of May, June, Pikaro suggested, Mr Kamaras, Pikaro, HPK,
           suggested that, basically, because of the practical limitations and issues with respect to
           factoring of the receivables that Zelezarah as towards foreign suppliers, foreign
           customers in Serbia, that basically we transfer a part of them, which are on deferred
           payment terms, to Pikaro in order for Pikaro to utilize their own credit lines in
           Uni credit, Slovakia, and as a result of that, to be able to faster collect cash with that
           collection of cash to purchase even more inventories at the better and favourable
           conditions [ ... ]." 168

245.       The Parties anticipated this to be a temporary solution, as again Mr Boris Milosevic
testified at the Hearing:

           "On that discussion, on those Supervisory Board, I remember I clearly said to
           everyone that basically this is a temporary solution for until Zelezara opens its own
           subsidiary abroad, and that is how we all understood each other." 169

246.       It is therefore unconvincing that in the RMA, entered into at a time when the Pikaro
Sales Contract did not even exist, the parties agreed to include receivables from that Pikaro
Sales Contract in the calculation of the Credit terms.

24 7.      Once the Pikaro Sales Contract was entered into, and once it became apparent that it
would not be a temporary solution, as initially planned, but a long-term arrangement, the
Respondents could have sought to re-negotiate the definition of Credit under the RMA.
There is no evidence before the Tribunal that such renegotiation took place.

248.       The Tribunal notes in this context that Mr Boris Milosevic seems to suggest that Mr
Peter Kamaras accepted a Net Financing Approach at a meeting that took place on 24 January
2016. In his first witness statement, Mr Kamaras stated:

           "Finally, in January 2016, Mr. Kamaras openly verbally stated on the meeting held on
           Sunday 24 January 2016 in KPMG offices on which Mr. Ivica Kojic, Mr. Bojan



168
      Transcript, Day 3, 11:9-20 (emphasis added).
169
      Transcript, Day 3, 11:22-12:1 (emphasis added).


                                                        - 55 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 60 of 116




         Bojkovic, Mr. Nenad Mijailovic, Mr. Milun Trivunac and myself attended that he is
         unable to provide this financing to Zelezara as envisaged by the MSA." 170

249.     He also noted in his second witness statement:

         "I always go back to 24th January 2016 when Mr. Kamaras admitted to the close
         audience that he does not have the necessary USD 20 million of financing to provide
         to Zelezara." 171

250.     At the Hearing, he testified in cross examination as follows:

         "Pikaro said on 24 January 2016 to Mr Ivica Koj ic, Chief of Staff of the Prime
         Minister, Mr Nenad Mihailovic, State Secretary in the Ministry of Finance, Mr Milan
         Trivunac, Assistant Minister in the Ministry of Economy, Mr Bojan Bojkovic,
         member of Supervisory Board of Zelezara and to myself, a member of Supervisory
         Board of Zelezara, that he does not have a possibility to be in a position that 20
         million net exposure is towards him, that he cannot return those receivables, and that
         he cannot have 20 million of financing towards us. That is what he said on the
         24th." 172

251.     While the Tribunal notes that there is no corroborative evidence that Mr Kamaras
made those statements, in any event, the Tribunal is not satisfied that such a remark could
result in a change of the definition of Credit in the RMA which, as stated above, only takes
into account the raw materials and receivables under this agreement. 173

252.     In sum, the Tribunal is therefore satisfied that the conect approach to calculate the
Credit amount under the RMA is a Gross Financing Approach.

                                  (3)   Breach of Credit

253.     Having determined that the Gross Financing Approach is the correct approach to
calculate the Credit amount pursuant to Clause 2.4 RMA, the Tribunal now needs to
determine whether the Credit was breached.

254.     As a preliminary remark, the Parties are in agreement that there has to be some
flexibility at the initial stages of the RMA. An initial 'ramp-up' period was necessary since
the Credit was to be provided in form of the 60 days Defened Payment conditions, as
discussed above. 174 As explained by Mr Kamaras:


170
    BMl, at para. 19.
171
    BM2, at para. 26.
172
    Transcript, Day 4, 42:3-13.
173
    See above at para. 243.
174
    See above at para. 234-235.


                                               - 56 -
        Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 61 of 116




          "In fact, credit of over $20 million was provided beginning in August 2015 after the
          initial ramp-up and then throughout the relevant period apart from November 2015
          when it fell slightly below due to the lessening of orders." 175

25 5.     This was also confirmed by Mr Boris Milosevic at the Hearing:

          "We have understood quite clearly that it cannot be 20 million on Day 1 that you
          pool and receive the inventories, raw materials, in the value of that, that it will take
          time for the goods, for the raw materials to arrive to Smederevo, and for them to be
          put into the Production." 176

256.      However, the Parties are in disagreement as to the times when the Credit was met or
breached:

          a.     according to the calculations of the Claimants' expert, the Credit was breached
          at certain times in 2015, but not since December 2015; 177 and

          b.      according to the calculations of the Respondents' expert, the Credit was
          breached at times, but not in January/February and May/June 2016. 178

257.      The Tribunal notes that it has reservations on both experts' calculations.

25 8.     On the one hand, the Respondents' expert did not include in its calculation any In-
Transit Time. As noted above, such time was not included in his calculation of the Deferred
Payment, 179 and consequently also not in the calculation of the Credit in form of Deferred
Payment. 180 Mr Qureshi confirmed this at the Hearing:

          "THE CHAIRMAN: Before we move on, just really to clarify,
          I think it is very clear from this outline or timeline,
          when you referred to shipment date, you always referred
          to shipment date by Pikaro to Zelezara to the company.
          A: By Pikaro to Zelezara. Yes.
          Okay, in terms of the comparison of the two
          financing periods, just to make it very clear, in terms
          of what our start and end date is, I was saying, or
          I was instructed to assume that it was a shipment date
           compared to Mr Hett saying the date of Pikaro' s
           pre-payment, the end date I say is, or have been

175
    PK2, at para. 45.
176
    Transcript, Day 3, 9:7-12 (emphasis added).
177
    FI Report, at para. 4 .24; Claimants' Expert presentation at the Hearing, slide 11.
178
    AQl Report, at paras 75, 76; AQ2 Report, at para. 84; Respondents' Expert presentation at the Hearing,
slide 13.
179
    See above, at para. 211.
180
    AQ 1 Report, at para. 34; AQ2 Report, at para. 31; Respondents' Expert presentation at the Hearing, slide 16.


                                                     - 57 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 62 of 116




         instructed to assume payment due date compared to
         Mr Ilett's date of invoice settled." 181

259.     However, since the Tribunal found above that the Deferred Payment period includes
the In-Transit Time, such In-Transit Time must also be included in the calculation of the
Credit (provided in form of the Deferred Payment).

260.     On the other hand, while the Claimants' expert included the In-Transit Time, he did
so on the basis of an assumption that this In-Transit Time would be 21 days. 182 As discussed
above, Mr Illet could not independently verify this assumption and admitted at the Hearing
that it was wrong. 183 There is also some unclarity as to whether all categories included by Mr
Illet in his calculations are indeed goods ordered by, or in transit to, the Company (via
Pikaro). 184

261.     Irrespective, however, of the Tribunal's comments as to the calculations provided by
the Parties' experts, the Tribunal is satisfied that even on the Respondents' calculations 185
(and in any event on the Claimants' ones 186) the Credit was met in June 2016. Indeed, under
any given gross financing approach, the Credit was above 20 million in June 2016, as
illustrated by Mr Qureshi at the Hearing: 187




181
    Transcript, Day 3, 166:4-16 (emphasis added). See also Transcript Day 4, 170:3-171 :5.
182
    FI Report, at para. 3 .16.
183
    See above, at para. 212.
184
    FI Report, at para. 4.18; Transcript Day 4, 154:25-156:24.
185
    AQl Report, at paras 75, 76; AQ2 Report, at para. 84; Respondents' Expert presentation at the Hearing,
slide 13.
186
    FI Report, at para. 4.24; Claimants' Expert presentation at the Hearing, slide 11.
187
    Respondents' Expert presentation at the Hearing, slide 16.


                                                    - 58 -
             Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 63 of 116




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      PwC HPK Management d.o.o ., HPK Engineering BV v. Republic or Serbi a and Zelezaro
          Smederevo d.o.o                                                                                                                                   16




262.               Accordingly, at the time when the Respondents filed the Second Termination Notice
on 25 June 2016, there was no breach of the Credit requirement under Clause 2.4 RMA, and
thus also no material breach of the Deferred Payment condition under Clause 2.6 RMA.

263.               It is however that moment in time that is relevant under Clause 8 .1.2 of the MSA to
assess whether a material breach of the RMA occmred and thus justifies a termination of the
MSA. Indeed, Clause 8.1.2 MSA clearly provides that "[t]he RoS and/or the Company may
(but shall not be obligated to) terminate this Agreement[ ... ] upon the occurrence and
during the continuance of any of the following events: [ ... ] if the Raw Materials
Agreements [ ... ] are terminated or breached in any material manner by a respective supplier
[ ... J."188


264.               The Respondents' counterarguments on this point are not convincing.

265.               The Respondents argue first that the requirement "upon the occurrence and during the
continuance of' only applies to Clause 8.1.1 (which provides for a correction time) and not to
Clause 8.1.2 (which provides for a termination with immediate effect). 189

266.               This interpretation, however, is not supported by the language of Clause 8 .1 of the
MSA which makes no such distinction; instead the requirement "upon the occurrence and


188
      MSA, Exhibit CF-3.
189
      RPHB, at paras 108-111.


                                                                                                           - 59 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 64 of 116




during the continuance of' is found in the introduction of Clause 8 .1 and thus applies
irrespectively to everything that follows, i.e. Clause 8.1.1 and 8.1.2:

         "8.1 The RoS and/or the Company may (but shall not be obligated to) terminate this
              Agreement by a notice to the Service Provider and the Bidder upon the
              occurrence and during the continuance of any of the following events:

         8.1.1 the Service Provider or Consultants or members of the Supervisory Board
               nominated by the Service Provider as applicable, fail to comply with any of
               their material obligations in this Agreement (including fulfilment of the KPis as
               set out by the Business Plan or other obligations set out by the Business Plan
               and/or any other strategic documentation) and do not correct such failure within
               120 (one hundred twenty) days of the date of a notice requiring correction from
               the non-defaulting Party;

         8.1.2 if the Raw Materials Agreements cease to be valid and legally binding before
               the expiration of third anniversary of the Closing or the Raw Materials
               Agreements are terminated or breached in any material manner by a respective
               supplier;

               in which cases the Company shall not be obliged to pay neither the Termination
               Fee nor the Privatization Bonus to the Service Provider and will retain the right
               on indemnification from the Service Provider and/or the Bidder for of all
               damages suffered." 190

267.     The Respondents further argue that the Serbian version of the MSA would lead to a
different interpretation since the Serbian version:

         "makes it clear that the termination may be made where there is "occurrence or
         continuation" (in Serbian: 'nastupanja iii trajanja '). Given that the transaction
         lawyers who drafted this document were all Serbian, 166 Serbian text is a 'hidden
         anchor language' of the contract - the native language of its drafters. Therefore, it is
         relevant and useful interpretation tool for any ambiguities which might arise in respect
         of the nominally prevailing English text." 191

268.     However, as just shown above, there is no ambiguity in the English text of Clause
8.1.2 of the MSA. Therefore, pursuant to the language provision in Clause 15.3.1 of the
MSA, the English version prevails in case of discrepancy or inconsistency:

         "This Agreement has been executed in Serbian and English language. In case of any
         discrepancy or inconsistency between these two versions, the English version shall
         prevail." 192




190
    MSA, Exhibit CF-3 (emphasis added).
191
    RPHB, at para. 112.
192
    MSA, Exhibit CF-3 (emphasis added).


                                              - 60 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 65 of 116




269.     In light of the above, the Tribunal finds that at the relevant moment in time, i.e. on 25
June 2016, no material breach of the RMA existed that could have triggered a termination of
the MSA with immediate effect according to Clause 8.1.2 of the MSA.

                 3.       Other Breaches of the MSA

270.     The Respondents further allege a number of other breaches as bases for the Second
Termination Notice. According to the Respondents, the Claimants:

         a.       failed to maintain the required level of net working capital of 80 million for
         the Company pursuant to Clause 3.1.5 of the MSA (the "New Working Capital"
         issue); 193

         b.     failed to fulfil the requirements in relation to related party arrangements
         pursuant to Clause 4.2 of the MSA (the "Related Party Arrangement" issue); 194

         c.     failed to fulfil the requirement of a professional insurance indemnity pursuant
         to Clause 2.3.7 of the MSA (the "Professional Insurance" issue); 195

         d.     breached their non-competition obligations pursuant to Clause 11 of the MSA
         (the "Non-Competition" issue); 196

         e.   failed to provide the required skilled managers for the Company (the
         "Managers" issue); 197 and

         f.    obstructed the privatisation and closing of the Privatisation Agreement (the
         "Obstruction of Privatisation" issue). 198

271.     The Claimants contest that any of these breaches occurred. 199 In any event, according
to the Claimants, a 120 days correction period would have been necessary pursuant to Clause
8.1.1 MSA. 200

272.     The Respondents in turn argue that the 120 days correction period was unnecessary
and that they could terminate the MSA with immediate effect according to Article 127 of the
Serbian Law of Obligations (the "L0"). 201



193
    SoD, at paras 49-63; RSubl, at paras 48-70; RSub2, at paras 78-88; RPHB, at paras 44-52.
194
    SoD, at paras 73-74; RSubl, at paras 88-94; RSub2, at paras 89-95.
195
    SoD, at paras 75-79; RSubl, at paras 99-100; RSub2, at para. 96.
196
    SoD, at paras 80-83; RSubl, at paras 95-98; RSub2, at paras 97-99.
197
    RSub 1, at paras 102-106; RSub 1, at paras 102-106; RSub2, at paras 100-102.
198
    SoD, at paras 37-48; RSubl, at paras 20-47, 101; RSub2, at paras 74-77; RPHB, at paras 53-74.
199
    SoR, at paras 9.4-46; 55-75; CSubl, at paras 84-95, 109-150; CSub2, at paras 23-48, 62-107; CPHB, at paras
25-51, 93-118.
200
    SoR at para. 66, 75; CSubl, at paras 24, 96-108; CSub2, at para. 112; CPHB at para. 21.
201
    SoD, at paras 89-100; RSub2, at paras 68-72; RPHB, at paras 84-104.


                                                    - 61 -
         Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 66 of 116




273.       The Tribunal will address the 120 days correction period in Clause 8.1.1 MSA, and
whether Article 127 LO allows immediate termination instead, before looking at the alleged
breaches in tum.

                          a)       120 Days Correction Period (Clause 8.1.1 MSA)

274.       Clause 8.1.1 of the MSA provides as follows:

           "The RoS and/or the Company may (but shall not be obligated to) terminate this
           Agreement by a notice to the Service Provider and the Bidder upon the occurrence
           and during the continuance of any of the following events: [ ... ]

           the Service Provider or Consultants or members of the Supervisory Board nominated
           by the Service Provider as applicable, fail to comply with any of their material
           obligations in this Agreement (including fulfilment of the KPis as set out by the
           Business Plan or other obligations set out by the Business Plan and/or any other
           strategic documentation) and do not correct such failure within 120 (one hundred
           twenty) days of the date of a notice requiring correction from the non-defaulting
           Party." 202

2 7 5.     It is thus clear from the simple language of Clause 8 .1.1 that any termination of the
MSA based on a breach of "material obligations" therein requires that (i) the non-defaulting
party send a "notice requiring correction;" and (ii) the defaulting paiiy does not correct the
default within 120 days from such notice.

276.       It is undisputed that the Respondents did not send a notice requiring correction, and in
any event not before the Second Termination Notice. Rather, the Respondents argue that
they did not have to wait for the 120 days correction period to end, but could terminate the
MSA with immediate effect according to Article 127 L0, 203 discussed in the next section.

                          b)       Immediate Termination (A1iicle 127 LO)

277.       Article 127 LO provides as follows:

           "A party to an agreement may terminate the agreement without leaving the debtor a
           subsequent time limit for performance, should the debtor's conduct indicates (sic) that
           it will not perform his obligation even during the course of subsequent time limit." 204

278.       The Respondents make, among other things, the following submissions:




202
    MSA, Exhibit CF-3 (emphasis added).
203
    SoD, at paras 89-100; RSubl, at paras 109-113.
204
    Article 127, Exhibit RL-3.


                                                     - 62 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 67 of 116




         "Article 126 of the Law on Obligations stipulates that, as a rule, a creditor wishing to
         terminate an agreement must provide appropriate subsequent period for the debtor
         to perform. However, this general rule is subject to three exceptions.

         Two exceptions deal with situations where timely performance is key. First, no
         additional time period need be given where the contract sets a deadline for
         performance of an obligation and it is evident that one party will not fulfil it (Article
         128 of the Law on Obligations). Second, where timely performance is an essential
         element of the contract, expiration of deadline rescinds the contract automatically,
         unless creditor opts to keep it afoot (Article 125 of the Law on Obligations).

        The third exception, Article 127 of the Law on Obligations, deals with obligations
        where deadline for performance was either not set or its observance is not of essential
        nature. Even in such situations, a party is nevertheless entitled to terminate the
        agreement without leaving an additional period to the debtor, if one can conclude
        from the debtor's behavior that it will not fulfil/ its obligation even if given
        subsequent period to perform. The purpose of this article is to dispense of the need
        to give additional period where giving it would be useless."205

279.     The Respondents also refer to the following commentary:

         "It seems to us that there is space for a broad interpretation of [Article 127 LO].
         Debtor's conduct may be such that it has explicitly stated that it would not perform
         the contract. However, even in cases when it can be inferred from debtor's certain
         conduct that it would not perform the contract, creditor is not obliged to leave it the
         appropriate subsequent time limit, but can instead terminate the contract by a simple
         statement without leaving such a time limit. Therefore, debtor's conduct should be
         understood so as to include its direct actions - a statement by which it declines the
         contract performance, as well as its indirect actions, by which its intention not to
         perform the contract can be established in a certain manner. By the same token, it
         would suffice to establish that the debtor is unable to perform the contract within
         the appropriate subsequent time limit." 206

280.     The Claimants make, among other things, the following submissions on this point:

         "On 127, [ ... ] The material demonstrates the principle that if a breach or prospective
         breach is not so serious that it deprives the creditor of the purpose of the contract, it
         cannot be grounds for termination. This is established by Perovic Commentary [ ... ] .
         So for 127, the prospective breaches which the debtor's conduct make obvious must
         be so serious as to prevent achievement of the purpose of the contract within a
         reasonable deadline/or performance[ ... ]. To use another phrase, the prospective
         breaches must go to the root of the contract. 131 's rule that insignificant breaches
         cannot justify te1mination is not exhaustive: many breaches that are more than
         insignificant will not be enough under 127. This is consistent with principle. Serbian
         law aims to preserve contracts and permitting termination for breaches which were not
         so serious that they defeated the purpose of the contract, nor fundamental, would

205
    RPHB, at paras 86-88 (footnotes omitted, emphasis added). See also RSubl, at paras 107-113; RSub2, at
para. 77.
206
    Borislav Blagojevic, Vrleta Krulj "Commentary of the Law on Obligations", Book I, Savremena
Administracija, 1983 Belgrade, Article 127, Exhibit RL 14 (emphasis omitted and added).


                                                   - 63 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 68 of 116




        contradict this policy. (3) Uncertainty as to whether the debtor will perform is not
        enough: this must be obvious from his conduct[ ... ]. (4) Termination is not possible
        under 127 where the 120 day notice provision which the parties have agreed in 8.1.1
        can and should be used (outside e.g. refusal to perform with insufficient time available
        to give notice)." 207

        "So the correct analysis is that in the main Perovic commentary (1995) [ ... ]: to justify
        termination the breach must be so serious as to undermine the purpose of the
        contract: in effect it must be fundamental; partial performance which yields. " 208

281.     In light of the above, the Tribunal finds that on the essential points the interpretation
of Article 127 LO is clear.

282.     First, Article 127 LO constitutes an exception to the general rule in Article 126 LO
that a party who wishes to terminate an agreement must provide an "appropriate subsequent
period" for the debtor to perform, i.e. to correct the non-performance (the "Correction
Period"). In the present case, the Parties agreed in Clause 8.1.1 of the MSA that this
"appropriate subsequent period" or Correction Period would be 120 days.

283.     Second, a party may exceptionally terminate an agreement with immediate effect, i.e.
without a Correction Period. Article 127 uses the terms "without leaving the debtor a
subsequent time limit for performance. " 209 This exception applies if "the debtor's conduct
indicates that it will not perform his obligation even during the course of subsequent time
limit." 210 Article 127 LO therefore makes clear that one needs to (i) look at the debtor's
conduct; and (ii) assess whether the debtor would perform the contract during the
"subsequent time limit." That "subsequent time limit" is the Correction Period, i.e. the time
limit the debtor would normally have been given to correct the non-performance. Indeed, a
Correction Period is unnecessary if "the debtor's conduct indicates that it will not perform his
obligation" during such time. In sum, as stated by the Respondents, "[t]he purpose of this
article is to dispense of the need to give [an] additional period where giving it would be
useless." 211

284.     Having thus determined the relevant legal standard, the Tribunal will now assess the
Respondents' conduct, looking at the alleged breaches in tum.



207
    CPHB, at para. 53 (footnotes omitted, emphasis added).
208
    CPHB, at para. 54(c) (footnotes omitted, emphasis added).
209
    Article 127 LO, Exhibit RL-3.
210
    Article 127 LO, Exhibit RL-3 (emphasis added).
211
    RPHB, at para. 88.


                                                    - 64 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 69 of 116




                          c)      Net Working Capital (Clause 3.1.5.1 MSA)

285.     Clause 3.1.5.1 of the MSA provides as follows:

         "The Service Provider commits: [ ... ]to at all times keep the Net Working Capital of
         the Company not lower than USD 80,000,000 (eighty million dollars)." 212

286.     'Net Working Capital' is defined in the MSA as:

         "Current Assets reduced by all:

         (a) liabilities to domestic or foreign suppliers for purchases of any goods, assets or
         services;

         (b) liabilities to banks or other institutions for working capital loans, maintenance
         loans, capital expenditure loans, leases, overdrafts, etc.;

         (c) liabilities to government for unpaid taxes, contributions, custom duties or any
         other fiscal liabilities;

         (d) liabilities to employees for salaries, bonuses and any other remunerations
         (excluding employee benefits calculated under IAS 19);

         (e) accrued expenses;

         (f) liabilities to customers for advance payments received." 213

287.     It is common ground between the Parties that the Net Working Capital of the
Company has been below 80 million since October 2015. 214 Notwithstanding, the Claimants
argue that Article 3.1.5.1 of the MSA was not breached because, according to the Claimants,
the drop of the Net Working Capital was due to (i) an event of vis major215 - an argument that
the Claimants later withdrew; 216 (ii) the Respondents' misrepresentations about the
Company's financial information when the Parties entered into the MSA; 217 and (iii)
subsequent conduct of the Respondents. 218

288.     The Tribunal is of the opinion that it need not decide these points. Even assuming a
breach of 3 .1. 5 .1 of the MSA (since it is established that the 80 million threshold was not
met), the Tribunal finds that such breach would not lead to a termination with immediate



212
    MSA, Exhibit CF-3.
213
    MSA, Clause 1.1, Exhibit CL-3.
214
    SoC, at para. 55.1; RPHB, at para. 92.
215
    SoC, at para. 55.2.1; SoR, at paras 30-34.
216
    CSubl, p. 34, at footnote 10.
217
    CSubl, at para. 92; CSub2, at paras 71-81; PKl 47; PVl 12-36, 57-5.
218
    CSubl, at para. 93; CSub2, at paras 82-84; PVl 58, 66-67.


                                                    - 65 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 70 of 116




effect. Indeed, the Tribunal finds that, regarding the New Working Capital, it is not
established that the Claimants' conduct was such that it would not perform the contract
during the "subsequent time limit."

289.     First, the Claimants' witnesses have testified that, if requested, there could have been
several ways to address the New Working Capital:

         "A shareholder capital contribution (taking no more than one week);
         A pledge of the fixed and current assets of the business in order to secure a long-term
         loan from a commercial bank([ ... ], which would have taken c. 90 days);

         Securing from HeSteel a long-term advance payment (either to the Company or to the
         supplier) for the purchase of raw materials (taking between 30 and 60 days provided
         all approvals were given); and

         Balance sheet adjustments of payment terms for the purchase of raw materials and the
         sale of end products - payment terms for raw materials delivered by Pikaro could
         have been extended to 370 days, with the effect that the payables would have been
         reclassified in the Company's accounts as long-term (and hence not forming part of
         the calculation ofNWC). At the same time, payment terms for end products
         purchased by Pikaro from the Company could have been extended to 3 55 days (hence
         the receivables would remain current assets and form part of the calculation ofNWC).
         This would have taken c. 60 days depending on the actual raw material flow. 219

290.     Second, as discussed above, the purpose of Article 127 LO was to provide an
exception to the normal requirement of a Correction Period if it became clear, from the
debtor's conduct, that such Correction Period was useless because the debtor would not
perform. 220 As also noted above, in the present case, the Parties agreed on a Correction
Period of 120 days. 221 At the time when the Second Respondent filed the Second Termination
Notice, i.e. on 25 June 2016, the MSA had only 5 more days to run, i.e. until 30 June 2016,
because of the First Termination Notice. 222 Under these circumstances, there is no purpose to
apply Article 127 LO, which is to allow a party to forego the agreed 120 days Correction
Period, if it is clear that the other party would not perform the contract during that time.
Here, the performance of the MSA became moot after only 5 days due to its termination on
the basis of the First Termination Notice, and the issue of non-performance during the 120
days Correction Period is thus irrelevant.



219
    PVl, at paras 66.1-66.4.
220
    See above at para. 283.
221
    See above at para. 282.
222
    See above at paras 166-167.


                                               - 66 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 71 of 116




291.     Third, the Respondents' counterarguments on this point are inapposite. 223 In
particular, the Respondents' argument that the New Working Capital threshold had not been
met since November 2015 cannot justify a different conclusion. Quite to the contrary,
because the Respondents were aware since November 2015 that the New Working Capital
was below the 80 million threshold, there was no reason or new development that would
justify invoking the exception of Article 127 LO only days before the end of the MSA.

292.     In light of the above, the Tribunal finds that the drop in the New Working Capital,
even assuming it constituted a breach of Article 3.1.5.1 of the MSA, could not justify a
termination with immediate effect by the Second Termination Notice.

                          d)       Related Party Arrangements (Clause 4.2 MSA)

293.     It is undisputed amongst the Parties that the Company, in June 2015, entered into a
contract with GLS Steel Distributors Ltd ("GLS") which is ultimately owned by two
individuals (Mr Nasser and Mr Fruchter) who also hold a 20% participation in the First
Respondent. 224

294.     The Respondents argue that GLS was a "Related Party" pursuant to the MSA and that
the Claimants should have used the required approval mechanism under Clause 4.2 of the
MSA.22s


295.     According to the Claimants, among other things, (i) at the time the Company entered
into the contract with GLS, Mr Nasser and Mr Fruchter had not yet acquired any stake in the
First Respondent (this only occurred in September 2015); (ii) it was public knowledge that
Mr Nasser and Mr Fruchter held a participation in the First Respondent; and (iii) the contact
with GLS was not a "Related Party Arrangement" within the meaning of the MSA. 226

296.     Clause 4.2. of the MSA provides as follows:

         "The Service Provider recognises that Related Party Arrangements need to be effected
         on a transparent, arm's length basis and in the best interests of the Company and the
         Service Provider hereby agrees that, prior to effecting any Related Paiiy Arrangement,
         the Service Provider shall:



223 RSubl, at para. 110; RPHB, at para. 91.
224 SoR, at paras 56.1-56.3; SoD, at paras 73-74; RSubl, at paras 88-94; RSub2, at paras 89-95.
225 SoD, at paras 73-74; RSubl, at paras 88-94; RSub2, at paras 89-95.
226 CSubl, at paras 122-128; CSub2, at paras 89-94. PKl, at paras 8-81, 100; PK2, at paras 54-57.


                                                    - 67 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 72 of 116




         [4.2.1] provide full disclosure of and provide all supporting documents relating to
         such Related Party Arrangement to the Supervisory Board.

         [4.2.2] obtain the co-signature of the OFGR (such co-signature not to be unreasonably
         withheld or delayed); and

         [4.2.3] check whether there are any legal or regulatory requirements that might
         prevent such arrangements, generally or only in certain territories or circumstances,
         notify the Supervisory Board of the existence of any such requirement. The Service
         Provider shall not enter into any such agreement before the said requirements are
         met."221

297.     Moreover, there are several definitions in Clause 1.1 of the MSA that are relevant.

298.     "Related Party Agreement" is defined as:

         "any arrangement, transaction or agreement (or any modification of any arrangement,
         transaction or agreement) involving the Company or any subsidiary or any other
         Affiliate thereof or the business or properties thereof, on the one hand, and the Service
         Provider or any Affiliate or the business or properties thereof (whether as a party
         thereto or receiver or provider of any accommodation, consideration, goods or
         services), on the other hand." 228

299.     "Affiliate" means:

         "in relation to any person be it legal entity or natural person, (a) any other person
         directly or indirectly Controlling or Controlled by or under common Control with,
         such a person, or (b) any (i) Officers, Officer, trustee or beneficiary of such a person,
         (ii) spouse, parent, sibling or descendant of any person described in (i) or spouse,
         parent, sibling or descendant of the person directly or indirectly Controlling, or which
         is under common Control with, such person, and (iii) any trust (or its equivalent under
         any Governing Law) for the benefit of any person described in (i) and (ii)." 229

300.     "Control" is defined as:

         "directly or indirectly, whether through the ownership of shares/stake, by contract or
         otherwise (i) the right to have the majority of the voting rights exercisable at a
         shareholders meeting (or its equivalent) of the person concerned or (ii) the right to
         appoint, and/or remove and/or direct/procure the decision making process of other
         corporate bodies (including but not limited to, supervisory boards, managing boards
         or equivalent thereof of the person concerned), and the terms "Controlled" and
         "Controlling" shall be construed accordingly." 230

301.     In light of the above, the Tribunal hold as follows.


227 MSA, Exhibit CF-3.
228 MSA, Clause 1.1, Exhibit CL-3.
229 MSA, Clause 1.1, Exhibit CL-3.
230 MSA, Clause 1.1, Exhibit CL-3.


                                               - 68 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 73 of 116




302.     First, the fact that Mr Nasser's and Mr Fruchter's participation in the First Respondent
was allegedly a matter of public knowledge is not determinative: the approval procedural
under Clause 4.2 of the MSA requires that the First Respondent "provide all supporting
documents relating to such Related Party Arrangement to the Supervisory Board" and does
not provide for an exception in case of public information.

303.     Second, the Claimants' argument that Mr Nasser and Mr Fruchter acquired their
participation only three months after the Company entered into the contract with GLS is
inapposite. Otherwise, it would be easy to circumvent the approval procedural of Clause 4.2
of the MSA.

304.     Third, however, the Tribunal is not satisfied that the GLS contract qualifies as a
"Related Party Arrangement" in the sense of the MSA and thus that Clause 4.2 applies in the
case at hand. According to Clause 1.1 of the MSA a "Related Party Agreement" is defined as
an "arrangement, transaction or agreement" between the Company on the one hand and the
"Service Provider [i.e. the First Claimant] or any Affiliate or the business or properties
thereof' on the other hand. 231 The question is therefore whether GLS qualifies as an
"Affiliate" of the First Claimant. "Affiliate" pursuant to Clause 1.1 of the MSA requires
some form of direct or indirect or common "Control."232 "Control" in tum is defined as "(i)
the right to have the majority of the voting rights exercisable at a shareholders meeting (or
its equivalent) of the person concerned or (ii) the right to appoint, and/or remove and/or
direct/procure the decision making process of other corporate bodies (including but not
limited to, supervisory boards, managing boards or equivalent thereof of the person
concerned). " 233

305.     The Respondents have not established that Mr Nasser and Mr Fruchter have either a
majority of the voting rights in, or the right to procure the decision-making process of, the
First Claimant. 234 In light of this, the Tribunal finds that it is not established that the contract
with GLS was a "Related Party Arrangement" in the sense of the MSA and thus required the
approval procedural of Clause 4.2 of the MSA.




231
    MSA, Clause 1.1, Exhibit CL-3.
232
    MSA, Clause 1.1, Exhibit CL-3.
233
    MSA, Clause 1.1, Exhibit CL-3 (emphases added).
234
    See e.g. RSub2 at para. 92 without supportive evidence.


                                                     - 69 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 74 of 116




                          e)       Professional Insurance (Clause 2.3.7 MSA)

306.     The Respondents argue that the First Claimant failed to provide a professional
insurance indemnity pursuant to Clause 2.3.7 of the MSA. 235 The Claimants deny such
breach. 236

307.     Clause 2.3.7 of the MSA requires that:

         "[t]he Service Provider has executed an agreement on professional insurance
         indemnity in a form approved by the RoS and the Company with minimum insurance
         coverage of EUR 5,000,000 (five million euros)." 237

308.     It is undisputed between the Parties that the First Claimant provided an insurance
policy for professional indemnity cover for the period from 20 April 2015 to 20 April 2016, 238
and that the policy was renewed for the period of 20 April 2016 to 20 April 2017. 239

309.     The Respondents argue that the policies were not in accordance with Serbian
insurance law since they were not issued by a Serbian-based insurance company. 240 However,
the evidence shows that the policy was indeed provided by a Serbian insurance company,
namely Wiener Stadtische A.D.O Belgrade. 241

310.     The Respondents further argue that the second policy was never delivered to the
Company, and that such non-delivery defeated the purpose of Clause 2.3.7 of the MSA. 242

311.     The Tribunal is not satisfied that the non-delivery of the insurance policy constitutes
in and of itself a breach of Clause 2.3. 7 of the MSA, which does not refer to any delivery
obligation. In any event, even assuming such alleged breach of Clause 2.3.7 of the MSA, the
Respondents did not establish how the Respondents' conduct would justify, pursuant to
Article 127 LO, foregoing the 120 days Conection Period under Clause 8.1.1 of the MSA: if
requested, the Company could have delivered the policy within 120 days.




235
    SoD, at paras 75-79; RSubl, at paras 99-100; RSub2, at para. 96.
236
    SoR, at paras 58-59; CSubl, at paras 129-139; CSub2, at para. 106.
237
    MSA, Exhibit CL-3.
238
    Insurance Policy, Exhibit CF-20.
239
    Insurance Policy, Exhibit CF-21.
240
    SoD, at para. 78.
241
    Insurance Policy, Exhibit CF-21, at p. 8.
242
    RSubl, at para. 100; RSub2, at para. 96


                                                    - 70 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 75 of 116




                          f)       Non-Competition (Clause 11 MSA)

312.     The Respondents further allege that the First Claimant and Mr Peter Kamaras
breached their Non-Competition obligations pursuant to Clause 11 of the MSA in their
contacts with HeSteel. 243 The Claimants deny these breaches. 244

313.     Clause 11 of the MSA provides that:

         "The Service Provider and the Bidder [i.e. the Claimants] hereby undertakes for the
         benefit of the other Parties that, during the Term of this Agreement, the Service
         Provider, the Bidder as well as members of the Supervisory Board nominated by the
         Service Provider and the Consultants, shall not, and shall procure that each of its
         Affiliates shall not, without the consent of the RoS:

         11.1.1 carry on or be engaged or hold any direct or indirect interest in the issued share
         capital of any business that operates in the steel sector, and represents direct
         competitor of the Company regardless of the territory or jurisdiction;

         11.1.2 provide any goods or services, or enter into, or have an interest in, any
         arrangement with any third party providing goods or services, in respect of any
         business that operates in the steel sector and represents direct competition of the
         Company, regardless of the territory or jurisdiction;

         11.1.3 cause or permit any person directly or indirectly to do any of the foregoing acts
         or things in the name of or with the support of the Service Provider or the Bidder.

         11.2 During a period of 2 (two) years after the termination of this Agreement, the
         obligations set out in this clause 11 shall continue to exist, but shall become limited to
         the European Economic Area. " 245

314.     The Respondents make the following submissions in this context.

315.     The Respondents note that they "do not contend that communication between He Steel
and the Claimants in the course of Privatization represents a breach of noncompetition
duty." 246 They add that"[ d]ue to their role in Zelezara, Claimants had to enter into
communication with HeSteel in order to facilitate the Privatization process."247

316.     However, the Respondents take issue with alleged "improper relations between the
Claimants and HeSteel," 248 namely the fact that the Claimants (i) sent a management proposal



243
    SoD, at paras 80-83; RSubl, at paras 95-98; RSub2, at paras 97-99.
244
    SoR, at paras 60-64; CSubl, at paras 140-146; CSub2, at paras 95-105.
245
    MSA, Exhibit CL-3.
246
    RSub2, at para. 98.
247
    RSub2, at para. 98.
248
    RSub2, at para. 98.


                                                    - 71 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 76 of 116




to HeSteel on 20 April 2016; 249 (ii) sent a draft management agreement to HeSteel on 28 June
2016; 250 and (iii) appeared at a meeting on 28 June 2016 alongside He Steel. 251

317.     In the Tribunal's view, none of these actions establish a breach of Clause 11.1 of the
MSA that would justify a termination thereof on 25 June 2016.

318.     First, the meeting of 28 June 2016 took place after the Second Termination Notice of
25 June 2016. Accordingly, anything that occurred during that meeting cannot justify the
termination on 25 June 2016 with immediate effect, i.e. three days prior.

319.     Second, and similarly, the draft management agreement was sent by Mr Pavol
Vrchovinsky to Mr Song on 28 June 2016, i.e. after the Second Termination Notice.
Moreover, and in any event, in this draft agreement, the First Claimant offered its
management services to HeSteel for the period following the privatisation, i.e. after 30 June
2016. Indeed, the draft management agreement refers in the recitals to "[t]he closing of the
transaction envisaged under the Asset Sale and Purchase Agreement" i.e. the closing of the
Privatisation Agreement. 252 Again, any action after 30 June 2016 cannot constitute a breach
of the MSA that would justify its termination with immediate effect on 25 June 2016, i.e. five
days prior.

320.     Third, the management proposal, dated 15 April 2016, and sent by Mr Kamaras to
Mr Wang on 20 April 2016, concerns interim management services pending the closing of
the privatisation on 30 June 2016. In terms of the proposal, this concerns the relationship
with the Company's "suppliers and customers", "employees", and "business partners",
including preparing the "documents in compliance with Asset Sales and Purchase Agreement
(ASPA) [i.e. the Privatisation Agreement]" in view of its closing. 253 It is unclear how this
could constitute a breach of Clause 11.1 of the MSA. In any event, it appears from the
evidence that the management proposal was not accepted by HeSteel and thus never came
into effect. 254 The Tribunal thus finds that the Respondents have not established that any of



249
    RSubl, at para. 98; RSub2, at para. 98; Email from Mr Kamaras to Mr Wong, dated 20 April 2016, attaching
management proposal, dated 15 April 2016, Exhibit, RF-33.
250
    RSubl, at para. 98; RSub2, at para. 98; Email of Mr Pavol Vrchovinsky to Mr. Song, attaching drafts of
agreements from 28 June 2016, Exhibit RF-32.
251
    SoD, at para. 83; RSubl, at paras 96-97; RSub2, at para. 99; EB, at para. 11; BMl, at para. 25.
252
    Exhibit RF-32, at p. 4
253
    Exhibit RF-33, at p. 37.
254
    PKl 61-62; PK2 62.


                                                   - 72 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 77 of 116




the Claimants' actions prior to 25 June 2016 would amount to the breach of Clause 11.1 of
the MSA.

321.     The Tribunal notes, for the avoidance of doubt, that it does not have to decide whether
the Claimants breached Clause 11.2 of the MSAfollowingthe termination of the MSA,
because the question before the Tribunal is whether any breach of Clause 11.1 of the MSA
would justify such termination.

                          g)       Managers

322.     The Respondents argue that the Claimants failed to provide the required skilled
Managers for the Company. 255 The Claimants deny this. 256 However, the Tribunal notes that
according to the Respondents, "the issues surrounding the managers appointed by HPK were
not grounds for termination of the MSA, and this was never alleged by the Respondents." 257
The Tribunal therefore finds that it does not have to address this issue in the context of the
validity and effects of the Second Termination Notice.

                          h)       Obstruction of Privatisation

323.     Finally, the Respondents argue that the Claimants obstructed the Privatisation and
closing of the Privatisation Agreement, including by (i) failing to provide or obtain waiver
letters from the Company's customers, business partners and otherwise; (ii) obstructing the
negotiation of utility contracts with the Company's suppliers; (iii) issuing certain bills of
exchange; (iv) failing to secure the necessary level of raw materials for the steel production;
and (v) failing to provide necessary information to HeSteel. 258

324.     According to the Respondents, these actions constitute breaches of the Claimants'
duty of care towards the Company pursuant to Articles 63 and 64 of the Serbian Companies
Law, to which the Claimants must abide according to Clause 3.8.1.1 of the MSA.

325.     The Claimants deny that they obstructed the Privatisation process, and in any event
that this would constitute a breach under the MSA or a valid basis for the Second
Termination Notice. 259



255
    RSubl, at paras 102-106; RSub2, at paras 100-102.
256
    SoR, at para. 9; CSubl, at paras 147-150; CSub2, at para. 107.
257
    RSub2, at para. 101.
258
    SoD, at paras 37-48; RSubl, at paras 20-47, 101; RSub2, at paras 74-77; RPHB, at paras 53-74.
259
    CSubl, at paras 112-118; CSub2, at paras 23-48; CPHB, at paras 25-54.


                                                    - 73 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 78 of 116




326.     The Tribunal will look at the relevant legal provisions before assessing the alleged
breaches in tum.

                                     (1)   Clause 3.8.1.1 MSA in combination with Articles 63
                                           and 64 Serbian Companies Law

327.     Clause 3.8.1.1 of the MSA reads as follows:

         "The Service Provider shall owe the following duties to the Company: [ ... ] Duty of
         care (within the meaning of the articles 63 and 64 of the Serbian Companies Act)." 260

328.     Article 63 of the Serbian Companies Law in tum provides that:

         "Persons referred to in Article 61 paragraph 1 items 4) and 5) of this Law shall carry
         out their duties in that capacity in good faith, with due diligence and in a
         reasonable belief that they act with the company's best interest.

         For the purposes of paragraph 1 of this Article, due diligence shall be the level of care
         which a reasonably cautious person would use if he/she had the knowledge, skills
         and experience that could reasonably be expected of a person carrying out the same
         functions in a company.

         If a person referred to in Article 61 paragraph 1 items 4) and 5) has certain specific
         knowledge, skills or experience, such knowledge, skills and experience shall also be
         taken into account for the purpose of evaluation of due diligence.

         It is deemed that persons referred to in Article 61 paragraph 1 items 4) through 5) of
         this Law may also base their actions on the information and opinions provided by
         persons specialized in a specific filed for whom they reasonably believe they have
         acted in good faith in each specific case.

         A person referred to in Article 61 paragraph 1 items 4) through 5) who demonstrates
         that he/she acted in accordance with this Article shall not be liable for any damage
         incurred by a company as a result of such action. " 261

329.     Article 64 of the Serbian Companies Law provides that:

         "A company may bring legal action against a person referred to in Article 61
         paragraph 1 items 4) through 5) of this Law for indemnification of any damage caused
         to it by such person through a breach of the duty of care provided for in Article 63 of
         this Law." 262

330.     The Claimants do not contest that Articles 63 and 64 of the Serbian Companies Law
are relevant and must be complied with pursuant to Clause 3.8.1.1 of the MSA. However,



260
    MSA, Exhibit CL-3.
261
    Exhibit RL-1 (emphasis added).
262
    Exhibit RL-1.


                                                 - 74 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 79 of 116




they challenge that any obstruction occurred. 263 The Tribunal will look at the alleged
breaches or obstruction actions in tum.

                                   (2)      Waiver Letters

331.     The Respondents' argument on this point is twofold: the Claimants failed to (i)
provide their waiver letters as part of the closing of the Privatisation; and (ii) take appropriate
steps in order to obtain waiver letters from the Company's customers and business partners. 264

332.     On the first issue, the Claimants argue that there was no obligation for the Claimants
to provide any waiver letter. 265 However, Clause 7.2(i)(d) of the Privatisation Agreement
provided as a pre-condition for the closing:

         "[to provide a] termination agreement or similar document entered into between the
         Seller [i.e. the Second Respondent] and HPK Management doo [i.e. the First
         Claimant] confirming that the [MSA] is terminated as of the Closing Date, and that
         HPK Management d.o.o do not have any claim, rights or title against the Uniform
         Sales Package." 266

333.     Although the Claimants are not parties to the Privatisation Agreement, the First
Claimant, as manager of the Company, was aware of this pre-condition. Therefore, unduly
withholding any agreement or document under Clause 7.2(i)(d) could have constituted a
breach of the First Claimant's duty of care vis-a-vis the Company.

334.     However, it appears on the evidence that the Claimants provided assurances that were
satisfactory to HeSteel and the Privatisation closed on 30 June 2016 as planned. 267 Moreover,
and in any event, any above-described breach could only materialize at the closing of the
Privatisation Agreement on 30 June 2016, if the pre-condition of Clause 7.2(i)(d) was not
met. Therefore, this could not be a valid ground for the termination of the MSA in the
Second Termination Notice with immediate effect on 25 June 2016, i.e. 5 days prior. 268




263
    CSubl, at paras 112-118; CSub2, at paras 23-48; CPHB, at paras 25-54.
264
    SoD, at paras 39-42; RSubl, at paras 26-32; RSub2, at para.76.
265
    SoR, at paras 19-21; CSub2, at para. 25.
266
    Privatisation Agreement, dated 18 April 2016, Exhibit CF-10 (emphasis added).
267
    It is undisputed that the Privatisation closed on 30 June 2016. SoC, at para. 46; Annex to RSub2. The fact
that the Claimants appear to have provided their waiver letters only on 1 July 2016 (see Correspondence
between HeSteel and Mr Kamaras, dated 1 July 2016, Exhibit RF-29) is irrelevant in this context.
268
    See also Transcript Day 3, 86:3-6 (Mr Boris Milosevic: "HPK letter was needed before the closing not before
termination. We didn't terminate because they didn't provide a waiver letter. We didn't terminate the MSA
because Pikaro hasn't provided a waiver letter.") (emphasis added).


                                                    - 75 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 80 of 116




335.     On the second issue, Clause 4.l(iv) of the Privatisation Agreement further included as
a pre-condition of closing that the Company provide certain waivers from third parties listed
in Annex 6. 269 The Respondents argue that the Claimants did not take the necessary steps to
obtain those waiver letters from the Company's customers and business partners, 270 whereas
the Claimants allege that they took all necessary steps, going over and above their duties
under the MSA. 271


336.     The Tribunal finds that the evidence does not establish that any difficulty in obtaining
the waiver letters swiftly from third parties was due to the Claimants' lack of efforts, as
opposed to the inherent difficulties in such a process. 272 It is however clear from the evidence
that the waiver letters from the relevant third parties (other than Pikaro) were obtained before
the closing, either on 24, 28, or 29 June 2016. The fact that the waiver letters were obtained
prior to closing indicates that efforts had been made to obtain them prior to the Second
Termination Notice. Mr Boris Milosevic testified as follows at the Hearing:

         "Q Leaving aside Pikaro and HPK, all the waiver letters the
         Service Provider had to get were obtained by --
         A No, that is not correct. Two of the waiver letters were
         not received on the 24th. They were received only on 28
         or 29 June. If so I recall well, one was Hurkovicz(?)
         but please don't keep me for the words. I really don't
         know the details. I forgot but I know, there were two
         suppliers who have not signed their waiver letters until
         the 24th.
         Q But they were obtained by the closing.
         A Yes. We have obtained them by tlte closing in those
         hectic few days before the closing."273

337.     Pikaro, an affiliate of the Claimants, was also one of the parties required to provide a
waiver letter pursuant to Clause 4.l(iv) of the Privatisation Agreement in combination with
Annex 6. 274 This waiver letter was provided on 30 June 2016, and finalized and signed 1 July
2016. 275 This delay in the signature of the Pikaro waiver letter did not prevent the




269
    Privatisation Agreement, dated 18 April 2016, Exhibit CF- I 0, and Appendix 6, Exhibit CF-41.
270
    SoD, at paras 39-42; RSubl, at paras 26-32; RSub2, at para.76.
271
    SoR, at paras 19-21; CSubl, at para. 115.b; PIG, at paras 66-67; CPHB, at paras 32-34.
272
    See e.g. PKI, at paras 66-68; PK2, at paras 7-; BMI, at para. 28.
273
    Transcript Day 3, 83:5-16 (emphasis added).
274
    Privatisation Agreement, dated 18 April 2016, Exhibit CF-10.
275
    Email correspondence between Mr Kamaras and Mr Zheng, dated 30 June and 1 July 2016, attaching various
versions of the waiver letter, Exhibits CF-189-191.


                                                  - 76 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 81 of 116




Privatisation from closing and, as confirmed by Mr Boris Milosevic at the Hearing, was not
the reason for the Claimants' alleged termination of the MSA on 25 June 2016:

         "Q There is not a single document in which you chase for an HPK waiver letter before
         the termination.
         A HPK letter was needed before the closing not before termination. We didn't
         terminate because they didn't provide a waiver letter. We didn't terminate the MSA
         because Pikaro hasn't provided a waiver letter. " 276

338.     In light of the above, the Tribunal is satisfied that the Claimants' conduct with regard
to the waiver letters was not such that it would have justified a termination on 25 June 2016,
and in any event not one with immediate effect pursuant to Article 127 LO, foregoing any
Correction Period as provided for in Article 126 LO and Clause 8.1.1 of the MSA.

                                   (3)      Utility Contracts

339.     The Respondents further argue that the Claimants obstructed the Privatisation and
closing of the Privatisation Agreement, by obstructing the negotiation of utility contracts
between HeSteel and the Company's suppliers. 277 More particularly, the Respondents state
that obtaining contracts with the main suppliers of the Company (e.g. electricity, gas, etc.)
was a precondition of the closing of the Privatisation Agreement, and the Claimants did not
"fulfill their tasks" in this respect since some contracts were hastily entered into shortly
before the closing. 278 The Respondents specifically refer to the Company's supplier of
technical gas, Messer Tehnogas Serbia ("Messer"), and allege that the Claimants "obstructed
the conclusion of the agreement between Messer and HeSteel [... ]."279

340.     According to the Claimants, they had no contractual obligation to help procure those
contracts; they nevertheless took any reasonable steps to do so; and any delay in finalizing
these contracts was not attributable to the Claimants. 280

341.     The Tribunal notes that obtaining contracts with certain suppliers, including Messer,
was a precondition of the closing of the Privatisation Agreement pursuant to Clause 4.l(xi)
thereof. 281 Similar to the waiver letters issue discussed above, 282 the Claimants were not a

276
    Transcript Day 3, 86:1-6 (emphasis added).
277
    SoD, at para. 38; RSubl, at paras 33-37; RSub2, at para. 76; RPHB, at paras 56-65; EB, at paras 1-12.
278
    SoD, at para. 38.
279
    RSubl, at para. 35. See also EB, at paras 1-12.
280
    SoR, at paras 15-18; CSubl, at para. 115.a; CSub2, at paras 31-35; CPHB, at paras 29-31; PKl, at paras 63-
65, 103; PK2, at paras 18-27.
281
    Privatisation Agreement, dated 18 April 2016, Exhibit CF-10.
282
    See above at para. 333.


                                                    - 77 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 82 of 116




party to the Privatisation Agreement and thus had no contractual obligation thereunder.
However, as manager of the Company, the First Claimant had a duty of care vis-a-vis the
Company under Articles 63 and 64 of the Serbian Companies Law. Accordingly, they had to
use best efforts to help the Company fulfil the pre-conditions under the Privatisation
Agreement.

342.     The Tribunal is of the view that the Claimants did not always give urgent attention to
the need to conclude a contract with Messer in the time leading up to 25 June 2016. Mr
Bode, General Manager of Messer, testified in his witness statement283 and at the Hearing that
Mr Kamaras suggested in early June that there was no urgency in negotiating the supply
contract with Messer since he did not believe that the closing of the Privatisation would
happen by 30 June 2016:

        "Q Okay, in your written statement you said that you asked
        Mr Kamaras about urgency of the matter knowing from
        media that the closing under the privatisation contract
        was scheduled for 30 June 2016. Can you tell us what
        did Mr Kamaras told you on your question, what did he
        answer on your question, and how was it, his reaction
        about it.
        A Mr Kamaras mentioned that he doesn't believe that the
        closing will happen until 30 June, that it will be in
        the third quarter, even maybe later which was logical
        for me at the time because we had not been very advanced
        at the stage of contract conclusion and negotiation."284

        " ... then I guess I asked, or I asked how urgent is the
        matter, since from the press I heard, on 30 June the
         closing should be, and his statement was, "It is
         unrealistic that that will happen on 30 June. It will
        happen probably in the third quarter, maybe in the
        fourth". That was for me very important, very important
         information, because he was the side, he was for me the
        party I should negotiate with, and that, for me, was --
         there is no rush. " 285

343.     However, the documentary evidence also shows that there were steps taken towards
the negotiation of the supply agreement with Messer. For instance, on 21 June 2016, Mr




283
    EB, at para. 9.
284
    Transcript Day 3, 159:20-160:6 (emphasis added).
285
    Transcript Day 4, 4: 1-9 (emphasis added).


                                                   - 78 -
        Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 83 of 116




Marcel Nemet, of the Company, wrote to Mr Bode and Mr Ringhofer of Messer to provide
some technical data necessary for the contract negotiation. 286

344.      In light of the above, the Tribunal finds that the Claimants' lack of urgency in relation
to Messer was not such that it amounted to a breach of the MSA, and in any event not one
that could have justified a termination of the MSA with immediate effect pursuant to Article
127 LO. The Respondents have also not established that the Claimants' conduct was such
that it would not perform the MSA during a subsequent Correction Period and that thus any
such Correction Period was unnecessary or useless.

345.      Finally, for the avoidance of doubt, the Tribunal notes that the Claimants' actions
after 25 June 2016 (e.g. at the 28 June 2016 meeting with Messer) are irrelevant to assess
whether the te1mination on 25 June 2016 was validly made.

                                 (4)      Bills of Exchange

346.      The Respondents argue that the Claimants obstructed the Privatisation and closing of
the Privatisation Agreement by issuing certain bills of exchange to the detriment of the
Company. 287 The Claimants deny these allegations. 288

34 7.     The Tribunal notes that the Respondents make the following statement:

         "Although the incident surrounding bills of exchange evidences the negligent
         attitude of the Claimants and their apparent lack of good faith, it was not the reason
         for the termination of the MSA since this incident only came to light after the MSA
         was terminated. " 289

348.      In light of the above, the Tribunal does not need to decide this point in order to assess
whether the alleged termination of the MSA on 25 June 2016 was valid.




286 Email Mr Nemet to Mr Bode and Ringhofer, dated 21 June 2016, Exhibit CF-250. See also SB2, at paras
8, 9.
287
    SoD, at paras 44-45; RSubl, at paras 38-40; RSub2, at para. 76.
288
    SoR, at para. 23; CSubl, at para. 115.c; CSub2, at paras 36-37; CPHB, at paras 49-51.
289
    RSub 1, at para. 40.


                                                  - 79 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 84 of 116




                                  (5)      Supply of Raw Materials

349.     The Respondents argue that the Claimants obstructed the Privatisation and closing of
the Privatisation Agreement by failing to secure the necessary level of raw materials for the
steel production at the Company. 290 The Claimants deny these allegations. 291

350.     Under the Privatisation Agreement, the full working of the two blast furnaces at the
steel factory of the Company was a pre-condition for the closing of the Privatisation. 292 Mr
Kamaras stated at the Hearing that he was aware thereof:

        "Q Have you been aware that Hesteel, the Chinese company,
        wished to purchase a plant with two functioning blast
        furnaces?
        A Yes. Yes I was. " 293

351.     This was the reason why, in May 2016, the second blast furnace was re-started after
having been out of operations since November 2015. 294 In June 2016, there were two
instances in which one of the two blast furnaces had to be shut down: from 11-13 June 2016
and on 22 June 2016:

         a.      Concerning the 11-13 June 2016 outage, the Respondents argue that it was due
         to insufficient levels of scrap, a raw material needed for the production of steel. 295
         According to the Claimants, the outage was initially due for maintenance reasons, but
         was then "brought forward when a railroad accident led to a short-term scrap
         shmiage. " 296

         b.      Concerning the 22 June 2016 outage, the Respondents state that it was due to
         insufficient levels of coke, another raw material needed for the production of steel. 297
         The Claimants argue that, while the coke levels were low, the outage was for planned
         maintenance works. 298 The Respondents contest this stating that (i) maintenance



290
    SoD, at paras 47-48; RSubl, at paras 45-47; RSub2, at para. 76; RPHB, at paras 66-74; MV, at paras 1-18.
291
    SoR, at paras 24-26; CSubl, at paras 115.d-g; CSub2, at paras 41-43; CPHB, at paras 35-41; SBl, at paras
18-38; SB2, at paras 12-14; PKl, at paras 75-55; PK2, at paras 38-40.
292
    Privatisation Agreement, dated 18 April 2016, Exhibit CF-10, at Appendix 1, Clause 45(d).
293
    Transcript, Day 1, 147:7-10.
294
    PKl, at para. 75.
295
    RPHB, at para. 69 referring to Mr Mihailovic's testimony at the Hearing, see Transcript Day 3, 127-131.
296
    CPHB, at para. 40 referring to Mr Barica's testimony at the Hearing, see Transcript Day 2, 12:3-18.
297
    RPHB, at paras 70-73; VM, at paras 16-18; Mr Mihailovic's testimony at the Hearing, see Transcript Day 3,
116-117, 124:1-14.
298
    CSub2, at para. 43; CPHB, at paras 35-39; SBl, at para. 33; SB2 at para. 14. PK2 at para. 40.


                                                    - 80 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 85 of 116




         works never require more than 24 hours; and (ii) the required maintenance works had
         already been done earlier that month, on 11 June 2016. 299

352.     The Tribunal finds as follows on the raw materials issues.

353.     On the one hand, it is satisfied that the blast furnace outages at the Company were
partly due to the First Claimant: as manager of the Company, the First Claimant was
responsible to ensure the necessary levels of raw materials to run the steel production and
failed to do so at all given times. For instance, Mr Mihailovic testified at the Hearing that the
coke levels at the Company on 21, 22, and 23 June were too low to allow a safe steel
production. 300 Mr Kamaras admitted this in an email of21 June when he wrote "[w]e have to
shut down the blast furnaces for 60 hours because of the lack of coke. " 301

354.     On the other hand, the evidence shows that the outages were also, at least partially,
due to external factors. The earlier outage from 11-13 June was, at least partially, due to a
railroad accident; 302 the later outage on 22 June was, at least partially, due to difficulties with
the regular coke supplier. For instance, on 20 May 2016, Mr Oravec, responsible for the
Procurement of Strategic Raw Materials at the Company, wrote:

         " [... ] purchase of Coke from Slovakia is an emergency purchase because supplier
         from Lukavac has logistical issues caused by Croatian railways repairing a tunnel,
         which prevents transportation of coal from Ploce to Lukavac. We are going next week
         to inspect situation in Lukavac and to find solution. We need to buy this Coke from
         Slovakia in order not to jeopardize the production in the meantime."303

355.     The evidence also shows that the First Claimant took steps to remedy the negative
impact of these externals events, to the extent possible. For instance, on 30 May 2016 Mr
Kamaras met with another coke supplier, 304 and on 5 June 2016 coke was ordered, via Pikaro,
from alternative sources. 305

356.     In light of the above, the Tribunal finds that the raw material supply issues do not
amount to a breach of the MSA, and at least not one that would justify an immediate


299
    Mr Mihailovic's testimony at the Hearing, see Transcript Day 3, 127:23-128:10, 151:11-12.
300
    Transcript Day 3, 116-117.
301
    Email Mr Kamaras to Mr Ovinca, dated 21 June 2016, Exhibit RF-54.
302
    Mr Barica's testimony at the Hearing, see Transcript Day 2, 12:3-18.
303
    Email Mr Oravec to various, dated 20 May 2018, Exhibit CF-48 (emphasis added). See also Email from Mr
Kamaras to Minister Sertic, dated 27 May 2016, Exhibit RF-16.
304
    Email from Mr Kamaras to Minister Sertic, dated 27 May 2016, Exhibit RF-16.
305
    Email from Ms Dulinova to various, dated 5 June 2016, Exhibit CF-206. See also email exchange between
Mr Cvijovic and Mr Oravec, Exhibit CF-99.


                                                  - 81 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 86 of 116




termination pursuant to Article 12 7 LO. The Respondents have not shown that the
Claimants' conduct was such that they would not perform the MSA during a subsequent
Correction Period and that thus any such Correction Period was unnecessary or useless.

                                  (6)      Other Issues

357.     Finally, the Respondents argue that the Claimants obstructed the Privatisation and
closing of the Privatisation Agreement by failing to prepare and provide necessary
information to He Steel, or to otherwise assist the Privatisation. 306 Among other things, the
Respondents allege that the Claimants failed to hire the required legal assistance, and to
convene regular coordination meetings. 307 The Claimants deny these allegations. 308

358.     The Tribunal finds that the Respondents have not established these points. To the
contrary, the documentary evidence shows that the Claimants did set up co-ordination
meetings. 309 Moreover, there is no contemporaneous document complaining about any lack
of legal or other information.

                                    *       *        *        *        *

359.     In sum, the Tribunal finds that the Respondents have not established any breaches of
the MSA that would justify the immediate termination thereof. Having looked at the
Claimants' conduct regarding the various alleged breaches, the Tribunal finds that such
conduct does not warrant an immediate termination under Article 127 LO, forgoing the
Correction Period provided for in Article 126 LO and Clause 8.1.1 of the MSA.

360.     As a consequence, the Tribunal finds that the Second Termination Notice of 25 June
2016 was not validly made. The Tribunal therefore does not need to look at the other alleged
bases of invalidity of the Second Termination Notice, e.g. the argument that it was contrary to
Serbian corporate law, 310 good faith 311 etc.




306
    RSubl, at paras 41-43; PKl, at para. 27.
307
    RSubl, at paras 41-43; PKl, at para. 27.
308
    CSub2, at paras 3 8-40.
309
    Privatisation Coordination Team meeting, dated 19 May 2016, Exhibit CF-225; Privatisation Coordination
Team meeting, dated 24 May 2016, Exhibits CF-144 and CF-226.
31
  ° CPHB, at paras 11-16.
311
    CPHB, at paras 17-25.


                                                   - 82 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 87 of 116




                 4.      Amount of Privatisation Bonus

361.     Having thus established that the Second Termination of25 June 2016 was not valid,
the Privatisation Bonus is due under Clause 3 .2.9 of the MSA. This is undisputed between
the Parties, as noted above. 312

362.     The Parties are, however, in dispute about the amount of the Privatisation Bonus
under Clause 3.2.9 of the MSA. Clause 3.2.9 of the MSA provides as follows:

        "In addition to the Management Fee outlined in clauses 3.2.4, 3.2.5, 3.2.6, 3.2.7 and
        3.2.8, the Service Provider shall be entitled to a bonus fee in case of any privatisation
        of the Company that occurs within 5 (five) years (or a period of five years plus any
        additional period of this Agreement agreed to under clause 7 .2 hereof) calculated as of
        the Closing of this Agreement, in the amount equal to 30% of the acquisition price
        of the Company' stake achieved through such privatisation procedure but in no
        event lower than USD 10,000,000 (ten million dollars) (the Privatisation Bonus)."313

363.     Clause 3.2.9 of the MSA thus provides for a guaranteed minimum Privatisation Bonus
of 10 million (the "Minimum Bonus"), but also for the possibility of a higher bonus
calculated as "30% of the acquisition price of the Company' stake achieved through such
privatisation procedure" (the "Variable Bonus").

364.     According to the Claimant, the Variable Bonus applies to all kinds of privatisation
procedures and thus should be 30% of the price paid by HeSteel for the Company's assets, 314
whereas the Respondents argue that the Variable Bonus does not apply to a privatisation
through an asset sale. 315

365.     More specifically, the Claimants state that (i) the term "stake" in Clause 3.2.9 of the
MSA has a broad meaning going beyond "shares;" 316 (ii) the Pa11ies could have used a more
specific wording in Clause 3.2.9 of the MSA (such as "equity" or "shares") but did not; 317
(iii) the English version of the MSA prevails; 318 (iv) any other interpretation does not




312
    See above, at para. 170.
313
    MSA, Exhibit CF-3 (emphasis omitted and added).
314
    SoR, at paras 76-83; CSubl, at paras 154-157; CSub2, at paras 113-121; CPHB, at paras 3-10. See also
Transcript, Day 5, at 54:10 et seq.
315
    SoD, at paras 101-112; RSubl, at paras 114-124; RSub2, at paras 103-107; RPHB, at paras 75-83.
316
    SoR, at para. 78; CSubl, at para. 156.c
317
    SoR, at para. 78.
318
    SoR, at para. 78; CSubl, at para. 156.a; CPHB, at paras 3-5.


                                                   - 83 -
        Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 88 of 116




correspond to the will of the Parties or the purpose of the Privatisation Bonus; 319 and (v) the
MSA Negotiation Transcript does not show anything else. 320

366.        To the contrary, according to the Respondents (i) the term "stake" in Clause 3.2.9 of
the MSA is most commonly used in the commercial context as "equity of a company, i.e. its
shares;"321 (ii) the Serbian version of Clause 3.2.9 of the MSA uses the term "udela" (from
"udeo") which means "shares" in Serbian; 322 (iii) the transcript of the MSA negotiations
confirms this understanding referring to "equity"; 323 and (iv) there is no purpose of a success
bonus in case of an asset sale since the value of the assets "has nothing to do with the
Claimants and their effort (or at the very best, their influence could have only been
marginal). " 324

367.        In interpreting Clause 3.2.9 of the MSA, the Tribunal will look in tum at (i) the literal
meaning of Clause 3 .2.9 of the MSA, (ii) the context of the negotiations of the MSA; (iii) the
purpose of the privatisation bonus in Clause 3.2.9 of the MSA; and (iv) the Parties'
subsequent conduct.

                               a)     Literal Meaning of Clause 3.2.9 MSA

368.        Clause 3.2.9 of the MSA refers to "30% of the acquisition price of the Company's
stake achieved through such privatisation procedure. " 325

369.        While the Claimants are correct that the word "stake" might in certain instances have
a broader meaning, in the context of commercial transactions and companies, the term
"stake" refers to "participation" (such as in the forms of shares). This is indeed also how the
Claimants themselves have repeatedly used the term in their submissions:

            "Subsequently in September 2015 the businessmen behind GLS (Yves Nassan and
            Lazar Fruchter) did acquire a minority stake in the Bidder but even that would not
            have satisfied the control requirements in the MSA. " 326




319
      CSubl, at para. 156.e; PKl, at paras 20-21.
32
     °CSubl, at para. 156.f.
321
    SoD, at para. 108; RSubl, at para. 116; RPHB, at paras 76-79.
322
    SoD, at para. 109; RSub 1, at para. 116;
323
    SoD, at para. 11; RSubl, at paras 121-122; Transcript of negotiations, Exhibit RF-17, at p. 34. See also
BM2, at para. 14.
324
    RSubl, at para. 120.
325
    MSA, Exhibit CF-3.
326
    RSubl, at para. 126.a (emphasis added).


                                                     - 84 -
        Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 89 of 116




          "the evidence that Lazar and Fruchter' s stake was only 20% [ ... ]"327

370.      This interpretation is also confirmed by the Serbian version, and the use of the term
"udela" (from "udeo"). It is clear that in case of any discrepancies between the English and
Serbian version, the English version prevails pursuant to Clause 15.3.1 ofMSA which
provides that:

          "This Agreement has been executed in Serbian and English language. In case of any
          discrepancy or inconsistency between these two versions, the English version shall
          prevail. " 328

371.      However, the Tribunal finds that here there is no discrepancy or inconsistency
between the English and Serbian versions on this point since both language versions point in
the same direction, i.e. that "stake" or "udeo" should be interpreted as meaning
"participation" or "shares."

3 72.     A difficulty in the literal interpretation of Clause 3 .2.9 of the MSA arises from the
fact that it refers to "the Company's stake" which, in correct English, would mean the stake
of the Company and thus the participation (or shares) the Company holds in another
company. It is undisputed that the Company's participation (or shares) in another company
was not (and could not have been) part of the Privatisation. Rather, what was a possible
means of privatisation was to sell the participation (or shares) in the Company. The Tribunal
is satisfied that this somewhat incorrect use of the English is due to the fact that mostly non-
native English lawyers negotiated and drafted the text of the MSA in English (which was
later translated into Serbian). This is the result indeed from the documentary evidence329 and
was confirmed by the Respondents' counsel at the Hearing:

          "MR JACOBS: Okay. There were obviously some drafts before the final MSA.
          Were those drafts always circulated in English, just like the red line we have seen?

          [Mr Pavic]: Only English. Only the -- not only the final -- I think we have -- I don't
          know when the translation was done from English to Serbian, whether it was
          already done around 20 March or not. The translation -- I think by the time we
          selected it, if I am not mistaken and we selected them around 20 March, that at that
          time only the English version was around, and Serbian version was included in -- as a
          translation few days after. " 330


327
    RSub2, at para. 91.
328
    MSA, Exhibit CF-3.
329
    Email from Mr Marjanovic to Mr Kamaras and others, dated 15 March 2015, attaching a revised draft MSA,
Exhibit CF-217.
330
    Transcript Day 4, 72:3-13 (emphasis added).


                                                  - 85 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 90 of 116




                          b)       Negotiations of Clause 3.2.9 MSA

373.     The Parties also refer to a transcript of the negotiations of the MSA held in mid-
March 2015. 331

374.     The Claimants refer to a passage of the transcript at p. 23 which reads as follows:

         "ML [Marek Lorinz, on behalf of the Claimants]: The consideration was, let's say if
         you, let's say want to privatize the plant before the expiration of 3 years, th[ e]n we are
         entitled to the success fee, which is X % of the sale price, X % of investment
         commitment but no less than asked for.

         MH [Mark Harrison, on behalf of the Claimants]: That sounds like you're happy. I
         mean ... for those 3 years MSA agreement, and as you say, whoever comes along in a
         really good phase, it's a win-win, the Government wins, we take the success fee and
         that's it." 332

375.     According to the Claimants this shows that what was proposed at this stage was a
percentage of the "sale price" irrespective of the form of privatisation. 333

376.     The Tribunal is unconvinced about this argument. To the contrary, in the Tribunal's
view, the reference to an "investment commitment" shows that what the Parties had in mind
was that the purchaser invested in the Company after the privatisation. This is different from
an asset sale where the Company, after having sold its assets, is an empty shell in which no
one would consider investing.

377.     The Respondents rely on another passage of the transcript on pp. 33-34 in which Mr
Boris Milosevic rejected the idea of a 30% bonus on the investment or capital commitment to
the Company, but accepted a 30% bonus on the equity. He stated:

         "BM: With respect to the exit bonus, our suggestion is to have it 30% of the sales
         price only, without these capital commitments, because this would be very difficult to
         assess and to calculate. Capital commitment will be something that the company will
         get and I think it's very difficult for the company to find the cash given that those
         capital commitments will be over a 5 period ... 5 years to find cash now in order to
         pay 30% of the future capital commitment by somebody." 334

         "BM: No, that's ... sure, that's understandable. I mean you know in privatizations that
         they weight those things differently. One is the purchase price weighting, one is the



331
    Negotiation Transcript, Exhibit RF-17.
332
    Negotiation Transcript, Exhibit RF-17, at p. 23 (emphasis added).
333
    CPHB, at para. 4.
334
    Negotiation Transcript, Exhibit RF-17, at p. 33 (emphasis added).


                                                     - 86 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 91 of 116




         weighting of a ... No, no, I'm talking about we cannot have 30% on the equity and
         30% on the capital commitment."335

         "BM: If it's a 30% of the privatization proceeds for the equity and or higher of 30%
         of that or 10 million dollars, I think that is ok. " 336

378.     According to the Respondents this shows that what the Parties had in mind was that
the Variable Bonus of 30% applied to an equity sale, i.e. if the Republic of Serbia sold its
participation in the Company.

379.     The Tribunal is satisfied that this is indeed what the Parties had in mind during the
negotiation of the MSA, and this was accepted by Mr Kamaras as he confirmed at the
Hearing:

         "PROFESSOR ORLIC: Good. Can we go to the page 34 [of the Negotiation
         Transcript]? It goes like this:
         "Peter Kamaras: No, no, I am listening. Do you have any suggestions?
         "Boris Milosevic: Our suggestion was only
         Mark Harrison zero", and there was general laughter. Now,
         Mr Boris Milosevic says, and I am quoting: "If it is a 30 per cent of the privatization
         receipts for the equity and/or higher of 30 per cent of that or $10 million I think that is
         okay"
         "Peter Kamaras: Okay"
         So you accepted what Boris Milosevic ask you for.
         A Yes, Professor, yes. I did. Can I put the broader picture behind it? There was a
         discussion brought by Marek Lor[i]nz, what happens if Zelezara is giving away for
         nothing for investment in case somebody comes and says okay, I will get it for free,
         but I invest 1 billion, that is basically what the Chinese did. For this case they
         suggested this minimum 10 million amount. This was my understanding of this 10
         million, and somebody get it for free but promises -- we originally, I think, I believe it
         should be there, ask also for 30 per cent. Marek Lorinz gave me this idea, asking for
         30 per cent of the investment, can be outrageous number so this was rejected flatly, so
         we agreed that in case of such a strange -- well, not strange actually, but -- there is this
         minimum of 10 million, okay? And in case it is sold for real money, that there is
         money to be paid to the government, then we get 30 per cent. This was my
         understanding of the story.

         PROFESSOR ORLIC: But it was said for the equity.

         A It says so very likely, yes. It says so in the transcript, yes." 337



335
    Negotiation Transcript, Exhibit RF-17, at p. 33 (emphasis added).
336
    Negotiation Transcript, Exhibit RF-17, at p. 34 (emphasis added).
337
    Transcript, Day 1, 182 :9-183: 16 (emphasis added).


                                                     - 87 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 92 of 116




380.     Mr Kamaras thus confirmed that for a situation like at present ("that is basically what
the Chinese did") the Minimum Bonus of 10 million was agreed ("For this case they
suggested this minimum 10 million amount. This was my understanding of this 10 million
[ ... ]"). In case the Republic of Serbia sold its participation in the Company, the Variable
Bonus of 30% was meant to apply (if"there is money to be paid to the government, then we
get 30 per cent").

381.     Finally, in the context of the MSA negotiations, the Claimants also refer to an email
sent on 15 March 2015, attaching a revised draft MSA. 338 It was in this round of edits that the
language "of the Company's stake" was included. 339 The Claimants refer to the cover email
sent with the draft MSA which states, among other things, "[i]n the enclosed version of the
MSA we defined in much better way the termination clauses in order to outline exactly what
agreed on the meeting (other changes made to the MSA are more or less of a technical
nature)." 340 The Claimants deduce from this that the change regarding the Privatisation
Bonus in Clause 3.2.9 of the draft MSA was not meant to bring any chance and thus
continued to apply irrespective of the addition of "the Company's stake. " 341

382.     The Tribunal does not find this argument convincing. The cover email clearly states:
"Enclosed please find the Management Services Agreement (the MSA) revised by KPMG.
We are of the opinion that this draft version of the MSA reflects all what agreed on the
yesterday's meeting." 342 Had the draft including the edit regarding "the Company's stake"
not reflected the Patiies' agreement, the Claimants should have pointed this out, and no such
evidence is on file. In any event, the relevant change in the wording did reflect the discussion
at the meeting.

                        c)      Purpose of Clause 3.2.9 MSA

383.     Finally, the Parties argue about the purpose of the Variable Bonus in Clause 3.2.9 of
the MSA.

384.     The Respondents argue that the purpose of the Variable Bonus of 30% was to
incentivize the First Claimant to manage the Company in such a way as to make it the most


338
    Email from Mr Marjanovic to Mr Kamaras   and others, dated 15 March 2015, Exhibit CF-217.
339
    Email from Mr Marjanovic to Mr Kamaras   and others, dated 15 March 2015, Exhibit CF-217, at p. 19.
340
    Email from Mr Marjanovic to Mr Kamaras   and others, dated 15 March 2015, Exhibit CF-217, at p. 1.
341
    CPHB, at para. 4.
342
    Email from Mr Marjanovic to Mr Kamaras   and others, dated 15 March 2015, Exhibit CF-217, at p. 1.


                                                   - 88 -
        Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 93 of 116




profitable. 343 Therefore, according to the Respondents, the Variable Bonus does not apply to
an asset sale since the value of the assets "has nothing to do with the Claimants and their
effort (or at the very best, their influence could have only been marginal). " 344

3 85.     The Claimants challenge this argument and state that "the value of physical assets will
depend on the success of management - in a steel mill, management has a lot to do with the
good condition of the furnaces, the level of stock, etc." They add that "such improvements
will also affect the profitability of those assets and of any acquired entity [ ... ] ."345

386.      The Tribunal finds with the Respondents on this point. The Parties systematically
refen-ed to the Privatisation Bonus as a "success fee" in their negotiations, including for
instance here:

          "ML [Marek Lorinz, on behalf of the Claimants]: The consideration was, let's say if
          you, let's say want to privatize the plant before the expiration of 3 years, th[ e]n we are
          entitled to the success fee, which is X % of the sale price, X % of investment
          commitment but no less than asked for.

          MH [Mark Han-ison, on behalf of the Claimants: That sounds like you're happy. I
          mean ... for those 3 years MSA agreement, and as you say, whoever comes along in a
          really good phase, it's a win-win, the Government wins, we take the success fee and
          that's it. " 346

3 87.     This shows the understanding that the Variable Bonus was to incentivize and reward
"success" on the First Claimant's part, as manager of the Company, to make it profitable.
While the value of the assets of the Company (e.g. title to land, infrastructure etc.) might be
maintained or possibly even be slightly increased, it remains largely independent of the
management of the Company.

388.      The analysis might be slightly different for raw materials: the manager can increase
the stocks and thus the value of the assets. It is, however, wrong to suggest that this be a sign
of successful management. As explained by the Claimants' witness, Mr Stanislav Barica, the
raw material levels are those needed for the steel production, not more not less; any
unwan-anted increase in raw material stocks (and thus value) risks to lead to their
deterioration, even though they had to be paid for by the Company:



343
    SoD, at para. 103; RPHB, at para. 80.
344
    RSubl, at para. 120.
345
    RSub2, at para. 116.c.
346
    Negotiation Transcript, Exhibit RF-17, at p. 23 (emphasis added).


                                                     - 89 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 94 of 116




        "Fresh coke relatively quickly deteriorates in quality and begins to disintegrate,
        reducing its efficiency. The coke's function in the blast furnace is to create a
        supporting structure and allow wind flow through the charge, so the size and strength
        of the coke are very important. If a company keeps a higher inventory of coke on site,
        it will suffer from a significantly higher volume of undersize coke (due to
        disintegration), which cannot be charged directly into the blast furnace. The only use
        for undersize, degraded coke is as a replacement fuel for sinter production, but as
        coke is very expensive compared with the fuel ordinarily used for sinter production,
        this is uneconomical and increases production costs. Accordingly, the ordering and
        storage of coke on site requires a careful balancing act."347

389.     The Tribunal is thus satisfied that the purpose of the Variable Bonus was to
incentivize successful management on the part of the First Claimant, and that this purpose
shows that the Variable Bonus does not apply to an asset sale for which the price depends on
the value of the assets and not the manager's success.

                        d)       Parties' Subsequent Conduct

390.     Finally, the Tribunal notes that the Claimants also refer to a number of documents
showing the Parties' subsequent conduct, such as (i) exchange of emails between Mr
Kamaras and Mr Milosevic on 21 April 2016; 348 and (ii) a draft Annex to the MSA, also
exchanged between the Parties in April 2016. 349

391.     However, the Tribunal is of the opinion that these subsequent documents, established
at a time when the Parties were already gearing up for a dispute, are less relevant. For the
avoidance of doubt, the Tribunal holds that nothing in the above-mentioned documents are of
such a nature as to change the conclusion on the amount of the Privatisation due under Clause
3.2.9 of the MSA.

392.     In sum, and in light of the above, the Tribunal finds that the Variable Bonus as per
Clause 3.2.9 of the MSA does not apply to the Privatisation in the case at hand which was
done in the form of an asset sale. Accordingly, the amount of the Privatisation Bonus due
under Clause 3 .2.9 of the MSA is USD 10 million.




347
    See SB 1, at para. 19 (emphasis added).
348
    Email exchange between Mr Kamaras and Mr Milosevic, dated 21 April 2016, Exhibit RF-27. See SoR, at
para. 82.
349
    Draft MSA Annex, Exhibit CF-85. See CPHB, at para. 6.


                                                 - 90 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 95 of 116




                 5.       Debtor of the Privatisation Bonus

393.     Having determined that the Privatisation Bonus ofUSD 10 million is due to the
Claimants, the Tribunal now turns to the question who must pay such amount. The Parties
disagree on this point. The Claimants argue that the First and Second Respondents are both
liable: either as a matter of their joint and several liability under the MSA350 or because the
First Respondent is independently liable to the Claimants, 351 while the Respondents deny any
liability on the part of the First Respondent. 352 The Tribunal will look at the two series of
arguments in tum.

                          a)       Joint and Several Liability of the First and Second Respondent

394.     According to the Claimants, the First and Second Respondents are jointly and
severally liable. 353 The Claimants argue that joint and several liability results, among other
things, from (i) Serbian law; (ii) the wording of Clause 3.2.9 of the MSA which states
without limitations that the Service Provider "shall be entitled to" a Privatisation Bonus; 354
and (iii) the Parties' intention and common sense since "the obligation to compensate the
Service Provider[ ... ] naturally falls on RoS as well as the Company." 355 The Respondents
deny any liability of the First Respondent. 356

395.     First, on the Serbian law point, the Claimants argue that the MSA is a "contract of
order" under Article 749 LO, and that therefore pursuant to Article 764 LO the First and
Second Respondents are jointly and severally liable.

396.     Article 749 LO provides:

         "(l) By contract of order the provider undertakes the obligation towards the principal
         to perform certain actions on his account.

         (2) At the same time the provider shall be authorized to undertake such actions.




350
    SoC, at paras 65-66; SoR, at paras 84-91; CSubl, at para. 170; CSub2, at paras 122-125; CPHB, at para. 122.
351
    SoR, at paras 92-96; CSubl, at para. 170; CPHB, at para. 122.
352
    SoD, at paras 113-124; RSubl, at paras 127-137; RSub2, at paras 110-112; RPHB, at paras 127-134.
353
    SoC, at paras 65-66; SoR, at paras 84-91; CSubl, at para. 170; CSub2, at paras 122-125; CPHB, at para. 122.
See also Transcript Day 5, 59:18 et seq.
354
    SoR, at para. 85; CSub2, at para. 122.
355
    SoR, at para. 87.
356
    SoD, at paras 113-124; RSubl, at paras 127-134; RSub2, at paras 110-112; RPHB, at paras 127-134.


                                                    - 91 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 96 of 116




         (3) The provider shall be entitled to remuneration for his effort, unless otherwise
         provided by the contract or derives from the nature of the mutual relationship between
         the parties. " 357

397.     Article 764 LO reads as follows:

         "Should several principals entrust a performance of an order to a provider, they shall
         be jointly and severally liable towards him."358

398.     In the Tribunal's view, the MSA is not a "contract of order" in the sense of Article
749 LO. Under the MSA, the Service Provider was to provide certain management services
to the Company. Clause 3.2.1 of the MSA relates to the "Provision of Management Services"
and states that "[t]he Service Provider shall provide the Company with the Management
Services during the Term. " 359 According to Clause 1.1 of the MSA, "Management Services"
means "the management services to be provided by the Service Provider pursuant to clause
3,"360 which in turn lists a number of services regarding the management of the Company.
These are services provided by the Service Provider to the Company and not an "obligation
towards the principal to perform certain actions on his account" such as envisaged by Article
749 LO. Furthermore, this argument does not assist the Claimants in establishing the liability
of the First Respondent, since the services were to be provided to the Company, not to the
First Respondent.

399.     In any event, even assuming the MSA was to be qualified as a "contract of order" as
per Article 749 LO, joint and several liability according to Article 764 LO only applies absent
any other agreement by the Parties, as per Article 10 LO which provides that "[t]he parties in
an obligation relationship are free to regulate their relations upon their own will, within the
limits of imperative norms, public policy and good customs, as they find appropriate. " 361 The
possibility of agreement to the contrary is accepted by the Claimants. 362 As detailed below,
the Parties agreed that the First Respondent was not liable to pay the Privatisation Bonus.

400.     Second, looking at the provisions of the MSA, the Claimants argue that Clause 3.2.9
of the MSA provides that the Service Provider "shall be entitled to a bonus fee" without any




357
    Serbian Law on Obligations, Article 349, Exhibit RL-3.
358
    Serbian Law on Obligations, Article 364, Exhibit RL-3.
359
    MSA, Exhibit CF-3.
360
    MSA, Exhibit CF-3.
361
    Serbian Law on Obligations, Article 10, Exhibit RL-3.
362
    SoR, at para. 91 ("The parties did not reach a contrary agreement ... ").


                                                       - 92 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 97 of 116




limitation, and because Clause 3.2.9 of the MSA does not say "it is only due from one of the
RoS and the Company" it results that both of them are jointly and severally liable. 363

401.     The Tribunal does not agree with the Claimant's interpretation. Clause 3.2.9 of the
MSA is silent as to the debtor of the Privatisation Bonus. Clause 3.2.9 of the MSA merely
provides that:

         "In addition to the Management Fee outlined in clauses 3.2.4, 3.2.5, 3.2.6, 3.2.7 and
         3.2.8, the Service Provider shall be entitled to a bonus fee in case of any privatisation
         of the Company[ ... ] (the Privatisation Bonus)." 364

402.     However, other provisions of the MSA deal with the invoicing and payment of the
Privatisation Bonus and clearly refer to the Company as the debtor of the payment obligation.
Among others, Clause 5.1.1 relates to the Management Fees (which includes the Privatisation
Bonus under Clause 3.2.9 of the MSA) and provides that any invoice shall be made to the
Company:

         "The Management Fees as regulated by 3.2.4, 3.2.5, 3.2 .6, 3.2.7, 3.2.8 and 3.2.9 shall
         be reimbursed as stipulated in clause 3.2 and invoiced to the Company." 365

403.     Similarly, Clause 5.1.2 of the MSA deals with any such payment to the Service
Provider and provides that it shall be made by the Company:

         "All payments required by this Agreement to be made to the Service Provider shall
         be made by the Company by means of bank transfer in RSD, in accordance with the
         median exchange rate of the National Bank of Serbia on the day of payment to the
         Service Provider's account RSD 170- 30023743000-98, as set out in the invoice."

404.     Clause 5.1.9 relates to the right to object to invoices issued pursuant to Clause 5.1.1
and, again, only refers to the Company:

         "Such invoice would be payable immediately and the Company would not have the
         right to object to it."

405.     Moreover, Clause 8.5 of the MSA, which deals with the effects of termination on the
Privatisation Bonus, refers to the payment of the Privatisation Bonus by the Company,
without mentioning the Republic of Serbia in this context:




363
    CSub2, at para. 122. See also SoR, at para. 85.
364
    MSA, Exhibit CF-3 (emphasis omitted and added).
365
    MSA, Exhibit CF-3 (emphasis omitted and added).


                                                  - 93 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 98 of 116




         "If the RoS or the Company terminates this Agreement in accordance with clause 8.4,
         the Company shall be obliged to pay to the Service Provider the Privatization Bonus
         in line with the terms specified in clause 3.2.9."

406.     The result of the above-mentioned provisions of the MSA is that the Company is the
debtor of the Privatisation Bonus, and not the First Respondent.

407.     Third, the contemporaneous evidence from the time when the Parties negotiated the
MSA also shows the Parties' agreement to exclude any liability of the First Respondent. The
question of the liability of the Republic of Serbia was discussed at length during the
negotiation meeting held on 14 March 2015. 366 The issue was that any liability by the
Republic of Serbia could have been interpreted as illegal state-aid under European Union
law. 367 While the Parties did not seem to have found a solution during the negotiations on 14
March 2015, a later email exchange resolved this point. In an email, dated 15 March 2015,
Mr Mladjan Marjanovic sent a revised version of the MSA, with revisions made by KPMG
on behalf of the Respondents, and noted in his cover email:

         "As we have already informed you, any kind of guarantee of the Republic of Serbia
         would be considered as a State Aid. Hence, we deleted any monetary obligation of
         the Republic of Serbia from the Agreement (re payment obligations in case Zelezara
         fails to pay its liabilities)."368

408.     Indeed, one of the changes suggested in the red-line version of the MSA was to
include in Clause 5.1.3, discussed above, that any payment was to be made by the
Company: 369

&-1-:45.1.3      Invoices referring to the Fixed Fee shall be issued monthly and shall be payable
         by the Company in accordance with terms of this Agreement.


409.     In the reply email, dated 16 March 2015, the Claimants confirmed their agreement on
this point. Mr Goran Martinovic on behalf of the Claimants replied to several points made by
the Respondents in a table format. Regarding the issue of the liability of the Republic of
Serbia, the column "HPK Reply" reads as follows:




366
    Negotiation Transcript, Exhibit RF-17, at p. 35 et seq.
367
    Negotiation Transcript, Exhibit RF-17, at p. 36 et seq.
368
    Email from Mr Marjanovic to Mr Kamaras and others, dated 15 March 2015, attaching a revised draft MSA,
Exhibit CF-217, cover email at point 7.
369
    Email from Mr Marjanovic to Mr Kamaras and others, dated 15 March 2015, attaching a revised draft MSA,
Exhibit CF-217, at p. 21.


                                                  - 94 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 99 of 116




         "We have accepted this and have removed the language that was stating that the
         RoS would be liable for the Company obligation in respect of the obligations arising
         out of the MSA." 370

410.     In light of the above, there can be no doubt as to the Parties' agreement that the First
Respondent would not be liable for any obligations arising out of the MSA, including the
payment of the Privatisation Bonus.

411.     Fourth and finally, this is also confirmed by the Claimants' contemporaneous
understanding. Indeed, on 18 April 2016, the First Claimant issued a pro forma invoice
regarding the Privatisation Bonus. This invoice is only addressed to, and payment only
requested from, the Company (i.e. the Second Respondent) and not the Republic of Serbia
(i.e. the First Respondent). 371

412.     In sum, and in light of the above, the Tribunal finds that there is no joint and several
liability for the First and Second Respondent, and that only the Second Respondent is be
liable for the payment of the Privatisation Bonus under the MSA.

                          b)       Independent Liability of the First Respondent

413.     The Claimants further argue that the First Respondent is independently liable on the
basis that it (i) breached the MSA; (ii) procured the Second Respondent to breach the MSA
and thus committed a tort under Serbian law; and (iii) abused the rule of limited liability. 372
The Respondents deny these points. 373

414.     First, regarding the First Respondent's alleged breach of the MSA: in essence, the
Claimants argue that the First Respondent breached the MSA with the Second Termination
notice. More specifically, they allege that "the termination it forced through was in breach of
the MSA because (a) Zelezara was not entitled to terminate under its terms, (b) the circular
Decision violated MSA protective terms such as co-signature, HPK' s position as CEO and
the role of the SB (3.4.1 to 3.4.3, 3.3); and (c) was in bad faith." 374




370
    Email from Mr Martinovic to Mr Marjanovic and others, dated 16 March 2015, attaching a revised draft
MSA, Exhibit RF-26, at p. 2.
371
    Invoice from HPK Management d.o.o. to Zelezara Smederevo d.o.o., dated 18 April 2016, Exhibit RF-2.
372
    SoR, at paras 92-96; CSubl, at para. 170; CPHB, at para. 122. See also Transcript, Day 5, 60:7 et seq.
373
    RSubl, at paras 135-137.
374
    CPHB, at para. 122.


                                                    - 95 -
      Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 100 of 116




415.    As detailed above, the Tribunal has found that the Second Termination Notice by the
Second Respondent was invalid. 375 As such, the Second Termination Notice was without
legal effect. Accordingly, the Claimants have failed to show how the Second Termination
Notice amounted to a separate breach of the MSA, by the First Respondent or otherwise, that
has any detrimental consequences on the Claimants. The detrimental consequences to the
Claimants merely flow from the failure to pay the Privatisation Bonus, which (as discussed
above) was a liability of the Company.

416.    Second, the Claimants further argue that the First Respondent is liable under Serbian
tort law because it procured the Second Respondent to breach the MSA. 376 The Claimants
have provided no support for their theory that inducing a contractual breach leads to tortious
liability under Serbian law. Moreover, and in any event, under the Claimants' theory, the
alleged breach by the Second Respondent, procured by the First Respondent, is "the sending
of the invalid Second Termination Notice." 377 For the reasons stated above, the Tribunal has
found that the Second Termination Notice was invalid and without legal effect, and therefore
the Claimants have failed to show how it could be an induced breach of the MSA causing any
harm to the Claimants.

417.    Third, the Claimants further state that the First Respondent abused the rules of limited
liability under Serbian corporate law because the First Respondent's actions caused the
Second Respondent not to pay the Privatisation Bonus, which the Company would have
otherwise paid. 378 According to the Claimants, the First Respondent "used Zelezara' s
corporate identity, in a bad faith termination plan to rid itself of HPK and liability for the
bonus [ ... ]. It used Zelezara instead of giving notice itself in an abusive attempt to avoid
liability (had it given notice itself, its breach would have been even more direct)." 379 The fact
that the Second Respondent, instead of the First Respondent, has issued the Second
Termination Notice is irrelevant, since, as detailed above, the Second Termination Notice is
invalid and without legal effect. Therefore the liability of the Second Respondent has not
been discharged or affected by the Second Termination Notice.




375
    See above, at para. 360.
376
    SoR, at paras 92-96.
377
    SoR, at para. 92.
378
    SoR, at paras 92-96; CSubl, at para. 170; CPHB, at para. 122.
379
    CPHB, at para. 122.


                                                     - 96 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 101 of 116




418.       Furthermore, the Tribunal does not accept that there was any abuse of limited liability
by the First Respondent. As set out above, the only liability for the Privatisation Bonus was a
liability of the Second Respondent. The First Respondent did not in any sense use the
Second Respondent to cause damage to the Claimants. Whilst it is true that there has (on the
Tribunal's findings) been a failure to pay the Privatisation Bonus, and that this should now be
paid by the Second Respondent, there is no connection between the Second Respondent's
failure to pay and any "abuse oflimited liability."

419.       In sum, the Claimant's arguments regarding the First Respondent's independent
liability are inapposite.

                    6.      Creditor of the Privatisation Bonus

420.       Having found that the Second Respondent is liable to pay the Privatisation Bonus, as
determined in the previous sections, the Tribunal now turns to the question to whom it is due.

421.       The Claimants' request for relief has varied on this point. In their Statement of Case,
the Claimants sought the payment to be made to the Service Provider, i.e. the First Claimant:

           "Declaring that RoS and the Company are jointly liable to pay to tlie Service Provider
           [ ... ]the Privatisation Bonus pursuant to clause 3.2.9 of the MSA.

           Ordering the Company and RoS jointly and severally to pay to tlie Service Provider
           an amount equal to 30% of the Acquisition Price plus VAT of20% of that sum, plus
           interest accruing from 30 June 2016 (to be assessed) plus costs."380

422.       However, in subsequent submissions, the Claimants sought payment to be made to
both Claimants:

           "In conclusion, it is submitted that the Tribunal should award tlie Claimants
           €16,197,806.09 plus VAT at 20%, and RSD 100,536,504 by way of management fee
           for May and June 2016, in damages or debt. If the co1Tect privatisation bonus turns
           out to be higher, the Claimants will claim the higher sum."381

423.       The Claimants provide no explanation as to the legal basis for the Second Claimant's
claims other than:

           "HPK Engineering B.V. is the Bidder for the purposes of the MSA and the sole owner
           of the Service Provider. It has an interest in enforcing the terms of the MSA because
           of the benefit it may derive as sole owner of the Service Provider from the recovery of

380
      SoC, at paras 72.1-73 (emphasis added).
381
      CSubl, at paras 173-176 (emphasis added). See also CSub2, at para. 131; CPHB, at para. 123.


                                                      - 97 -
    Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 102 of 116




          money owed to the Service Provider. It therefore has valid claims against the
          Company and RoS for declarations as to the liability of the Company and RoS and is
          therefore a proper party to this arbitration." 382

424.      The Respondents deny that any amounts are due to the Second Claimant. 383

425.      The Tribunal finds with the Respondents on this point. Regarding the Privatisation
Bonus, Clause 3.2.9 of the MSA clearly states that it is due to the Service Provider:

          "In addition to the Management Fee outlined in clauses 3.2.4, 3.2.5, 3.2.6, 3.2.7 and
          3.2.8, the Service Provider shall be entitled to a bonus fee in case of any privatisation
          of the Company that occurs within 5 (five) years[ ... ] (the Privatisation Bonus)."384

426.      Moreover, it was the First Claimant (i.e. the Service Provider) who issued the pro
forma invoice regarding the Privatisation Bonus on 18 April 2016. 385 The Second Claimant is
not mentioned.

427.      In light of the above, the Tribunal finds that the Privatisation Bonus is due to the First
Claimant only.

428.      In sum, the Tribunal finds that the Second Respondent owes USD 10,000,000 to the
First Claimant as the Privatisation Bonus pursuant to Clause 3.2.9 of the MSA.

          D.     MANAGEMENT FEES

429.      According to the Claimants, the Service Provider has a right to the Management Fee
for the months of May and June 2016 until the termination of the MSA took effect, 386 and has
issued invoices accordingly. 387 According to the Respondents no such Management Fee is
due.388


430.      Pursuant to Clause 3.2.4 of the MSA:




382 SoR, at para. 101.
383 SoD, at paras 132-133.
384 MSA, Exhibit CF-3 (emphasis omitted and added).
385 Invoice from HPK Management d.o.o. to Zelezara Smederevo d.o.o., dated 18 April 2016, Exhibit RF-2.
386 SoC, at paras 61-62; SoR, at paras 97-100; CSub 1, at para. 169;
387 Invoice from HPK Management d.o.o. to Zelezara Smederevo d.o.o., dated 31 May 2016, Exhibit CF-22;
Invoice from HPK Management d.o.o. to Zelezara Smederevo d.o.o., dated 30 June 2016, Exhibit CF-23.
388 Transcript Day 5, 108:20-109:14.


                                                  - 98 -
      Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 103 of 116




        "The Service Provider shall be entitled to a Management Fee for its Management
        Services. The Management Fee shall consist of the fixed fee and variable fee as more
        closely defined below."389

431.    Clause 3 .2.5 of the MSA further provides:

        "The fixed portion of the Management Fee shall amount EUR 340,000 (three hundred
        and forty thousand euros) per month (VAT exclusive) (the Fixed Fee)."390

432.    The Tribunal finds that the Respondents have failed to provide any valid reasons why
the Fixed Fee pursuant to Clause 3.2.5 of the MSA should not be due for the months of May
and June 2016. The Respondents have not established, indeed not even argued, that the
Claimants have failed to manage the Company during those months. The idea of the Fixed
Fee (as opposed to the Variable Fee in Clause 3.2.6 and the Privatisation Bonus in Clause
3.2.9 of the MSA) is that it is due as long as the Service Provider is the manager of the
Company.

433.    In light of the above, the Tribunal finds that the monthly Fixed Management Fee is
due for the months of May and June until the end of the MSA on 30 June 2016, as per the
First Termination Notice, as determined above. 391

434.    The Management Fee is due by the Second Respondent to the First Claimant. First,
this results from Clause 3.2.4 of the MSA which provides that "[t]he Service Provider shall
be entitled to a Management Fee." 392 Second, the arguments above regarding joint and
several liability apply equally here. 393 Third, this is indeed what results from the invoices
issued by the First Claimant to the Second Respondent on 31 May 2016 (for the Management
Fee for May 2016) 394 and 30 June 2016 (for the Management Fee for June 2016). 395

435.    Finally, the amount sought in the Claimants' request for relief is for Serbian Dinar
(RSD) 100,536,504 which corresponds to the sum of the two invoices: RSD 50,225,412 for
May 2016 396 and RSD 50,311,092 for June 2016. 397



389
    MSA, Exhibit CF-3.
390
    MSA, Exhibit CF-3 (emphasis omitted).
391
    See above, at para. 167.
392
    MSA, Exhibit CF-3.
393
    See above, at paras 398-412.
394
    Invoice from HPK Management d.o.o. to Zelezara Smederevo d.o.o.,   dated 31 May 2016, Exhibit CF-22.
395
    Invoice from HPK Management d.o.o. to Zelezara Smederevo d.o.o.,   dated 30 June 2016, Exhibit CF-23.
396
    Invoice from HPK Management d.o.o. to Zelezara Smederevo d.o.o.,   dated 31 May 2016, Exhibit CF-22.
397
    Invoice from HPK Management d.o.o. to Zelezara Smederevo d.o.o.,   dated 30 June 2016, Exhibit CF-23.


                                                  - 99 -
      Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 104 of 116




436.    In light of the above, the Tribunal finds that the Second Respondent owes to the First
Claimant RSD 50,225,412 for the Management Fee for May 2016 and RSD 50,311,092 for
June 2016.

        E.       INTEREST

437.    On the point of interest, the Claimants have referred to Article 26.4 of the LCIA Rules
and Section 5.2.1 of the MSA and made the following submission:

        "As stated on the website of the National Bank of Serbia, the default interest rate is
        the key policy rate plus 8% and the key policy rate was 4% from 07.07.16, then
        3.75% from 07.09.17, then 3.5% from 09.10.17 to date. HPK claim simple interest on
        all their claims at the above rates for the period 30.06.16 (30.05.16 for the May
        management fee), to date of payment. At 01.01.18 this will total €3,026,562 accruing
        at €5,317 daily thereafter. We submit such rate is the agreed rate and is appropriate.
        We do not know if this approach will be disputed but, if for any reason it is not
        accepted by the Tribunal, we submit that at the least a high commercial rate (c. 9% to
        reflect Serbian borrowing costs) would be appropriate and interest should then be
        awarded on a compound basis with quarterly rests."398

438.    According to the Respondents, the relevant provisions are those of Serbian law
concerning default interest, and in particular the Law on Default Interest No. 119/2012 (the
"Law on Default Interest"). 399 The Respondents state that "for debt in domestic currency
(Serbian dinars) the rate of interest per annum is 8% plus key policy rate [and] [f]or euro-
denominated debt, Article 4(1) of the Law [on Default Interest] states explicitly that the
annual default interest rate is 8% plus main refinancing operation rate of the European
Central Bank."400 The Respondents add that "[s]ince the main refinancing operations rate of
the ECB is zero, default interest rate on euro-denominated debt is 8%." 401

439.    The Respondents further allege that "Claimants seek compound interest" which,
according to the Respondents, "is prohibited in Serbian law, and declared unconstitutional by
the Serbian Constitutional Court [ ... ] [and] thus an element of Serbian public policy. " 402

440.    The relevant provisions are as follows. Article 26.4 of the LCIA Rules provides:

        "Unless the parties have agreed otherwise, the Arbitral Tribunal may order that
        simple or compound interest shall be paid by any party on any sum awarded at such

398
    CPHB, at para. 123.
399
    Respondents' submission of 18 January 2018, at para.   17; Law on Default Interest, Exhibit RL-17.
400
    Respondents' submission of 18 January 2018, at para.   17.
401
    Respondents' submission of 18 January 2018, at para.   17.
402
    Respondents' submission of 18 January 2018, at para.   18.


                                                   - 100 -
      Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 105 of 116




        rates as the Arbitral Tribunal decides to be appropriate (without being bound by rates
        of interest practised by any state court or other legal authority) in respect of any
        period which the Arbitral Tribunal decides to be appropriate ending not later than the
        date upon which the award is complied with. " 403

441.    In the MSA, the Parties agreed on interest rates as follows in Section 5.2.1:

        "In the event the Company does not pay any amount due within the applicable time
        frame, the Service Provider may charge interest at the rate of the official legal default
        interest rate in line with the Governing Law. " 404

442.    Pursuant, to Sections 1.1 and 17.3 of the MSA the "Governing Law" is Serbian law,
so the Law on Default Interest applies. According to its Article 1, the Law on Default
Interest, "prescribes the rate and the manner of calculating the default interest to be paid by
the debtor which is in default with performance of a monetary obligation." 405 Article 2
specifies that "[t]he debtor which is in default with performance of a monetary obligation,
owes, alongside the principal, the default interest in correspondence with the amount of the
debt, until the date of payment, at the rate determined by this law."406

443.    Articles 3 and 4 determine the rate of default interest as being eight percent points
above a reference rate. The reference rate differs according to the currency of the main debt:

        a.       if the debt is in Serbian dinar, Article 3 provides that "[t]he rate of the default
        interest[ ... ] is determined yearly, at the level of key policy rate of the National Bank
        of Serbia, increased by eight percentage points;"

        b.       if the debt is in Euros, Article 4(1) provides that "[t]he rate of the default
        interest[ ... ] is determined yearly, at the level of reference interest rate of the
        European Central Bank for main refinancing operations, increased by eight
        percentage points;" and

        c.       if the debit is another foreign currently, Article 4(2) provides that "[t]he rate of
        the default interest [ ... ] is determined yearly, at the level of reference/basic interest
        rate which is prescribed and/or applied at performing main operations by the




403
    LCIA Rules, Article 26.4 (emphasis added).
404
    MSA, Exhibit CF-3 (emphasis added).
405
    Law on Default Interest, Exhibit RL-17.
406
    Law on Default Interest, Exhibit RL-17.


                                                 - 101 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 106 of 116




            central bank of the state of domicile currency, increased by eight percentage
            points."407

444.        In application of the above, for the Management Fees which are due in Serbian dinar,
the applicable interest rate is eight percent points above the key policy rate of the National
Bank of Serbia. The key policy rate of the National Bank of Serbia is set out on its website
http://nbs.rs/intemet/english/33/33 8/index.html and the historical data for Serbian dinar is:

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445.           The Management Fee for May became due on 31 May 2016, and the applicable
interest rate is thus:

               a.        from 1 June 2016 to 7 July 2016: 12.25%;

               b.        from 8 July 2016 to 7 September 2017: 12%;

               c.        from 8 September 2017 to 9 October 2017: 11.75%;

               d.        from 10 October 2017 to 14 March 2018: 11.50%; and

               e.        since 15 March 2018: 11.25%.


407
      Law on Default Interest, Exhibit RL-17 (emphasis added).


                                                                          - 102 -
          Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 107 of 116




446.           The Management Fee for June became due on 30 June 2016, and the applicable
interest rate is thus:

               a.          from 1 July 2016 to 7 July 2016: 12.25%;

               b.          from 8 July 2016 to 7 September 2017: 12%;

               c.          from 8 September 2017 to 9 October 2017: 11.75%;

               d.          from 10 October 2017 to 14 March 2018: 11.50%; and

               e.           since 15 March 2018: 11.25%.

447.           For the Privatisation Bonus which is set out in US Dollars, the default interest rate is,
in application of Article 4(2) of the Law on Default Interest, 8 percent points above "the
reference/basic interest rate which is prescribed and/or applied at performing main operations
by the central bank of the state of domicile currency", i.e. the US Federal Reserve Bank
(FED). These are also set out on the website of the National Bank of Serbia:

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448.           The Privatisation Bonus became due on 30 June 2016, and the applicable interest rate
is thus:

               a.           from 1 July 2016 to 15 December 2016: 8.375%;

               b.           from 16 December 2016 to 16 March 2017: 8.625%;

                c.          from 17 March 2017 to 15 June 2017: 8.875%;

                d.          from 16 June 2017 to 14 December 2017: 9.125%;

                e.          from 15 December 2017 to 22 March 2018: 9.375%; and

                f.          since 23 March 2018: 9.625%.



                                                                                               - 103 -
      Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 108 of 116




449.      For the avoidance of doubt, the Tribunal notes that the interest above is simple and
not compound interest, and runs only until the main debt is paid in full.

          F.            OTHER RELIEF REQUESTED BY THE CLAIMANTS

450.      In addition to the requests for relief dealt with by the Tribunal above, the Claimants
have, at times, included additional relief in their submissions. For instance, in their Witness
Submission, the Claimants requested declaratory relief as follows:

          "Further or alternatively the Claimants claim declarations as appropriate as per
          paragraphs 160, 165, 167 and/or 168 above."408

451.      The same relief was included in the Claimants' Rebuttal Witness Submission409 and
Post-Hearing Brief. 410

452.      Having granted the Claimants' primary relief for payment, in the previous sections,
the Claimants' alternative declaratory relief is moot. For the avoidance of doubt, the Tribunal
dismisses the requests for the same reasons as those stated in the previous sections.

          G.            ARBITRATION COSTS

453.      The Claimants, in their Cost Submission, list their costs as follows: 411

  a    HK LLP Professional Charges ................................................................................                   £718,695
  b    Disbursements (e.g. travel, translation, transcription, printing, copying) ... .                                                £32,946
  c    Barrister's fees .......................................................................................................       £236,282
  d    Experts' fees ...........................................................................................................      £230,965
  e    Serbian law advice ................................................................................................            £171,751
  f    LCIA advance payments to date ........................................................................ ..                      £111,750

       Total. ....................................................................................................................   £1,502,389



454.      The Claimants further make the following submissions:

          "In arbitrations like this, costs should presumptively follow the event (see LCIA Rule
          28.4). If the Claimants are successful - that is, if they are awarded the privatisation
          bonus -they should be awarded their costs. If, hypothetically, the Claimants lose on
          more collateral issues (e.g. whether HPK Engineering has its own claim), they should
          still recover costs in full. The bulk of costs were incurred on the core issues of
          whether there was breach justifying termination and whether termination was
          lawful/in good faith. Both Respondents should be ordered to pay the Claimants' costs

408
    CSubl, at paras 173-176.
409
    CSub2, at para. 131.
410
    CPHB, at para. 123.
411
    CCS, at para. 1.


                                                                             - 104 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 109 of 116




           jointly and severally, even if, hypothetically, liability is found only against the
           Company. The Respondents forced the Claimants to bring proceedings by refusing to
           pay which was RoS's decision as was the decision to terminate. Moreover, RoS, as
           the sole owner of the Company, is funding and directing the conduct of the
           proceedings. The Respondents could potentially have avoided these proceedings but
           refused the Claimants' Request for Mediation made at the outset under the LCIA
           Mediation Rules. The Respondents should be ordered jointly and severally to pay the
           Claimants' costs in full.

           The above costs are reasonable and proportionate to the complexity of the issues
           raised in this arbitration and the amounts in dispute. Under Rule 28.4 the Tribunal
           may take into account the parties' conduct, including cooperation in facilitating the
           proceedings in time and cost and any non-co-operation resulting in undue delay and
           expense. There is nothing in the Claimants' conduct that warrants any deduction. The
           Claimants engaged constructively with the arbitral process at all times and co-
           operated fully with all directions of the Tribunal. They enabled the proceedings to be
           conducted quickly and efficiently according to the timetable. The Respondents'
           argument in recent correspondence that the Claimants engaged in 'guerrilla' tactics is
           nonsense. For example, the Respondents' complained that the Claimants 'rejuggled'
           expert testimony 'on the fly'. In fact, the expert evidence was updated to help the
           Tribunal grapple with new points arising for the first time in cross-examination. The
           Claimants did not win every procedural debate but they won many. None of their
           stances was unreasonable. All procedural disputes were swiftly resolved.

           By contrast, it was the Respondents' conduct that increased the costs of this
           arbitration. The Respondents took a scorched earth approach. Instead of focussing on
           the real issues, they made a wide range of allegations, many of them obviously bad
           and some knowingly false, but all of which had to be answered (many in the end
           found no place in RPHB). The Respondents breached disclosure obligations (see
           CRB 10-11; CPHB 2, 10), and raised new arguments at late stages. For example, the
           Claimants were right to object to the potential new points in the list at RRB 69 (not in
           the end pursued). Another example of the Respondents' obstructive approach is their
           refusal to agree to any additional documents even in obviously legitimate cases. The
           Tribunal admitted many of the proposed additions, for example, in its orders of 27
           October 17 and 29 December 2017. Worst of all was the Respondents' conduct of
           their case in a vague, shifting manner which increased costs as the Claimants had to
           guess the case they had to meet and respond to numerous possibilities. Had the
           Respondents advanced a limited range of targeted, clear and unvarying allegations of
           breach, the costs of this arbitration for both parties would have been substantially
           lower."412

455.       The Respondents, in their Cost Submission, list their costs as follows: 413




412
      CCS, at paras 2-4.
413
      RCS, at para. 1.


                                                - 105 -
          Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 110 of 116




               (i) Costs and expenses ofthe Republic ofSerbia

      -    Costs of legal counsel                                      EUR 248,963.0& 1
      -    LCIA administrative expenses                                GBP 100,000
      -    Costs of expert witness services                            EUR 102,000
      -    Other expenses (travel, accommodation etc.)                 EUR 23,651.92

      Total:                                            EUR 374,615 nnd GBP 100,000

               {ii)   Costs and expenses ofZelezara Smederevo d.o.o.


      -    Costs of legal counsel                                      EUR 243,292.65
      -    LCIA administrative expenses                                GBP 10,000
      -    Other expenses (travel, accommodation etc.)                 EUR I 0,854.32 and
                                                                       GBP 11,344.93

      Total:                                            EUR 254,146.97 and GBP 21,344.93



456.        The Respondents further make the following submissions:

            "Taking the above in to account, Respondents request the following: that the Claim
            ants are obliged to reimburse the Republic of Serbia the costs incurred in these
            arbitration proceedings within 15 days from receipt of the award, in total amount of
            EUR 374,615 and GBP 100,000;

            that the Claimants are obliged to reimburse Zelezara Smederevo d.o.o. the costs
            incurred in these arbitration proceedings within 15 days from receipt of the award, in
            total amount ofEUR 254,146.97 and GBP 21,344.93."414

457.        Having carefully considered the Parties' submissions on cost, the Tribunal makes the
following decision.

458.         First, regarding the costs of the arbitration other than the legal or other expenses
incurred by the Parties (the "Arbitration Costs"), Article 28.1 of the LCIA Rules provides
that they "shall be determined by the LCIA Court in accordance with the Schedule of Costs"
and that "[t]he parties shall be jointly and severally liable to the LCIA and the Arbitral
Tribunal for such Arbitration Costs."

459.         According to Article 28.1 of the LCIA Rules, the NET arbitration costs have been
determined by the LCIA Court as follows:



414
      RCS, at para. 2.


                                                        - 106 -
   Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 111 of 116




       Registration fee:                     GBP 1,750.00

       LCIA's administrative charges:        GBP 20,254.34

       Tribunal's fees:                      GBP 213,507.10

       Total costs of arbitration            GBP 235,511.44

       These fees and expenses are subject to the applicable VAT.

460.   Article 28.2 of the LCIA Rules further states:

       "The Arbitral Tribunal shall specify by an award the amount of the Arbitration Costs
       determined by the LCIA Court. The Arbitral Tribunal shall decide the proportions in
       which the parties shall bear such Arbitration Costs (in the absence of a final
       settlement of the parties' dispute regarding liability for such costs). If the Arbitral
       Tribunal has decided that all or any part of the Arbitration Costs shall be borne by a
       party other than a party which has already covered such costs by way of a payment to
       the LCIA under Article 24, the latter party shall have the right to recover the
       appropriate amount of Arbitration Costs from the former party."

461.   The Tribunal decides that the Parties should bear the NET Arbitration Costs in equal
shares, ie the Claimant should bear GBP 117,755.72 and the Respondents should bear
GBP 117,755.72. The Second Claimant, as the only Party liable to pay VAT (having not
confirmed to the LCIA that it holds a valid EU VAT Registration number) shall bear the
VAT on the Arbitration Costs in the amount of GBP 11,510.22. Given that the Claimants
have paid the Registration fee, deposits and interest accrued in the amount of GBP
124,385.83 and the Respondents have paid deposits and interest accrued in the amount of
GBP 122,623.80, the Claimants shall pay to the Respondents the sum of GBP 4,868.08 (i.e.
the Respondents' payment of GBP 122,623.80 minus the Respondents' share of
GBP 117,755.72).

462.   Second, regarding the Parties' legal or other expenses (the "Legal Costs"), Article
28.3 of the LCIA Rules provides:

       "The Arbitral Tribunal shall also have the power to decide by an award that all or part
       of the legal or other expenses incurred by a party (the "Legal Costs") be paid by
       another party. The Arbitral Tribunal shall decide the amount of such Legal Costs on
       such reasonable basis as it thinks appropriate. The Arbitral Tribunal shall not be
       required to apply the rates or procedures for assessing such costs practised by any
       state court or other legal authority."




                                            - 107 -
       Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 112 of 116




463.       Article 28.4 of the LCIA Rules further provides:

           "The Arbitral Tribunal shall make its decisions on both Arbitration Costs and Legal
           Costs on the general principle that costs should reflect the parties' relative success and
           failure in the award or arbitration or under different issues, except where it appears to
           the Arbitral Tribunal that in the circumstances the application of such a general
           principle would be inappropriate under the Arbitration Agreement or otherwise. The
           Arbitral Tribunal may also take into account the parties' conduct in the arbitration,
           including any co-operation in facilitating the proceedings as to time and cost and any
           non-co-operation resulting in undue delay and unnecessary expense. Any decision on
           costs by the Arbitral Tribunal shall be made with reasons in the award containing such
           decision."

464.       In light of the above, and pursuant to Article 28.4 of the LCIA Rules, the Tribunal
decides that the award of the Parties' Legal Costs should reflect the Parties' relative success
and failure in this arbitration. While the Tribunal is minded to also take into account the
Parties' conduct in the arbitration, including any co-operation in facilitating the proceedings
as to time and cost and any non-co-operation resulting in undue delay and unnecessary
expense, the Tribunal finds that in the present case no Party or side was responsible more
than the other for any undue delays or incurred costs in the proceedings.

465.       Based on the Parties' relative success and failure in the award or arbitration, the Legal
Costs are awarded as follows.

466.       Regarding the First Respondent, the Claimants' claims were unsuccessful, and the
Claimants are thus ordered to pay the First Respondent's Legal Costs. The Claimants'
arguments that the First Respondent should nevertheless be found liable for costs because
"[t]he Respondents forced the Claimants to bring proceedings by refusing to pay which was
RoS' s decision as was the decision to terminate" 415 is unsubstantiated and unconvincing: it
fails for the same reasons the Claimants' claims against the First Respondent failed in the
first place. 416 Given that the claims in this arbitration were brought by both Claimants, both
Claimants are jointly and severally liable for the First Respondent's Legal Costs. The
Claimants are thus ordered to pay to the First Respondent the amount ofEUR 374,616.

467.       Regarding the Second Respondent, the Claimants' claims were partially successful:




415
      CCS, at para. 2.
416
      See above at paras 394-419.


                                                - 108 -
      Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 113 of 116




        a.       The Claimants initially sought declaratory relief that "the purported
        termination of the MSA by the [Second Respondent] was invalid" and requested that
        the Second Respondent was ordered to pay a termination fee to the Claimants under
        Clause 8.3.2 of the MSA- a claim the Claimants later withdrew. 417

        b.       On the Privatisation Bonus claim, the Claimants succeeded on principle, but
        not on the amount, and not regarding the Second Claimant. 418

        c.       On the Management Fee claims, the Second Claimant succeeded. 419

468.    In light of the above, the Tribunal finds that the Second Claimant should be able to
recover 80% of its Legal Costs, which reflects the relative success of its claims in this
arbitration. The amount of the Second Claimant's Legal Costs is deemed to be
GBP 1,390,639 (being the total of the Claimants' costs minus the LCIA advance of
GBP 111,750, taken into account as part of the Arbitration Costs above). The Tribunal sees
no reasons to further distinguish between the First Claimant's and Second Claimant's Legal
Costs, since there is no evidence that the Claimants' cost would have been any different had
the claims only been brought by the Second Claimant.

469.    The Party liable for the Claimants' costs is the Second Respondent, since the First
Respondent was found not to be liable vis-a-vis the Claimants on any of the claims listed
above. 420 The Claimants' argument that "[b]oth Respondents should be ordered to pay the
Claimants' costs jointly and severally, even if, hypothetically, liability is found only against
the Company" 421 is unconvincing: it fails for the same reasons the Claimants' argument for
joint and several liability on the main claim failed, as detailed above. 422

470.    Accordingly, the Second Respondent is ordered to pay to the First Claimant
GBP 1,112,511.20, i.e. 80% of GBP 1,390,639.




417
    See above at paras 130-134.
418
    See above at paras 361-392; 420-428.
419
    See above at paras 429-436.
420
    See above at paras 394-419.
421
    CCS, at para. 2.
422
    See above at paras 394-412.


                                               - 109 -
   Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 114 of 116




VII.   AWARD

NOW THEREFORE THE ARBITRAL TRIBUNAL DECIDES, HOLDS, AND ORDERS
AS FOLLOWS:

       a.     Orders the Second Respondent to pay to the First Claimant the Privatisation
       Bonus in the amount ofUSD 10,000,000 (in words: ten million);

       b.     Orders the Second Respondent to pay simple interest on the amount in (a) at a
       rate of 8.375% from 1 July 2016 to 15 December 2016; 8.625% from 16 December
       2016 to 16 March 2017; 8.875% from 17 March 2017 to 15 June 2017; 9.125% from
       16 June 2017 to 14 December 2017; 9.375% from 15 December 2017 to 22 March
       2018; and 9.625% since 23 March 2018 and until full payment of the amount in (a);

       c.     Orders the Second Respondent to pay to the First Claimant the Management
       Fees for the month of May 2016 in the amount of RSD 50,225,412;

       d.     Orders the Second Respondent to pay simple interest on the amount in (c) at a
       rate of 12.25% from 1 June 2016 to 7 July 2016; 12% from 8 July 2016 to 7
       September 2017; 11.75% from 8 September 2017 to 9 October 2017; 11.50% from 10
       October 2017 to 14 March 2018; and 11.25% since 15 March 2018 and until full
       payment of the amount in (c);

       e.     Orders the Second Respondent to pay to the First Claimant the Management
       Fees for the month of June 2016 in the amount of RSD 50,311,092;

       f.     Orders the Second Respondent to pay simple interest on the amount in (e) at a
       rate of 12.25% from 1 July 2016 to 7 July 2016; 12% from 8 July 2016 to 7
       September 2017; 11.75% from 8 September 2017 to 9 October 2017; 11.50% from 10
       October 2017 to 14 March 2018; and 11.25% since 15 March 2018 and until full
       payment of the amount in (e);

       g.     Order the Claimants to pay to the Respondents GBP 4,868.08 as the balance of
       the VAT on Arbitration Costs;

       h.     Orders the Claimants to pay to the First Respondent its Legal Costs in the
       amount of EUR 374,616;




                                          - 110-
Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 115 of 116




  1.    Orders the Second Respondent to pay to the First Claimant its Legal Costs in
  the amount of GBP 1,112,511.20; and

  J.    Dismisses any other request.




                                       - 111 -
Case 1:18-cv-01773-RDM Document 3-1 Filed 07/31/18 Page 116 of 116




Place of Arbitration: London, England


Date:11 May 2018




        Mr Richard Jacobs QC, Co-Arbitrator




                                              , Presiding Arbitrator




                                        - 112 -
